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                   THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

  CITY OF MIAMI GARDENS,                     )
  FLORIDA,                                   )
                                Plaintiff,   )
  v.                                         )              CASE NO.:
  AMERISOURCEBERGEN DRUG                     )
  CORPORATION; CARDINAL                      )
  HEALTH, INC.; McKESSON                     )
  CORPORATION;                               )
  PURDUE PHARMA L.P.; PURDUE                 )
  PHARMA, INC.; THE PURDUE                   )
  FREDERICK COMPANY, INC.; TEVA              )            COMPLAINT
  PHARMACEUTICAL INDUSTRIES,                 )
  LTD.; TEVA PHARMACEUTICALS                 )     Complaint for Public Nuisance,
  USA, INC.; CEPHALON, INC.;                 )    Violations of Racketeer Influenced
  JOHNSON & JOHNSON; JANSSEN                 )      and Corrupt Organizations Act
  PHARMACEUTICALS, INC.; ORTHO-              )
                                                  (RICO) 18 U.S.C. § 1961 et seq.,
  MCNEIL-JANSSEN                             )
  PHARMACEUTICALS, INC. n/k/a                )    Violations of 18 U.S.C. § 1962 et
  JANSSEN PHARMACEUTICALS,                   )     seq., Negligence and Negligent
  INC.; JANSSEN PHARMACEUTICA                )    Misrepresentation, Negligence Per
  INC. n/k/a JANSSEN                         )     Se, Civil Conspiracy, Fraud and
  PHARMACEUTICALS, INC.;                     )       Fraudulent Misrepresentation
  NORAMCO, INC.; ENDO HEALTH                 )   (F.S.A. § 817.41 and common law),
  SOLUTIONS INC.; ENDO                       )
                                                        and Unjust Enrichment.
  PHARMACEUTICALS, INC.;                     )
  ALLERGAN PLC f/k/a ACTAVIS PLS;            )
  WATSON PHARMACEUTICALS,                    )
  INC. n/k/a ACTAVIS, INC.; WATSON           )   JURY TRIAL DEMANDED AND
  LABORATORIES, INC.; ACTAVIS                )      ENDORSED HEREON
  LLC; ACTAVIS PHARMA, INC. f/k/a            )
  WATSON PHARMA, INC.;                       )
  MALLINCKRODT PLC and                       )
  MALLINCKRODT LLC.                          )
                            Defendants.      )
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           Plaintiff, CITY OF MIAMI GARDENS, FLORIDA, brings this Complaint

  against Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue

  Frederick Company, Inc.; Teva Pharmaceutical Industries, LTD.; Teva

  Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen

  Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

  Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals,

  Inc.; Noramco, Inc.; Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.;

  Allergan PLC f/k/a Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.;

  Watson Laboratories, Inc.; Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson

  Pharma, Inc.; Mallinckrodt plc; Mallinckrodt LLC; McKesson Corporation;

  Cardinal Health, Inc.; and AmerisourceBergen Drug Corporation (collectively

  “Defendants”) and alleges as follows:

                                            I. INTRODUCTION

           1.     Plaintiff brings this civil action to eliminate the hazard to public health

  and safety caused by the opioid epidemic, to abate the nuisance caused thereby and

  to recoup monies spent because of Defendants’ false, deceptive and unfair

  marketing and/or unlawful diversion of prescription opioids.1 Such economic

  damages were foreseeable to Defendants and were sustained because of

  Defendants’ intentional and/or unlawful actions and omissions.

  1
    As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
  synthetic opiates.
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             2.     Opioid analgesics are widely diverted and improperly used, and the

  widespread abuse of opioids has resulted in a national epidemic of opioid overdose

  deaths and addictions.2

             3.     The opioid epidemic is “directly related to the increasingly widespread

  misuse of powerful opioid pain medications.”3

             4.     Plaintiff brings this suit against the manufacturers of prescription

  opioids. The manufacturers aggressively pushed highly addictive, dangerous

  opioids, falsely representing to doctors that patients would only rarely succumb to

  drug addiction. These pharmaceutical companies aggressively advertised to and

  persuaded doctors to prescribe highly addictive, dangerous opioids, which turned

  patients into drug addicts for their own corporate profit. Such actions were

  intentional and/or unlawful.

             5.     Plaintiff also brings this suit against the wholesale distributors of these

  highly addictive drugs. The distributors and manufacturers intentionally and/or

  unlawfully breached their legal duties under federal and state law to monitor,

  detect, investigate, refuse and report suspicious orders of prescription opiates.

                                                  II. PARTIES

                          A. PLAINTIFF.


  2
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
  Strategies, 374 N. Eng. J. Med. 1253 (2016).
  3
      See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).

                                                            2
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        6.    Plaintiff CITY OF MIAMI GARDENS, FLORIDA (“Miami Gardens”

  or “Plaintiff”) has the power to bring the claims asserted herein. See generally

  FLA. STAT. §166.021; Art. VIII, § 2(b), Fla. Const. (1968).

        7.    Plaintiff has standing to take action to protect the public health, safety

  and welfare of its citizens.

        8.    Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity

  and mortality have created a serious public health and safety crisis and are a public

  nuisance and that the diversion of legally produced controlled substances into the

  illicit market causes or contributes to this public nuisance.

        9.    The distribution and diversion of opioids into Florida (the “State”), and

  into the CITY OF MIAMI GARDENS and its surrounding areas (collectively,

  “Plaintiff’s Community”), created the foreseeable opioid crisis and opioid public

  nuisance for which Plaintiff here seeks relief.

        10. Plaintiff directly and foreseeably sustained all economic damages

  alleged herein. Defendants’ conduct has exacted a financial burden for which the

  Plaintiff seeks relief. Categories of past and continuing sustained damages include,

  inter alia: (1) costs for providing medical care, additional therapeutic and

  prescription drug purchases, and other treatments for patients suffering from

  opioid-related addiction or disease, including overdoses and deaths; (2) costs for

  providing treatment, counseling and rehabilitation services; (3) costs for providing


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  treatment of infants born with opioid-related medical conditions; (4) costs

  associated with law enforcement and public safety relating to the opioid epidemic;

  and (5) costs associated with providing care for children whose parents suffer from

  opioid-related disability or incapacitation. The Plaintiff has suffered and continues

  to suffer these damages directly.

        11. Plaintiff also seeks the means to abate the epidemic Defendants’

  wrongful and/or unlawful conduct has created.

        12. Plaintiff has standing to bring an action for the opioid epidemic

  nuisance created by Defendants.

        13. Plaintiff has standing to recover damages incurred as a result of

  Defendants’ actions and omissions. Plaintiff has standing to bring all claims pled

  herein, including, inter alia, to bring claims under the federal RICO statute,

  pursuant to 18 U.S.C. § 1961(3) (“persons” include entities which can hold legal

  title to property) and 18 U.S.C. § 1964 (“persons” have standing).

        14. Plaintiff does not bring, or seek to bring, a product liability action.

                  B. DEFENDANTS.
                     1. Manufacturer Defendants.

        15. The Manufacturer Defendants are defined below. At all relevant times,

  the Manufacturer Defendants have packaged, distributed, supplied, sold, placed

  into the stream of commerce, labeled, described, marketed, advertised, promoted


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  and purported to warn or purported to inform prescribers and users regarding the

  benefits and risks associated with the use of the prescription opioid drugs. The

  Manufacturer Defendants, at all times, have manufactured and sold prescription

  opioids without fulfilling their legal duty to prevent diversion and report suspicious

  orders.

         16. PURDUE PHARMA L.P. is a limited partnership organized under the

  laws of Delaware. PURDUE PHARMA, INC. is a New York corporation with its

  principal place of business in Stamford, Connecticut and THE PURDUE

  FREDERICK COMPANY is a Delaware corporation with its principal place of

  business in Stamford, Connecticut (collectively, “Purdue”).

         17. Purdue manufactures, promotes, sells and distributes opioids such as

  OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER and Targiniq

  ER in the United States. OxyContin is Purdue’s best-selling opioid. Since 2009,

  Purdue’s annual nationwide sales of OxyContin have fluctuated between $2.47

  billion and $2.99 billion, up four-fold from its 2006 sales of $800 million.

  OxyContin constitutes roughly 30% of the entire market for analgesic drugs

  (painkillers).

         18. CEPHALON, INC. is a Delaware corporation with its principal place

  of business in Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES,

  LTD. (“Teva Ltd.”) is an Israeli corporation with its principal place of business in


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   Petah Tikva, Israel. In October 2011, Teva Ltd. acquired Cephalon, Inc. TEVA

   PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware corporation and

   is a wholly owned subsidiary of Teva Ltd. in Pennsylvania.

           19. Cephalon, Inc. manufactures, promotes, sells and distributes opioids,

   such as Actiq and Fentora, in the United States. The FDA has approved Actiq only

   for the “management of breakthrough cancer pain in patients 16 years and older

   with malignancies who are already receiving and who are tolerant to around-the-

   clock opioid therapy for the underlying persistent cancer pain.”4 The FDA has

   approved Fentora only for the “management of breakthrough pain in cancer

   patients 18 years of age and older who are already receiving and who are tolerant

   to around-the-clock opioid therapy for their underlying persistent cancer pain.”5 In

   2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug and

   Cosmetic Act for its misleading promotion of Actiq and two other drugs and

   agreed to pay $425 million.6

           20. Teva Ltd., Teva USA and Cephalon, Inc. work together closely to

   market and sell Cephalon products in the United States. Teva Ltd. conducts all

   sales and marketing activities for Cephalon in the United States through Teva USA
   4
       Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
   5
         Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
   6
      Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea
   to Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
   https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.

                                                         6
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   and has done so since its October 2011 acquisition of Cephalon. Teva Ltd. and

   Teva USA hold out Actiq and Fentora as Teva products to the public. Teva USA

   sells all former Cephalon-branded products through its “specialty medicines”

   division. The FDA-approved prescribing information and medication guide, which

   is distributed with Cephalon opioids, discloses that Teva USA submitted the guide

   and directs physicians to contact Teva USA to report adverse events.

             21. All of Cephalon’s promotional websites, including those for Actiq and

   Fentora, display Teva Ltd.’s logo.7 Teva Ltd.’s financial reports list Cephalon’s

   and Teva USA’s sales as its own, and its year-end report for 2012 – the year

   immediately following the Cephalon acquisition – attributed a 22% increase in its

   specialty medicine sales to “the inclusion of a full year of Cephalon’s specialty

   sales,” including, inter alia, sales of Fentora®.8 Through interrelated operations

   like these, Teva Ltd. operates in the United States through its subsidiaries,

   Cephalon and Teva USA. The United States is the largest of Teva Ltd.’s global

   markets, representing 53% of its global revenue in 2015, and, were it not for the

   existence of Teva USA and Cephalon, Inc., Teva Ltd. would conduct those

   companies’ business in the United States itself. Upon information and belief, Teva

   Ltd. directs the business practices of Cephalon and Teva USA, and their profits


   7
       E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).
   8
    Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
   http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.

                                                              7
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   inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical

   Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; and Cephalon, Inc. are referred

   to as “Cephalon.”

         22. JANSSEN        PHARMACEUTICALS,            INC.    is   a   Pennsylvania

   corporation with its principal place of business in Titusville, New Jersey and is a

   wholly owned subsidiary of JOHNSON & JOHNSON (J&J), a New Jersey

   corporation with its principal place of business in New Brunswick, New Jersey.

   NORAMCO, INC. (“Noramco”) is a Delaware company headquartered in

   Wilmington, Delaware and was a wholly owned subsidiary of J&J until July 2016.

   ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as

   Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal

   place of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA,

   INC., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation

   with its principal place of business in Titusville, New Jersey. J&J is the only

   company that owns more than 10% of Janssen Pharmaceuticals’ stock and

   corresponds with the FDA regarding Janssen’s products. Upon information and

   belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

   and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-

   McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco and

   J&J are referred to as “Janssen.”


                                           8
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          23. Janssen manufactures, promotes, sells and distributes drugs in the

   United States, including the opioid Duragesic (fentanyl). Before 2009, Duragesic

   accounted for at least $1 billion in annual sales. Until January 2015, Janssen

   developed, marketed and sold the opioids Nucynta (tapentadol) and Nucynta ER.

   Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

          24. ENDO HEALTH SOLUTIONS, INC. is a Delaware corporation with

   its   principal   place   of      business       in   Malvern,   Pennsylvania.   ENDO

   PHARMACEUTICALS, INC. is a wholly owned subsidiary of Endo Health

   Solutions, Inc. and is a Delaware corporation with its principal place of business in

   Malvern, Pennsylvania. Endo Health Solutions, Inc. and Endo Pharmaceuticals,

   Inc. are referred to as “Endo.”

          25. Endo develops, markets and sells prescription drugs, including the

   opioids Opana/Opana ER, Percodan, Percocet and Zydone, in the United States.

   Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

   2012. Opana ER yielded $1.15 billion in revenue from 2010 and 2013 and

   accounted for 10% of Endo’s total revenue in 2012. Endo also manufactures and

   sells generic opioids, such as oxycodone, oxymorphone, hydromorphone and

   hydrocodone products, in the United States, by itself and through its subsidiary,

   QUALITEST PHARMACEUTICALS, INC.




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         26. ALLERGAN PLC is a public limited company incorporated in Ireland

   with its principal place of business in Dublin, Ireland. ACTAVIS PLC acquired

   Allergan PLC in March 2015, and the combined company changed its name to

   Allergan PLC in January 2013. Before that, WATSON PHARMACEUTICALS,

   INC. acquired ACTAVIS, INC. in October 2012, and the combined company

   changed its name to Actavis, Inc. as of January 2013 and then Actavis PLC in

   October 2013. WATSON LABORATORIES, INC. is a Nevada corporation with

   its principal place of business in Corona, California and is a wholly-owned

   subsidiary of Allergan PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals,

   Inc.). ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation

   with its principal place of business in New Jersey and was formerly known as

   WATSON PHARMA, INC. ACTAVIS LLC is a Delaware limited liability

   company with its principal place of business in Parsippany, New Jersey. Allergan

   PLC owns each of these defendants and uses them to market and sell its drugs in

   the United States. Upon information and belief, Allergan PLC exercises control

   over these marketing and sales efforts and profits from the sale of Allergan/Actavis

   products ultimately inure to its benefit. Allergan PLC; Actavis PLC; Actavis, Inc.;

   Actavis LLC; Actavis Pharma, Inc.; Watson Pharmaceuticals, Inc.; Watson

   Pharma, Inc. and Watson Laboratories, Inc. are referred to as “Actavis.”




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           27. Actavis manufactures, promotes, sells and distributes opioids, including

   the branded drugs Kadian and Norco, a generic version of Kadian and generic

   versions of Duragesic and Opana, in the United States. Actavis acquired the rights

   to Kadian from King Pharmaceuticals, Inc. on December 30, 2008 and began

   marketing Kadian in 2009.

           28. MALLINCKRODT, PLC is an Irish public limited company

   headquartered in Staines-upon-Thames, United Kingdom, with its United States

   headquarters in St. Louis, Missouri. MALLINCKRODT, LLC is a limited liability

   company organized and existing under the laws of the State of Delaware.

   Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, plc.

   Mallinckrodt, plc and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

           29. Mallinckrodt manufactures, markets and sells drugs in the United

   States including generic oxycodone, of which it is one of the largest manufacturers.

   In July 2017, Mallinckrodt agreed to pay $35 million to settle allegations brought

   by the Department of Justice that it failed to detect and notify the DEA of

   suspicious orders of controlled substances.9




   9
     Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to
   Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations, July 11, 2017,
   https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
   orders, last visited October 26, 2017.

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                      2. Distributor Defendants.

         30. The Distributor Defendants are defined below. At all relevant times, the

   Distributor Defendants have distributed, supplied, sold and placed into the stream

   of commerce the prescription opioids, without fulfilling the fundamental duty of

   wholesale drug distributors to detect and warn of diversion of dangerous drugs for

   non-medical purposes. The Distributor Defendants universally failed to comply

   with federal and/or state law. The Distributor Defendants are engaged in

   “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

   the unlawful conduct by the Distributor Defendants is responsible for the volume

   of prescription opioids plaguing Plaintiff’s Community.

         31. McKESSON CORPORATION (“McKesson”) at all relevant times

   operated as a licensed pharmacy wholesaler in Florida. McKesson is a Delaware

   corporation. McKesson has its principal place of business located in San Francisco,

   California.

         32. CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times

   operated as a licensed pharmacy wholesaler in Florida. Cardinal’s principal office

   located in Dublin, Ohio.

         33. AMERISOURCEBERGEN                     DRUG             CORPORATION

   (“AmerisourceBergen”) at all relevant times operated as a licensed pharmacy




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   wholesaler in Florida. AmerisourceBergen’s principal place of business is located

   in Chesterbrook, Pennsylvania.

            34. The data that reveals and/or confirms the identity of each wrongful

   opioid distributor is hidden from public view in the DEA’s confidential ARCOS

   database. See Madel v. USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA10

   nor the wholesale distributors11 will voluntarily disclose the data necessary to

   identify with specificity the transactions that will form the evidentiary basis for the

   claims asserted herein.

            35. Consequently, Plaintiff has named the three (3) wholesale distributors

   (i.e., AmerisourceBergen Drug Corporation, Cardinal Health, Inc. and McKesson

   Corporation) that dominate 85% of the market share for the distribution of

   prescription opioids. These “Big 3” are Fortune 500 corporations listed on the New

   York Stock Exchange whose principal business is the nationwide wholesale

   distribution of prescription drugs. See Fed. Trade Comm’n v. Cardinal Health,

   Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc.,

   McKesson Corporation and AmerisourceBergen Drug Corporation predecessors).


   10
     See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act Unit (“SARF”), FOI,
   Records Management Section (“SAR”), Drug Enforcement Administration (DEA), United States Department of
   Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
   ARCOS data is “kept confidential by the DEA”).
   11
      See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
   PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not customarily release any of the information
   identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
   DEA to protect its confidential business information reported to the Agency.”).

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   The DEA has investigated and/or fined each for the failure to report suspicious

   orders. Plaintiff has reason to believe each has engaged in unlawful conduct that

   resulted in the diversion of prescription opioids into Plaintiff’s Community, and

   that discovery will likely reveal others who likewise engaged in unlawful conduct.

   Plaintiff names each of the “Big 3” herein as defendants and places the industry on

   notice that the Plaintiff is acting to abate the public nuisance plaguing the

   community. Plaintiff will request expedited discovery pursuant to Rule 26(d) of the

   Federal Rules of Civil Procedure to secure the data necessary to reveal and/or

   confirm the identities of the wholesale distributors, including data from the

   ARCOS database.

                          III. JURISDICTION & VENUE

         36. This Court has subject matter jurisdiction under 28 U.S.C. § 1331

   based upon the federal claims asserted under the Racketeer Influenced and Corrupt

   Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”). This Court has

   supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. §

   1367 because those claims are so related to Plaintiff’s federal claims that they form

   part of the same case or controversy.

         37. This Court also has jurisdiction over this action in accordance with 28

   U.S.C. § 1332(a) because the Plaintiff is a “citizen” of this State, the named




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   Defendants are citizens of different states and the amount in controversy exceeds

   the sum or value of $75,000, exclusive of interest and costs.

            38. This Court has personal jurisdiction over Defendants because they

   conduct business in the State, they purposefully direct or directed their actions

   toward the State, some or all consented to be sued in the State by registering an

   agent for service of process, they consensually submitted to the jurisdiction of the

   State when obtaining a manufacturer or distributor license and they have the

   requisite minimum contacts with the State necessary to constitutionally permit the

   Court to exercise jurisdiction.

            39. This Court also has personal jurisdiction over all of the Defendants

   under 18 U.S.C. § 1965(b). This Court may exercise nationwide jurisdiction over

   the named Defendants where the “ends of justice” require national service and

   Plaintiff demonstrates national contacts. Here, the interests of justice require that

   Plaintiff be allowed to bring all members of the nationwide RICO enterprise before

   the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

   Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National

   Bank v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988);

   Butcher’s Union Local No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir.

   1986).




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           40. Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18

   U.S.C. §1965 because a substantial part of the events or omissions giving rise to

   the claims stated herein occurred in this District and each Defendant transacted

   affairs and conducted activity that gave rise to the claims for relief in this District.

   28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                 IV. FACTUAL BACKGROUND

                        A. THE OPIOID EPIDEMIC.
                            1. The National Opioid Epidemic.

           41. Increasing abuse and diversion of prescription drugs, including opioid

   medications, have characterized the past two decades in the United States.12

           42. Prescription opioids have become widely prescribed. By 2010, enough

   prescription opioids were sold to medicate every adult in the United States with a

   dose of 5 milligrams of hydrocodone every 4 hours for 1 month.13

           43. By 2011, the U.S. Department of Health and Human Resources,

   Centers for Disease Control and Prevention declared prescription painkiller

   overdoses to be at epidemic levels. The news release noted:

                    a. The death toll from overdoses of prescription painkillers has more

                        than tripled in the past decade.


   12
    See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
   Med. 241 (2015).
   13
      Katherine M. Keyes, et al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
   and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

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              b. More than 40 people die every day from overdoses involving

                 narcotic pain relievers like hydrocodone (Vicodin), methadone,

                 oxycodone (OxyContin), and oxymorphone (Opana).

              c. Overdoses involving prescription painkillers are at epidemic levels

                 and now kill more Americans than heroin and cocaine combined.

              d. The increased use of prescription painkillers for nonmedical

                 reasons, along with growing sales, has contributed to a large

                 number of overdoses and deaths. In 2010, 1 in every 20 people in

                 the United States age 12 and older—a total of 12 million people—

                 reported using prescription painkillers non-medically according to

                 the National Survey on Drug Use and Health. Based on the data

                 from the Drug Enforcement Administration, sales of these drugs to

                 pharmacies and health care providers have increased by more than

                 300 percent since 1999.

              e. Prescription drug abuse is a silent epidemic that is stealing

                 thousands of lives and tearing apart communities and families

                 across America.




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                       f. Almost 5,500 people start to misuse prescription painkillers every

                           day.14

              44. The number of annual opioid prescriptions written in the United States

   is now roughly equal to the number of adults in the population.15

              45. Many Americans are now addicted to prescription opioids, and the

   number of deaths due to prescription opioid overdose is unacceptable. In 2016,

   drug overdoses killed roughly 64,000 people in the United States, an increase of

   more than twenty-two percent (22%) over the 52,404 drug deaths recorded the

   previous year.16

              46. Moreover, the CDC has identified addiction to prescription pain

   medication as the strongest risk factor for heroin addiction. People who are

   addicted to prescription opioid painkillers are forty times more likely to be

   addicted to heroin.17

              47. Heroin is pharmacologically similar to prescription opioids. The

   majority of current heroin users report having used prescription opioids non-



   14
      See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
   Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
   https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
   15
        See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).
   16
     See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of
   Drug Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-
   death-estimates.pdf.
   17
      See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
   https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).

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   medically before they initiated heroin use. Available data indicates that the

   nonmedical use of prescription opioids is a strong risk factor for heroin use.18

           48. The CDC reports that drug overdose deaths involving heroin continued

   to climb sharply, with heroin overdoses more than tripling in four (4) years. This

   increase mirrors large increases in heroin use across the country and has been

   shown to be closely tied to opioid pain reliever misuse and dependence. Past

   misuse of prescription opioids is the strongest risk factor for heroin initiation

   and use, specifically among persons who report past-year dependence or abuse.

   The increased availability of heroin combined with its relatively low price

   (compared with diverted prescription opioids) and high purity appear to be major

   drivers of the upward trend in heroin use and overdose.19

           49. The societal costs of prescription drug abuse are “huge.”20

           50. Across the nation, local governments are struggling with a pernicious,

   ever-expanding epidemic of opioid addiction and abuse. Every day, more than

   ninety (90) Americans lose their lives after overdosing on opioids.21

   18
    See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
   Med. 154 (2016).
   19
     See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
   Morbidity & Mortality Wkly. Rep. 1378 (2016).
   20
     See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
   Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
   1637016, at *10 [hereinafter, “Brief of HDMA”].
   21
      Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
   abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
   David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
   MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).

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             51. The National Institute on Drug Abuse identifies misuse and addiction

   to opioids as “a serious national crisis that affects public health as well as social

   and economic welfare.”22 The economic burden of prescription opioid misuse

   alone is $78.5 billion a year, including the costs of healthcare, lost productivity,

   addiction treatment and criminal justice expenditures.23

             52. The U.S. opioid epidemic is continuing, and drug overdose deaths

   nearly tripled during 1999–2014. Among 47,055 drug overdose deaths that

   occurred in 2014 in the United States, 28,647 (60.9%) involved an opioid.24

             53. The rate of death from opioid overdose has quadrupled during the past

   fifteen (15) years in the United States. Nonfatal opioid overdoses that require

   medical care in a hospital or emergency department have increased by a factor of

   six (6) in the past fifteen (15) years.25

             54. Every day brings a new revelation regarding the depth of the opioid

   plague: just to name one example, the New York Times reported in September

   2017 that the epidemic, which now claims 60,000 lives a year, is now killing



   22
        Opioid Crisis, NIH.
   23
       Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
   Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
   doi:10.1097/MLR.0000000000000625).
   24
    See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
   Morbidity & Mortality Wkly. Rep. 1445 (2016).
   25
      See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
   Strategies, 374 N. Eng. J. Med. 1253 (2016).

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   babies and toddlers because ubiquitous, deadly opioids are “everywhere” and

   mistaken for candy.26

           55. In 2016, the President of the United States declared an opioid and

   heroin epidemic.27

           56. The epidemic of prescription pain medication and heroin deaths is

   devastating families and communities across the country.28                               Meanwhile, the

   manufacturers and distributors of prescription opioids extract billions of dollars of

   revenue from the addicted American public while public entities experience

   hundreds of millions of dollars of injury caused by the reasonably foreseeable

   consequences of the prescription opioid addiction epidemic.

           57. The prescription opioid manufacturers and distributors, including the

   Defendants, have continued their wrongful, intentional and unlawful conduct,

   despite their knowledge that such conduct is causing and/or continuing to cause the

   national, state and local opioid epidemic.

                            2. Florida’s Opioid Epidemic.

           58. The national opioid crisis has especially ravaged Florida.



   26
      Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
   Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
   tendrils that are going everywhere.’”).
   27
     See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
   Epidemic Awareness Week”).
   28
      See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
   Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.

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           59. Overdose mortalities in Florida have increased in recent years. From

   1999 to 2015, Florida saw a 153% percent increase in overdose fatalities. In 2015,

   there were 3,292 Florida overdose deaths, up from 2,676 Florida overdose deaths

   in 2014.29 Drug overdose deaths jumped by 23% in just one year between 2014 and

   2015.30

           60.     Florida has a high-dose opioid pain reliever prescription rate of 6.6 per

   100 persons, which ranks 5th in the country (U.S. median rate: 4.3) and a

   benzodiazepine prescription rate of 46.9 per 100 persons, which ranks 10th

   nationally (U.S. median rate: 37.6).31 Using another measure, in 2016, there were

   66.6 prescriptions per hundred people in Florida, and that only after the State

   managed to draw down the amount from a peak of 87.6 prescriptions per 100

   people in 2010.32 Based on the amount prescribed, Florida had over 670.9

   morphine milligram equivalents of opioids prescribed per capita in 2015,33



   29
     L.M. ROSSEN ET AL., NAT’L CTR. FOR HEALTH STAT., DRUG POISONING MORTALITY: UNITED STATES, 1999–2015
   (2017), https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality/ (last visited Dec. 12, 2017).
   30
      R.A. Rudd et al., Ctr. for Disease Control, Increases in Drug and Opioid-Involved Overdose Deaths — United
   States, 2010–2015.        MMWR MORBIDITY AND MORTALITY WKLY. REP. 2016;65:1445–1452,
   https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm (last visited Dec. 12, 2017).
   31
     Leonard J. Paulozzi, M.D., et al., Ctr. for Disease Control, Vital Signs: Variation Among States in Prescribing of
   Opioid Pain Relievers and Benzodiazepines – United States, 2012, MORBIDITY AND MORTALITY WKLY. REP. (Jul. 4,
   2014), https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6326a2.htm (last visited Dec. 12, 2017). The
   combination of hydrocodone, oxycodone, and benzodiazepines is referred to as the “holy trinity” and significantly
   increases the risk of harm to those that abuse prescription pills.
   32
           CTR.     FOR     DISEASE      CONTROL,       U.S.        PRESCRIBING       RATE          MAPS       (2017),
   https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last visited Dec. 12, 2017).
   33
      AMFAR, OPIOID & HEALTH INDICATORS DATABASE, FLORIDA OPIOID EPIDEMIC, http://opioid.amfar.org/FL (last
   visited Dec. 12, 2017).

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   equivalent to 13.42 days’ high-dose supply for every person in the state.34 This

   compares to the national rate of 642.05 morphine milligram equivalents per capita

   in 2015.

           61. This high rate of prescriptions only scratches the surface of the full

   extent of the problem in Florida. 89.5% of people in Florida who need addiction

   treatment do not receive it. 2.56% of people in 2016 reported drug dependence,

   and 3.47% reported non-medical use of pain relievers.35

           62. The rate of opioid-related inpatient stays in Florida surged by 39.3%

   between 2009 and 2014 at 234.9 per 100,000 people, more than the national rate of

   224.6.36

           63. The Drug Utilization Review Board recently examined Florida

   Medicaid recipients’ use of opioid medications and determined “inappropriate

   prescription practices have been shown to be a contributor to the rising prescription

   drug abuse problem in the United States.”37 Due to the severity of Florida’s




   34
       CTR. FOR DISEASE CONTROL, CALCULATING TOTAL DAILY DOSAGE OF OPIOIDS FOR SAFER DOSAGE,
   https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf (last visited Dec. 12, 2017).
   35
      AMFAR, OPIOID & HEALTH INDICATORS DATABASE, FLORIDA OPIOID EPIDEMIC, http://opioid.amfar.org/FL (last
   visited Dec. 12, 2017).
   36
       AGENCY FOR HEALTHCARE RESEARCH AND QUALITY, HEALTHCARE COST AND UTILIZATION PROJECT,
   STATISTICAL BRIEF #219, OPIOID-RELATED INPATIENT STAYS AND EMERGENCY DEPARTMENT VISITS BY STATE,
   2009-2014 (Jan. 2017), https://www.hcup-us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-
   State.pdf (last visited Dec. 12, 2017).
   37
       AGENCY FOR HEALTH CARE ADMINISTRATION, REMITTANCE ADVICE PROVIDER                                  ALERTS,
   HTTP://AHCA.MYFLORIDA.COM/ MEDICAID/PRESCRIBED_DRUG/BANNERS.SHTML (last visited Dec. 18, 2017).


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   expanding opioid epidemic, Governor Rick Scott declared a state of public health

   emergency in 2017.38

           64. The number of newborns suffering from neonatal abstinence syndrome

   increased more than 10-fold in the past 20 years, according to a report by the

   Centers for Disease Control (CDC).39 Over 4,000 babies were born addicted to

   opioids in the state of Florida in 2016 alone. This is a 1,000% increase over the

   past ten years. Newborns are not the only children affected by opioid dependence

   in adults. In cases where children were removed from homes, the presence of

   substance abuse points to longer out-of-home care and a higher likelihood of

   previous investigations.40

           65. According to a news article published in the Tampa Bay Times,

   Naloxone, an overdose-reversal drug, is now available throughout the state of

   Florida without an individual prescription. Patients may purchase an auto-injector

   or intranasal version of the drug through a Florida pharmacy after a doctor issues a

   blanket “standing order.”41

   38
                       DSHP                    GOALS                AND                OVERVIEW,
   HTTP://AHCA.MYFLORIDA.COM/MEDICAID/POLICY_AND_QUALITY/POLICY/BEHAVIORAL_HEALTH_COVERAGE/BHFU/P
   DF/DSHP_WHITE_PAPER_DRAFT.PDF (last visited Dec. 18, 2017).
   39
      CTR. FOR DISEASE CONTROL, INFANT AND MATERNAL CHARACTERISTICS IN NEONATAL ABSTINENCE SYNDROME,
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6408a3.htm?s_cid=mm6408a3_w (last visited Dec. 18, 2017).
   40
      Kam, Dara. Panama City News Herald, Opioid crisis taking toll on Florida children, Nov. 9, 2017.
   http://www.newsherald.com/news/20171109/opioid-crisis-taking-toll-on-florida-children (last visited Dec. 18,
   2017).
   41
      Suntrup, Jack. Tampa Bay Times, Overdose-reversal drug naloxone now available in Florida without an
   individual prescription, Dec. 18, 2017. http://www.tampabay.com/news/health/medicine/overdose-reversal-drug-
   naloxone-now-available-in-florida-without-an/2286681 (last visited Dec. 18, 2017).

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                             3. The Opioid Epidemic in Plaintiff’s Community.

           66. The opioid epidemic is particularly devastating in Plaintiff’s

   Community.

           67. In Miami-Dade County, Florida, where Miami Gardens is located,

   opioid deaths have more than doubled since 2005.42




           68.      These deaths may not even fully encompass the severity of the

   problem. Opioid & Health Indicators compiled by amfAR43 show that there were



   42
      Miami-Dade Opioid Addiction Task Force, Opioid Addiction Task Force Final Report, at p. 38 (2017), available
   at http://www.miamidade.gov/mayor/library/opioid-task-force/opioid-final-report-06-13-17.pdf (last visited Feb. 14,
   2018).
   43
      amfAR is the American Foundation for AIDS research. Among other data points, it compiles and publishes
   information about the opioid epidemic. Presence of the opioid epidemic in a locality is linked to risk of an HIV or
   hepatitis C outbreak in that locality. See amfAR Opioid & Health Indicators Database, available at
   http://opioid.amfar.org/.

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   300 drug-related deaths in Miami-Dade County in 2016.44 Additionally, 97.93% of

   people in Miami-Dade County who need addiction treatment do not receive it.45

               69.     Over 1,200 Miami-Dade County residents have died due to opioids

   since 2005. Additionally, in that time, “thousands of additional Miami-Dade

   County residents have been admitted to hospitals and treatment centers or visited

   emergency departments each year due to opioid poisoning and abuse.”46 Overdose

   fatalities in men quadrupled from 2013 to 2016.47 And from 2015 to 2016 alone,

   overdoses in adults ages 25-34 doubled.48




   44
     amfAR, Opioid & Health Indicators Database,              Florida   Opioid   Epidemic   (2018),   available   at
   http://opioid.amfar.org/FL (last visited Feb. 14, 2018).
   45
        Id.
   46
        Task Force, supra note 1, at 7.
   47
        TId.
   48
        Id.

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               70.     Substance abuse treatment admissions due to opioids jumped a quarter

   from 2010 to 2013. Opioids are now the cause for at least ten percent (10%) of

   substance abuse treatment admissions in the County. Admissions due to heroin

   addiction, which has been shown to be linked to prescription opioid addiction,

   jumped 62% between 2010 and 2013.49 Those numbers increased even further

   between 2012 and 2015. In South Florida Behavioral Health Network Certified

   Treatment Programs alone, admissions for heroin abuse increased 60%, and

   admissions for any opioid use increased by 31%. The waitlist for substance abuse

   treatment went up 63% in just the period from July to November of 2016,

   compared to the previous year.50

               71.    The epidemic in the County has gotten so bad that law enforcement

   has been equipped with Narcan, an overdose-reversal drug. Even investigators with

   the Miami-Dade State Attorney's Office now carry the medicine.51

               72. Drug problems in Miami-Dade County have reached such a peak that

   the County has been designated a High Intensity Drug Trafficking Area.52 This

   designation requires the Office of National Drug Control Policy to determine the

   49
        Id. at 7-8.
   50
        Id. at 16.
   51
        Ovalle, supra note 4.
   52
      Off. Nat'l Drug Control Pol'y, High Intensity Drug Trafficking Areas Program Counties (Oct. 2016), available at
   https://www.whitehouse.gov/sites/whitehouse.gov/files/ondcp/Fact_Sheets/hidta_2017_letter_oct2016.pdf          (last
   visited Feb. 14, 2018). See generally Off. Nat'l Drug Control Pol'y, High Intensity Drug Trafficking Areas (HIDTA)
   Program, available at https://www.whitehouse.gov/ondcp/high-intensity-drug-trafficking-areas-program (last visited
   Feb. 14, 2018).

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   area “is a significant center of illegal drug production, manufacturing, importation,

   or distribution” and “drug-related activities in the area are having a significant

   harmful impact in the area and in other areas of the country,” among other

   criteria.53 The South Florida High Intensity Drug Trafficking Area program has

   identified diverted pharmaceuticals as one of the top five primary illicit drug

   threats in the County.54

           73. The opioid epidemic has placed increased budgetary constraints upon

   inter alia the public health and medical care expenditures of the State and

   Plaintiff’s Community. Opioid addiction is one of the primary reasons citizens of

   the State and Plaintiff’s Community seek substance abuse treatment.

           74. Criminal activity associated with the diversion of opioids have

   increased.      This has placed increased budgetary costs upon law enforcement

   expenses in the State and Plaintiff’s Community.

           75. Opioid abuse, addiction, morbidity, and mortality are hazards to public

   health and safety in the State and in Plaintiff’s Community, and constitute a

   temporary and continuing public nuisance, which remains unabated.

                       B. THE MANUFACTURER DEFENDANTS’ FALSE,
                       DECEPTIVE AND UNFAIR MARKETING OF OPIOIDS.


   53
       Off. of Nat'l Drug Control Pol'y, HIDTA Designation Process & Authorizing Language, available at
   https://www.whitehouse.gov/ondcp/hidta-designation-process (last visited Feb. 14, 2018).
   54
      South Florida High Intensity Drug Trafficking Area, NARCOTICS AND DRUG TRAFFICKING (Aug. 2012), available
   at www.sflhidta.org/index.php/2012-08-29-01-54-55/narcotics-drug-trafficking (last visited Feb. 14, 2018).

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         76. The opioid epidemic did not happen by accident.

         77. Before the 1990s, generally accepted standards of medical practice

   dictated that patients should only use opioids short-term for acute pain, pain

   relating to recovery from surgery, or for cancer or palliative (end-of-life) care. Due

   to the lack of evidence that opioids improved patients’ ability to overcome pain

   and function, coupled with evidence of greater pain complaints as patients

   developed tolerance to opioids over time, the serious risk of addiction and other

   side effects, the use of opioids for chronic pain was discouraged or prohibited. As a

   result, doctors generally did not prescribe opioids for chronic pain.

         78. Each Manufacturer Defendant has conducted and has continued to

   conduct a marketing scheme designed to persuade doctors and patients that opioids

   can and should be used for chronic pain, resulting in opioid treatment for a far

   broader group of patients who are much more likely to become addicted and suffer

   other adverse effects from the long-term use of opioids. In connection with this

   scheme, each Manufacturer Defendant spent and continues to spend millions of

   dollars on promotional activities and materials that falsely deny or trivialize the

   risks of opioids while overstating the benefits of using them for chronic pain.

         79. The Manufacturer Defendants have made false and misleading claims,

   contrary to the language on their drugs’ labels, regarding the risks of using their

   drugs that: (1) downplayed the serious risk of addiction; (2) created and promoted


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   the concept of “pseudoaddiction” when signs of actual addiction began appearing

   and advocated that doctors should treat the signs of addiction with more opioids;

   (3) exaggerated the effectiveness of screening tools to prevent addiction; (4)

   claimed that it is easy to manage opioid dependence and withdrawal; (5) denied the

   risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-

   deterrent” opioid formulations to prevent abuse and addiction. The Manufacturer

   Defendants also have falsely touted the benefits of long-term opioid use, including

   the supposed ability of opioids to improve function and quality of life, even though

   there was no scientifically reliable evidence to support the Manufacturer

   Defendants’ claims.

         80. The Manufacturer Defendants have disseminated these common

   messages to reverse the popular and medical understanding of opioids and risks of

   opioid use. They disseminated these messages directly, through their sales

   representatives, in speaker groups led by physicians the Manufacturer Defendants

   recruited for their support of their marketing messages, through unbranded

   marketing and through industry-funded front groups.

         81. The Manufacturer Defendants’ efforts have been wildly successful.

   Opioids are now the most prescribed class of drugs. Globally, opioid sales

   generated $11 billion in revenue for drug companies in 2010 alone; sales in the




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   United States have exceeded $8 billion in revenue annually since 2009.55 In an

   open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

   General expressly connected this “urgent health crisis” to “heavy marketing of

   opioids to doctors . . . [m]any of [whom] were even taught – incorrectly – that

   opioids are not addictive when prescribed for legitimate pain.”56 This epidemic has

   resulted in a flood of prescription opioids available for illicit use or sale (the

   supply) and a population of patients physically and psychologically dependent on

   them (the demand). When those patients can no longer afford or obtain opioids

   from licensed dispensaries, they often turn to the street to buy prescription opioids

   or even non-prescription opioids, like heroin.

              82. The Manufacturer Defendants intentionally continued their conduct, as

   alleged herein, with knowledge that such conduct was creating the opioid nuisance

   and causing the harms and damages alleged herein.

                                1. Each Manufacturer Defendant Used Multiple Avenues to
                                Disseminate Their False and Deceptive Statements About Opioids.

              83. The Manufacturer Defendants spread their false and deceptive

   statements by marketing their branded opioids directly to doctors and patients in

   and around the State, including in Plaintiff’s Community. Defendants also


   55
       See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
   http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
   $10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www.ft.com/content/f6e989a8-5dac-11e6-bb77-
   a121aa8abd95.
   56
        Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

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   deployed seemingly unbiased and independent third parties whom they controlled

   to spread their false and deceptive statements about the risks and benefits of

   opioids for the treatment of chronic pain throughout the State and Plaintiff’s

   Community.

         84. The Manufacturer Defendants employed the same marketing plans and

   strategies and deployed the same messages in and around the State, including in

   Plaintiff’s Community, as they did nationwide. Across the pharmaceutical

   industry, corporate headquarters fund and oversee “core message” on a national

   basis. This comprehensive approach ensures that the Manufacturer Defendants

   accurately and consistently deliver their messages across marketing channels –

   including detailing visits, speaker events and advertising – and in each sales

   territory. The Manufacturer Defendants consider this high level of coordination

   and uniformity crucial to successfully marketing their drugs.

         85. The     Manufacturer     Defendants     ensure    marketing    consistency

   nationwide through national and regional sales representative training; national

   training of local medical liaisons, the company employees who respond to

   physician inquiries; centralized speaker training; single sets of visual aids, speaker

   slide decks and sales training materials; and nationally coordinated advertising.

   The Manufacturer Defendants required their sales representatives and physician

   speakers to stick to prescribed talking points, sales messages and slide decks, and


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   supervisors rode along with them periodically to check on both their performance

   and compliance.

                       i.   Direct Marketing.

         86. The Manufacturer Defendants’ direct marketing of opioids generally

   proceeded on two tracks. First, each Manufacturer Defendant conducted and

   continues to conduct advertising campaigns touting the purported benefits of their

   branded drugs. For example, upon information and belief, the Manufacturer

   Defendants spent more than $14 million on medical journal advertising of opioids

   in 2011, nearly triple what they spent in 2001.

         87. Many of the Manufacturer Defendants’ branded ads deceptively

   portrayed the benefits of opioids for chronic pain. For example, Endo distributed

   and made available on its website opana.com a pamphlet promoting Opana ER

   with photographs depicting patients with physically demanding jobs like

   construction worker, chef and teacher, misleadingly implying that the drug would

   provide long-term pain-relief and functional improvement. Upon information and

   belief, Purdue also ran a series of ads called “Pain vignettes” for OxyContin in

   2012 in medical journals. These ads featured chronic pain patients and

   recommended OxyContin for each. One ad described a “54-year-old writer with

   osteoarthritis of the hands” and implied that OxyContin would help the writer work

   more effectively.


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         88. Second, each Manufacturer Defendant promoted the use of opioids for

   chronic pain through “detailers” – sales representatives who visited individual

   doctors and medical staff in their offices – and small-group speaker programs. The

   Manufacturer Defendants have not corrected this misinformation. Instead, each

   Manufacturer Defendant devoted massive resources to direct sales contacts with

   doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

   spent in excess of $168 million on detailing branded opioids to doctors, more than

   twice what they spent on detailing in 2000.

         89. The Manufacturer Defendants’ detailing to doctors is effective.

   Numerous studies indicate that marketing impacts prescribing habits, with face-to-

   face detailing having the greatest influence. Even without such studies, the

   Manufacturer Defendants purchase, manipulate and analyze some of the most

   sophisticated data available in any industry, data available from IMS Health

   Holdings, Inc., to precisely track the rates of initial prescribing and renewal by

   individual doctors, which in turn allows them to target, tailor and monitor the

   impact of their core messages. Thus, the Manufacturer Defendants know their

   detailing to doctors is effective.

         90. The Manufacturer Defendants’ detailers have been reprimanded for

   their deceptive promotions. In March 2010, for example, the FDA found that

   Actavis had been distributing promotional materials that “minimize[] the risks


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   associated with Kadian and misleadingly suggest[] that Kadian is safer than has

   been demonstrated.” Those materials in particular “fail to reveal warnings

   regarding potentially fatal abuse of opioids, use by individuals other than the

   patient for whom the drug was prescribed.”57

                          ii. Indirect Marketing.

          91. The Manufacturer Defendants indirectly marketed their opioids using

   unbranded advertising, paid speakers and “key opinion leaders” (“KOLs”), and

   industry-funded organizations posing as neutral and credible professional societies

   and patient advocacy groups (referred to hereinafter as “Front Groups”).

          92. The Manufacturer Defendants deceptively marketed opioids in the

   State and Plaintiff’s Community through unbranded advertising – e.g., advertising

   that promotes opioid use generally but does not name a specific opioid.

   Independent third parties ostensibly created and disseminated this advertising.

   However, by funding, directing, reviewing, editing and distributing this unbranded

   advertising, the Manufacturer Defendants controlled the deceptive messages these

   third parties disseminated and acted in concert with them to falsely and

   misleadingly promote opioids for the treatment of chronic pain. Much as the

   Manufacturer Defendants controlled the distribution of their “core messages” via

   their own detailers and speaker programs, they similarly controlled the distribution
   57
      Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
   Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
   http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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   of these messages in scientific publications, treatment guidelines, Continuing

   Medical Education (“CME”) programs, medical conferences, and seminars. To this

   end, the Manufacturer Defendants used third-party public relations firms to help

   control those messages when they originated from third-parties.

         93. The Manufacturer Defendants marketed through third-party, unbranded

   advertising to avoid regulatory scrutiny because that advertising is not submitted to

   and typically is not reviewed by the FDA. The Manufacturer Defendants also used

   third-party, unbranded advertising to give the false appearance that the deceptive

   messages came from an independent and objective source. Like the tobacco

   companies, the Manufacturer Defendants used third parties that they funded,

   directed and controlled to carry out and conceal their scheme to deceive doctors

   and patients about the risks and benefits of long term opioid use for chronic pain.

         94. The Manufacturer Defendants also identified doctors to serve, for

   payment, on their speakers’ bureaus and to attend programs with speakers and

   meals paid for by Defendants. These speaker programs provided: (1) an incentive

   for doctors to prescribe a particular opioid (so they might be selected to promote

   the drug); (2) recognition and compensation for the doctors selected as speakers;

   and (3) an opportunity to promote the drug through the speaker to his or her peers.

   These speakers give the false impression that they are providing unbiased and

   medically accurate presentations when they are, in fact, presenting a script


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   prepared by Defendants. On information and belief, these presentations conveyed

   misleading information, omitted material information and failed to correct

   Defendants’ prior misrepresentations about the risks and benefits of opioids.

         95. Borrowing a page from Big Tobacco’s playbook, the Manufacturer

   Defendants worked through third parties they controlled by: (a) funding, assisting,

   encouraging and directing doctors who served as KOLs, and (b) funding, assisting,

   directing and encouraging seemingly neutral and credible Front Groups. The

   Manufacturer Defendants then worked together with those KOLs and Front Groups

   to taint the sources that doctors and patients relied on for ostensibly “neutral”

   guidance, such as treatment guidelines, CME programs, medical conferences,

   seminars and scientific articles. Thus, working individually and collectively and

   through these Front Groups and KOLs, the Manufacturer Defendants persuaded

   doctors and patients that what they have long known – that opioids are addictive

   drugs, unsafe in most circumstances for long-term use – was untrue and that the

   compassionate treatment of pain required opioids.

         96. In 2007, multiple States sued Purdue for engaging in unfair and

   deceptive practices in its marketing, promotion and sale of OxyContin. Certain

   states settled their claims in a series of Consent Judgments that prohibited Purdue

   from making misrepresentations in the promotion and marketing of OxyContin in

   the future. By using indirect marketing strategies, however, Purdue intentionally


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   circumvented these restrictions. Such actions included contributing to the creation

   of misleading publications and prescribing guidelines, which lack reliable

   scientific basis and promote prescribing practices that have worsened the opioid

   crisis.

             97. Pro-opioid doctors are one of the most important avenues that the

   Manufacturer Defendants use to spread their false and deceptive statements about

   the risks and benefits of long-term opioid use. The Manufacturer Defendants know

   that doctors rely heavily and less critically on their peers for guidance, and KOLs

   provide the false appearance of unbiased and reliable support for chronic opioid

   therapy. For example, the State of New York found in its settlement with Purdue

   that the Purdue website “In the Face of Pain” failed to disclose that Purdue paid

   doctors who provided testimonials on the site and concluded that Purdue’s failure

   to disclose these financial connections potentially misled consumers regarding the

   objectivity of the testimonials.

             98. Defendants utilized many KOLs, including many of the same ones.

             99. Dr. Russell Portenoy, former Chairman of the Department of Pain

   Medicine and Palliative Care at Beth Israel Medical Center in New York, is one

   example of a KOL whom the Manufacturer Defendants identified and promoted to

   further their marketing campaign. Dr. Portenoy received research support,

   consulting fees and honoraria from Cephalon, Endo, Janssen and Purdue (among


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   others) and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

   instrumental in opening the door for the regular use of opioids to treat chronic pain.

   He served on the American Pain Society (“APS”) / American Academy of Pain

   Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to

   treat chronic pain, first in 1996 and again in 2009. He was also a member of the

   board of the American Pain Foundation (“APF”), an advocacy organization almost

   entirely funded by the Manufacturer Defendants.

              100. Dr. Portenoy also made frequent media appearances promoting opioids

   and spreading misrepresentations, such as his claim that “the likelihood that the

   treatment of pain using an opioid drug which is prescribed by a doctor will lead to

   addiction is extremely low.” He appeared on Good Morning America in 2010 to

   discuss the use of opioids long-term to treat chronic pain. On this widely-watched

   program, broadcast across the country, Dr. Portenoy claimed: “Addiction, when

   treating pain, is distinctly uncommon. If a person does not have a history, a

   personal history, of substance abuse, and does not have a history in the family of

   substance abuse, and does not have a very major psychiatric disorder, most doctors

   can feel very assured that that person is not going to become addicted.”58

              101. Dr. Portenoy later admitted that he “gave innumerable lectures in the

   late 1980s and ‘90s about addiction that weren’t true.” These lectures falsely


   58
        Good Morning America (ABC television broadcast Aug. 30, 2010).

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   claimed that fewer than one percent (1%) of patients would become addicted to

   opioids. According to Dr. Portenoy, because the primary goal was to

   “destigmatize” opioids, he and other doctors promoting them overstated their

   benefits and glossed over their risks. Dr. Portenoy also conceded that “[d]ata about

   the effectiveness of opioids does not exist.”59 Portenoy candidly stated: “Did I

   teach about pain management, specifically about opioid therapy, in a way that

   reflects misinformation? Well, . . . I guess I did.”60

              102. Another KOL, Dr. Lynn Webster, was the co-founder and Chief

   Medical Director of Lifetree Clinical Research, an otherwise unknown pain clinic

   in Salt Lake City, Utah. Dr. Webster was President of American Academy of Pain

   Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same

   journal that published Endo special advertising supplements touting Opana ER. Dr.

   Webster was the author of numerous CMEs sponsored by Cephalon, Endo and

   Purdue. At the same time, Dr. Webster was receiving significant funding from the

   Manufacturer Defendants (including nearly $2 million from Cephalon).

              103. During a portion of his time as a KOL, Dr. Webster was under

   investigation for overprescribing by the U.S. Department of Justice’s Drug

   Enforcement Agency, which raided his clinic in 2010. Although the DEA closed


   59
      Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
   https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
   60
        Id.

                                                   40
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   the investigation without charges in 2014, more than twenty (20) of Dr. Webster’s

   former patients at the Lifetree Clinic have died of opioid overdoses.

         104. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a

   five question, one-minute screening tool relying on patient self-reports that

   purportedly allows doctors to manage the risk that their patients will become

   addicted to or abuse opioids. The claimed ability to pre-sort patients likely to

   become addicted is an important tool in giving doctors confidence to prescribe

   opioids long-term, and, for this reason, references to screening appear in various

   industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear

   on or are linked to websites run by Endo, Janssen and Purdue. Unaware of the

   flawed science and industry bias underlying this tool, certain states and public

   entities have incorporated the Opioid Risk Tool into their own guidelines,

   indicating, also, their reliance on the Manufacturer Defendants and those under

   their influence and control.

         105. In 2011, Dr. Webster presented via webinar a program sponsored by

   Purdue entitled “Managing Patient’s Opioid Use: Balancing the Need and the

   Risk.” Dr. Webster recommended use of risk screening tools, urine testing and

   patient agreements as a way to prevent “overuse of prescriptions” and “overdose




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   deaths.” This webinar was available to and was intended to reach doctors in the

   State and doctors treating members of Plaintiff’s Community.61

             106. Dr. Webster also was a leading proponent of the concept of

   “pseudoaddiction,” the notion that doctors should see addictive behaviors not as

   warnings, but as indications of undertreated pain. In Dr. Webster’s description, the

   only way to differentiate the two was to increase a patient’s dose of opioids. As he

   and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse While

   Managing Pain—a book that is still available online—when faced with signs of

   aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s

   first response.”62 Upon information and belief, Endo distributed this book to

   doctors. Years later, Dr. Webster reversed himself, acknowledging that

   “[pseudoaddiction] obviously became too much of an excuse to give patients more

   medication.”63

             107. The Manufacturer Defendants also entered into arrangements with

   seemingly unbiased and independent patient and professional organizations to

   promote opioids for the treatment of chronic pain. Under the direction and control

   of the Manufacturer Defendants, these “Front Groups” generated treatment
   61
       See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
   http://www.emergingsolutionsinpain.com/ce-education/opioid-
   management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
   62
        Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
   63
       John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
   http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
   139609053.html.

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   guidelines, unbranded materials and programs that favored chronic opioid therapy.

   They also assisted the Manufacturer Defendants by responding to negative articles,

   by advocating against regulatory changes that would limit opioid prescribing in

   accordance with the scientific evidence, and by conducting outreach to vulnerable

   patient populations targeted by the Manufacturer Defendants.

         108. These Front Groups depended on the Manufacturer Defendants for

   funding and, in some cases, for survival. The Manufacturer Defendants also

   exercised control over programs and materials created by these groups by

   collaborating on, editing and approving their content and by funding their

   dissemination. In doing so, the Manufacturer Defendants made sure that the Front

   Groups would generate only the messages that the Manufacturer Defendants

   wanted to distribute. Despite this, the Front Groups held themselves out as

   independent and serving the needs of their members – whether patients suffering

   from pain or doctors treating those patients.

         109. Defendants Cephalon, Endo, Janssen and Purdue, in particular, utilized

   many Front Groups, including many of the same ones. Several of the most

   prominent are described below, but there are many others, including the American

   Pain Society (“APS”), American Geriatrics Society (“AGS”), the Federation of

   State Medical Boards (“FSMB”), American Chronic Pain Association (“ACPA”),




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   the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”)

   and Pain & Policy Studies Group (“PPSG”).64

           110. The most prominent of the Manufacturer Defendants’ Front Groups

   was the American Pain Foundation (“APF”), which, upon information and belief,

   received more than $10 million in funding from opioid manufacturers from 2007

   until it closed its doors in May 2012, primarily from Endo and Purdue. APF issued

   education guides for patients, reporters and policymakers that touted the benefits of

   opioids for chronic pain and trivialized their risks, particularly the risk of

   addiction. APF also launched a campaign to promote opioids for returning

   veterans, which has contributed to high rates of addiction and other adverse

   outcomes – including death – among returning soldiers. APF also engaged in a

   significant multimedia campaign – through radio, television and the internet – to

   educate patients about their “right” to pain treatment, namely opioids. All of the

   programs and materials were available nationally and were intended to reach

   citizens of the State and Plaintiff’s Community.

           111. In 2009 and 2010, more than eighty percent (80%) of APF’s operating

   budget came from pharmaceutical industry sources. Including industry grants for

   specific projects, APF received about $2.3 million from industry sources out of

   64
      See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
   Dep’t         of          Health         and      Human          Servs.,       (May        5,         2015),
   https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
   %20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

                                                       44
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   total income of about $2.85 million in 2009; its budget for 2010 projected receipts

   of roughly $2.9 million from drug companies, out of a total income of about $3.5

   million. By 2011, upon information and belief, APF was entirely dependent on

   incoming grants from defendants Purdue, Cephalon, Endo and others to avoid

   using its line of credit.

          112. APF held itself out as an independent patient advocacy organization. It

   often engaged in grassroots lobbying against various legislative initiatives that

   might limit opioid prescriptions and thus the profitability of its sponsors. Upon

   information and belief, the Manufacturer Defendants often called upon it to

   provide “patient representatives” for the promotional activities, including for

   Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF functioned

   largely as an advocate for the interests of the Manufacturer Defendants, not

   patients. Indeed, upon information and belief, as early as 2001, Purdue told APF

   that the basis of a grant was Purdue’s desire to “strategically align its investments

   in nonprofit organizations that share [its] business interests.”

          113. Upon information and belief, on several occasions, representatives of

   the Manufacturer Defendants, often at informal meetings at conferences, suggested

   activities and publications for APF to pursue. APF then submitted grant proposals

   seeking to fund these activities and publications, knowing that drug companies

   would support projects conceived as a result of these communications.


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           114. The U.S. Senate Finance Committee began looking into APF in May

   2012 to determine the links, financial and otherwise, between the organization and

   the manufacturers of opioid painkillers. The investigation caused considerable

   damage to APF’s credibility as an objective and neutral third party, and the

   Manufacturer Defendants stopped funding it. Within days of being targeted by the

   Senate investigation, APF’s board voted to dissolve the organization “due to

   irreparable economic circumstances.” APF “cease[d] to exist, effective

   immediately.”65

           115. Another front group for the Manufacturer Defendants was the

   American Academy of Pain Medicine (“AAPM”). With the assistance, prompting,

   involvement and funding of the Manufacturer Defendants, the AAPM issued

   purported treatment guidelines and sponsored and hosted medical education

   programs essential to the Manufacturer Defendants’ deceptive marketing of

   chronic opioid therapy.

           116. AAPM received substantial funding from opioid manufacturers. For

   example, AAPM maintained a corporate relations council, whose members paid

   $25,000 per year (on top of other funding) to participate. The benefits included

   allowing members to present educational programs at off-site dinner symposia in


   65
      Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
   May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
   ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.

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   connection with AAPM’s marquee event – its annual meeting held in Palm

   Springs, California or other resort locations. AAPM describes the annual event as

   an “exclusive venue” for offering education programs to doctors. Membership in

   the corporate relations council also allows drug company executives and marketing

   staff to meet with AAPM executive committee members in small settings.

   Defendants Endo, Purdue and Cephalon were members of the council and

   presented deceptive programs to doctors who attended this annual event.

         117. Upon information and belief, Endo internally views AAPM as

   “industry friendly,” with Endo advisors and speakers among its active members.

   Endo attended AAPM conferences, funded its CMEs and distributed its

   publications. The conferences sponsored by AAPM heavily emphasized sessions

   on opioids – thirty-seven (37) out of roughly forty (40) at one conference alone.

   AAPM’s presidents have included top industry-supported KOLs Perry Fine and

   Lynn Webster. The AAPM even elected Dr. Webster president while he was under

   a DEA investigation.

         118. The Manufacturer Defendants were able to influence AAPM through

   both their significant and regular funding and the leadership of pro-opioid KOLs

   within the organization.

         119. In 1996, AAPM and APS jointly issued a consensus statement, “The

   Use of Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat


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   chronic pain and claimed that the risk of a patient’s addiction to opioids was low.

   Dr. Haddox, who co-authored the AAPM/APS statement, was a paid speaker for

   Purdue at the time. Dr. Portenoy was the sole consultant. The consensus statement

   remained on AAPM’s website until 2011, and, upon information and belief, the

   AAPM only removed it from the website after a doctor complained.66

           120. AAPM and APS issued their own treatment guidelines in 2009

   (“AAPM/APS Guidelines”) and continued to recommend the use of opioids to treat

   chronic pain.67 Doctors, especially the general practitioners and family doctors

   targeted by the Manufacturer Defendants, have relied upon treatment guidelines.

   Treatment guidelines not only directly inform doctors’ prescribing practices, but

   are cited throughout the scientific literature and referenced by third-party payors in

   determining whether they should cover treatments for specific indications.

   Pharmaceutical sales representatives employed by Endo, Actavis and Purdue

   discussed treatment guidelines with doctors during individual sales visits.

           121. At least fourteen (14) of the twenty-one (21) panel members who

   drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry

   Fine of the University of Utah, received support from Janssen, Cephalon, Endo and

   Purdue. The 2009 Guidelines promote opioids as “safe and effective” for treating

   66
     The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
   Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
   67
     Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
   Pain 113 (2009).

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   chronic pain, despite acknowledging limited evidence, and conclude that the risk of

   addiction is manageable for patients regardless of past abuse histories.68 One panel

   member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State

   University and founder of the Michigan Headache & Neurological Institute,

   resigned from the panel because of his concerns that the 2009 Guidelines were

   influenced by contributions that drug companies, including Manufacturer

   Defendants, made to the sponsoring organizations and committee members. These

   AAPM/APS Guidelines have been a particularly effective channel of deception

   and have influenced not only treating physicians, but also the body of scientific

   evidence on opioids; the Guidelines have been cited hundreds of times in academic

   literature, were disseminated in the State and/or Plaintiff’s Community during the

   relevant time period, are still available online and were reprinted in the Journal of

   Pain. The Manufacturer Defendants widely referenced and promoted the 2009

   Guidelines without disclosing the lack of evidence to support them or the

   Manufacturer Defendants’ financial support to members of the panel.

              122. The Manufacturer Defendants worked together through Front Groups

   to spread their deceptive messages about the risks and benefits of long-term opioid

   therapy. For example, Defendants combined their efforts through the Pain Care

   Forum (“PCF”), which began in 2004 as an APF project. PCF comprises


   68
        Id.

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   representatives from opioid manufacturers (including Cephalon, Endo, Janssen and

   Purdue) and various Front Groups, almost all of which received substantial funding

   from the Manufacturer Defendants. Among other projects, PCF worked to ensure

   that an FDA-mandated education project on opioids was not unacceptably negative

   and did not require mandatory participation by prescribers, which the Manufacturer

   Defendants determined would reduce prescribing.

                      2. The Manufacturer Defendants’ Marketing Scheme Misrepresented
                      the Risks and Benefits of Opioids.

                      i. The Manufacturer Defendants embarked upon a
                     campaign of false, deceptive and unfair assurances grossly
                     understating and misstating the dangerous addiction risks of
                     the opioid drugs.

         123. To falsely assure physicians and patients that opioids are safe, the

   Manufacturer Defendants deceptively trivialized and failed to disclose the risks of

   long-term opioid use, particularly the risk of addiction, through a series of

   misrepresentations that the FDA and CDC have conclusively debunked. These

   misrepresentations – described below – reinforced each other and created the

   dangerously misleading impression that: (1) starting patients on opioids was low

   risk because most patients would not become addicted and because doctors could

   identify and manage those at greatest risk for addiction; (2) patients who displayed

   signs of addiction probably were not addicted, and, in any event, doctors could

   easily wean them from the drugs; (3) the use of higher opioid doses, which many

   patients need to sustain pain relief as they develop tolerance to the drugs, do not
                                           50
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   pose special risks; and (4) abuse-deterrent opioids both prevent abuse and overdose

   and are inherently less addictive. The Manufacturer Defendants have not only

   failed to correct these misrepresentations; they continue to make them today.

         124. Opioid manufacturers, including Defendants Endo Pharmaceuticals,

   Inc. and Purdue Pharma L.P., have entered into settlement agreements with public

   entities that prohibit them from making many of the misrepresentations identified

   in this Complaint. Yet even afterward, each Manufacturer Defendant continued to

   misrepresent the risks and benefits of long-term opioid use in the State and

   Plaintiff’s Community and each continues to fail to correct its past

   misrepresentations. They also continue to support, fund and control those

   misrepresentations through the direct and indirect marketing methods identified

   above.

         125. Some illustrative examples of the Manufacturer Defendants’ false,

   deceptive and unfair claims about the purportedly low risk of addiction include:

               a. Actavis’s predecessor caused a patient education brochure,

                   Managing Chronic Back Pain, to be distributed beginning in 2003

                   that admitted that opioid addiction is possible, but falsely claimed

                   that it is “less likely if you have never had an addiction problem.”

                   Based on Actavis’s acquisition of its predecessor’s marketing




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                       materials along with the rights to Kadian, it appears that Actavis

                       continued to use this brochure in 2009 and beyond.

                   b. Cephalon and Purdue sponsored APF’s Treatment Options: A

                       Guide for People Living with Pain (2007), which suggested that

                       addiction is rare and limited to extreme cases of unauthorized dose

                       escalations, obtaining duplicative opioid prescriptions from

                       multiple sources, or theft. This publication is still available

                       online.69

                   c. Endo sponsored a website, “PainKnowledge,” which, upon

                       information and belief, claimed in 2009 that “[p]eople who take

                       opioids as prescribed usually do not become addicted.” Upon

                       information and belief, another Endo website, PainAction.com,

                       stated “Did you know? Most chronic pain patients do not become

                       addicted to the opioid medications that are prescribed for them.”

                       Endo also distributed an “Informed Consent” document on

                       PainAction.com that misleadingly suggested that only people who

                       “have problems with substance abuse and addiction” are likely to

                       become addicted to opioid medications.



   69
      Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
   Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.

                                                       52
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                   d. Upon information and belief, Endo distributed a pamphlet with the

                       Endo logo entitled Living with Someone with Chronic Pain, which

                       stated that: “Most health care providers who treat people with pain

                       agree that most people do not develop an addiction problem.”

                   e. Janssen reviewed, edited, approved and distributed a patient

                       education guide entitled Finding Relief: Pain Management for

                       Older Adults (2009), which described as “myth” the claim that

                       opioids are addictive and asserted as fact that “[m]any studies

                       show that opioids are rarely addictive when used properly for the

                       management of chronic pain.”

                   f. Janssen currently runs a website, Prescriberesponsibly.com (last

                       updated July 2, 2015), which claims that concerns about opioid

                       addiction are “overestimated.”

                   g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding

                       Pain & Its Management, which claims that less than one percent

                       (1%) of children prescribed opioids will become addicted and that

                       pain is undertreated due to “[m]isconceptions about opioid

                       addiction.”70



   70
     Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
   Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.

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                      h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and

                           Acting Responsibly to Ensure Safety (C.A.R.E.S.), through which

                           it published and promoted the book “Defeat Chronic Pain Now!”

                           aimed at chronic pain patients. The book, which is still available

                           for sale in New Mexico and elsewhere, and is promoted online at

                           www.defeatchronicpainnow.com, advises laypeople who are

                           considering taking opioid drugs that “[o]nly rarely does opioid

                           medication cause a true addiction.”71 Further, the book advises that

                           even the issue of tolerance is “overblown,” because “[o]nly a

                           minority of chronic pain patients who are taking long-term opioids

                           develop tolerance.” In response to a hypothetical question from a

                           chronic back pain patient who expresses a fear of becoming

                           addicted, the book advises that “[i]t is very uncommon for a person

                           with chronic pain to become ‘addicted’ to narcotics IF (1) he

                           doesn’t have a prior history of any addiction and (2) he only takes

                           the medication to treat pain.”

                      i. Upon information and belief, consistent with the Manufacturer

                           Defendants’ published marketing materials, upon information and

                           belief, detailers for Purdue, Endo, Janssen, Cephalon, and


   71
        Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).

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                        Mallinckrodt in the State and Plaintiff’s Community minimized or

                        omitted any discussion with doctors of the risk of addiction,

                        misrepresented the potential for abuse of opioids with purportedly

                        abuse-deterrent formulations and routinely did not correct the

                        misrepresentations noted above.

                    j. Seeking to overturn the criminal conviction of a doctor for illegally

                        prescribing opioids, the Manufacturer Defendants’ Front Groups

                        APF and NPF argued in an amicus brief to the United States

                        Fourth Circuit Court of Appeals that “patients rarely become

                        addicted to prescribed opioids,” citing research by their KOL, Dr.

                        Portenoy.72

           126. These claims are contrary to longstanding scientific evidence. A 2016

   opioid-prescription guideline issued by the CDC (the “2016 CDC Guideline”)

   explains that there is “[e]xtensive evidence” of the “possible harms of opioids

   (including opioid use disorder [an alternative term for opioid addiction], [and]

   overdose . . .).”73 The 2016 CDC Guideline further explains that “[o]pioid pain

   medication use presents serious risks, including overdose and opioid use disorder”


   72
      Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
   Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
   (4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
   73
      Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
   & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
   https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.

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   and that “continuing opioid therapy for 3 months substantially increases risk for

   opioid use disorder.”74

               127. The FDA further exposed the falsity of Defendants’ claims about the

   low risk of addiction when it announced changes to the labels for extended-release

   and long-acting (“ER/LA”) opioids in 2013 and for immediate release (“IR”)

   opioids in 2016. In its announcements, the FDA found that “most opioid drugs

   have ‘high potential for abuse’” and that opioids “are associated with a substantial

   risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

   overdose, and death.” According to the FDA, because of the “known serious risks”

   associated with long-term opioid use, including “risks of addiction, abuse, and

   misuse, even at recommended doses, and because of the greater risks of overdose

   and death,” opioids should be used only “in patients for whom alternative

   treatment options” like non-opioid drugs have failed.75

               128. The State of New York, in a 2016 settlement agreement with Endo,

   found that opioid “use disorders appear to be highly prevalent in chronic pain

   patients treated with opioids, with up to 40% of chronic pain patients treated in

   74
        Id. at 2, 25.
   75
      Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
   U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
   Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
   0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
   and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
   A.       Davidson,      Kleinfeld,      Kaplan      and     Becker,      LLP        (Mar.      22,      2016),
   https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
   0006&attachmentNumber=1&contentType=pdf.

                                                        56
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   specialty and primary care outpatient centers meeting the clinical criteria for an

   opioid use disorder.”76 Endo had claimed on its www.opana.com website that

   “[m]ost healthcare providers who treat patients with pain agree that patients treated

   with prolonged opioid medicines usually do not become addicted,” but the State of

   New York found that Endo had no evidence for that statement. Consistent with

   this, Endo agreed not to “make statements that . . . opioids generally are non-

   addictive” or “that most patients who take opioids do not become addicted” in New

   York. Endo remains free, however, to make those statements in this State.

           129. In addition to mischaracterizing the highly addictive nature of the drugs

   they were pushing, the Manufacturer Defendants also fostered a fundamental

   misunderstanding of the signs of addiction. Specifically, the Manufacturer

   Defendants misrepresented to doctors and patients that warning signs and/or

   symptoms of addiction were, instead, signs of undertreated pain (i.e.,

   pseudoaddiction) – and instructed doctors to increase the opioid prescription dose

   for patients who were already in danger.

           130. To this end, one of Purdue’s employees, Dr. David Haddox, invented a

   phenomenon called “pseudoaddiction.” Upon information and belief, KOL Dr.

   Portenoy popularized the term. Examples of the false, misleading, deceptive and

   unfair statements regarding pseudoaddiction include:

   76
      Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
   16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

                                                         57
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                      a. Cephalon and Purdue sponsored Responsible Opioid Prescribing

                           (2007), which taught that behaviors such as “requesting drugs by

                           name,” “demanding or manipulative behavior,” seeing more than

                           one doctor to obtain opioids and hoarding are all signs of

                           pseudoaddiction, rather than true addiction.77 The 2012 edition,

                           which remains available for sale online, continues to teach that

                           pseudoaddiction is real.78

                      b. Janssen sponsored, funded and edited the Let’s Talk Pain website,

                           which in 2009 stated: “pseudoaddiction . . . refers to patient

                           behaviors that may occur when pain is under-treated . . . .

                           Pseudoaddiction is different from true addiction because such

                           behaviors can be resolved with effective pain management.”

                      c. Endo sponsored a National Initiative on Pain Control (“NIPC”)

                           CME program in 2009 entitled “Chronic Opioid Therapy:

                           Understanding Risk While Maximizing Analgesia,” which, upon

                           information and belief, promoted pseudoaddiction by teaching that

                           a patient’s aberrant behavior was the result of untreated pain. Endo

                           appears to have substantially controlled NIPC by funding NIPC



   77
        Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
   78
        See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

                                                            58
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                 projects; developing, specifying and reviewing content; and

                 distributing NIPC materials.

              d. Purdue published a pamphlet in 2011 entitled Providing Relief,

                 Preventing Abuse, which, upon information and belief, described

                 pseudoaddiction as a concept that “emerged in the literature” to

                 describe the inaccurate interpretation of [drug-seeking behaviors]

                 in patients who have pain that has not been effectively treated.”

              e. Upon information and belief, Purdue sponsored a CME program

                 titled “Path of the Patient, Managing Chronic Pain in Younger

                 Adults at Risk for Abuse.” In a roleplay, a chronic pain patient

                 with a history of drug abuse tells his doctor that he is taking twice

                 as many hydrocodone pills as directed. The narrator notes that

                 because of pseudoaddiction, the doctor should not assume the

                 patient is addicted even if he persistently asks for a specific drug,

                 seems desperate, hoards medicine or “overindulges in unapproved

                 escalating doses.” The doctor treats this patient by prescribing a

                 high-dose, long-acting opioid.

              f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and

                 Acting Responsibly to Ensure Safety (C.A.R.E.S.), through which

                 it published and promoted the book “Defeat Chronic Pain Now!”


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                   aimed at chronic pain patients. The book, which is still available

                   for sale in New Mexico and elsewhere, and is promoted online at

                   www.defeatchronicpainnow.com,           teaches          laypeople   that

                   “pseudoaddiction” is “caused by their doctor not appropriately

                   prescribing    the    opioid     medication.”       It     teaches   that

                   “[p]seudoaddiction happens when a patient’s opioid medication is

                   not being prescribed in doses strong enough to provide good pain

                   relief, or if the drug is not being prescribed often enough

                   throughout the day. . . When a pseudoaddicted patient is prescribed

                   the proper amount of opioid medication, he or she doesn’t take any

                   extra pills because his or her pain is relieved.”

         131. In the 2016 CDC Guideline, the CDC rejects the validity of the

   pseudoaddiction fallacy invented by a Purdue employee as a reason to push more

   opioid drugs onto already-addicted patients.

         132. In addition to misstating the addiction risk and inventing the

   pseudoaddiction falsehood, a third category of false, deceptive and unfair practice

   is the Manufacturer Defendants’ false instructions that addiction risk screening

   tools, patient contracts, urine drug screens and similar strategies allow them to

   reliably identify and safely prescribe opioids to patients predisposed to addiction.

   These misrepresentations were especially insidious because the Manufacturer


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   Defendants aimed them at general practitioners and family doctors who lack the

   time and expertise to closely manage higher-risk patients on opioids. The

   Manufacturer Defendants’ misrepresentations made these doctors feel more

   comfortable prescribing opioids to their patients, and patients more comfortable

   starting on opioid therapy for chronic pain. Illustrative examples include:

                a. Endo paid for a 2007 supplement in the Journal of Family Practice

                   written by a doctor who became a member of Endo’s speakers

                   bureau in 2010. The supplement, entitled Pain Management

                   Dilemmas in Primary Care: Use of Opioids, emphasized the

                   effectiveness of screening tools, claiming that patients at high risk

                   of addiction could safely receive chronic opioid therapy using a

                   “maximally structured approach” involving toxicology screens and

                   pill counts.

                b. Purdue, upon information and belief, sponsored a 2011 webinar,

                   Managing Patient’s Opioid Use: Balancing the Need and Risk,

                   which claimed that screening tools, urine tests and patient

                   agreements prevent “overuse of prescriptions” and “overdose

                   deaths.”

                c. As recently as 2015, upon information and belief, Purdue has

                   represented in scientific conferences that “bad apple” patients –


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                        and not opioids – are the source of the addiction crisis and that

                        once those “bad apples” are identified, doctors can safely prescribe

                        opioids without causing addiction.

               133. The 2016 CDC Guideline confirms the falsity of these claims. The

   Guideline explains that there are no studies assessing the effectiveness of risk

   mitigation strategies “for improving outcomes related to overdose, addiction, abuse

   or misuse.”79

               134. A fourth category of deceptive messaging regarding dangerous opioids

   is the Manufacturer Defendants’ false assurances regarding the alleged ease of

   eliminating opioid dependence. The Manufacturer Defendants falsely claimed that

   doctors can easily address opioid dependence by tapering and that opioid

   withdrawal is not a problem, but they failed to disclose the increased difficulty of

   stopping opioids after long-term use. In truth, the 2016 CDC Guideline explains

   that the symptoms of opioid withdrawal include abdominal pain, vomiting,

   diarrhea, sweating, tremor, tachycardia, drug cravings, anxiety, insomnia,

   spontaneous abortion and premature labor in pregnant women.80

               135. The Manufacturer Defendants nonetheless downplayed the severity of

   opioid detoxification. For example, upon information and belief, a CME sponsored

   by Endo, entitled Persistent Pain in the Older Adult, claimed that withdrawal
   79
        Id. at 11.
   80
        Id. at 26.

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   symptoms can be avoided by tapering a patient’s opioid dose by ten percent (10%)

   to twenty percent (20%) for ten (10) days. And Purdue sponsored APF’s A

   Policymaker’s Guide to Understanding Pain & Its Management, which claimed

   that “[s]ymptoms of physical dependence can often be ameliorated by gradually

   decreasing the dose of medication during discontinuation” without mentioning any

   hardships that might occur.81              Similarly, in the 2010 Mallinckrodt/C.A.R.E.S.

   publication “Defeat Chronic Pain Now!”, potential opioid users are advised that

   tolerance to opioids is “easily remedied,” and that “[a]ll patients can be safely

   taken off opioid medication if the dose is slowly tapered down by their doctor.”

           136. A fifth category of false, deceptive and unfair statements the

   Manufacturer Defendants made to sell more drugs is that patients could increase

   opioid dosages indefinitely without added risk. The ability to escalate dosages was

   critical to Defendants’ efforts to market opioids for long-term use to treat chronic

   pain because, absent this misrepresentation, doctors would have abandoned

   treatment when patients built up tolerance and lower dosages did not provide pain

   relief. The Manufacturer Defendants’ deceptive claims include:

                   a. Upon information and belief, Actavis’s predecessor created a

                       patient brochure for Kadian in 2007 that stated, “Over time, your

                       body may become tolerant of your current dose. You may require a

   81
      Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
   Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.

                                                        63
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                       dose adjustment to get the right amount of pain relief. This is not

                       addiction.” Based on Actavis’s acquisition of its predecessor’s

                       marketing materials along with the rights to Kadian, Actavis

                       appears to have continued to use these materials in 2009 and

                       beyond.

                   b. Cephalon and Purdue sponsored APF’s Treatment Options: A

                       Guide for People Living with Pain (2007), which claims that some

                       patients “need” a larger dose of an opioid, regardless of the dose

                       currently prescribed. The guide stated that opioids have “no ceiling

                       dose” and insinuated that they are therefore the most appropriate

                       treatment for severe pain.82 This publication is still available

                       online.

                   c. Endo sponsored a website, “PainKnowledge,” which, upon

                       information and belief, claimed in 2009 that opioid dosages may

                       be increased until “you are on the right dose of medication for your

                       pain.”

                   d. Endo distributed a pamphlet edited by a KOL entitled

                       Understanding Your Pain: Taking Oral Opioid Analgesics (2004

                       Endo Pharmaceuticals PM-0120). In Q&A format, it asked “If I

   82
      Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
   Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.

                                                       64
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                           take the opioid now, will it work later when I really need it?” The

                           response is, “The dose can be increased. . . . You won’t ‘run out’

                           of pain relief.”83

                      e. Janssen sponsored a patient education guide entitled Finding

                           Relief: Pain Management for Older Adults (2009), which its sales

                           force distributed. This guide listed dosage limitations as

                           “disadvantages” of other pain medicines, but omitted any

                           discussion of risks of increased opioid dosages.

                      f. Upon information and belief, Purdue’s In the Face of Pain website

                           promoted the notion that if a patient’s doctor does not prescribe

                           what, in the patient’s view, is a sufficient dosage of opioids, he or

                           she should find another doctor who will.

                      g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding

                           Pain & Its Management, which taught that dosage escalations are

                           “sometimes necessary” and that “the need for higher doses of

                           medication is not necessarily indicative of addiction,” but

                           inaccurately downplayed the risks from high opioid dosages.84




   83
     Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
   (Russell K Portenoy, M.D., ed., 2004).
   84
        APF, Policymaker’s Guide, at 32.

                                                    65
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                       h. In 2007, Purdue sponsored a CME entitled “Overview of

                              Management Options” that was available for CME credit and

                              available until at least 2012. The CME was edited by a KOL and

                              taught that Non-Steroidal Anti-Inflammatory Drugs (“NSAIDs”)

                              and other drugs, but not opioids, are unsafe at high dosages.

                       i. Purdue presented a 2015 paper at the College on the Problems of

                              Drug Dependence, “the oldest and largest organization in the US

                              dedicated to advancing a scientific approach to substance use and

                              addictive disorders,” challenging the correlation between opioid

                              dosage and overdose.85

                       j. Seeking to overturn the criminal conviction of a doctor for illegally

                              prescribing opioids, the Manufacturer Defendants’ Front Groups

                              APF and NPF argued in an amicus brief to the United States

                              Fourth Circuit Court of Appeals that “there is no ‘ceiling dose’”

                              for opioids.86

                       k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic

                              Pain Now!”, potential opioid users are warned about the risk of

                              “[p]seudoaddiction [b]ecause of a [l]ow [d]ose,” and advised that

                              this condition may be corrected through the prescription of a
   85
        The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
   86
        Brief of APF, at 9.

                                                             66
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                          higher dose. Similarly, the book recommends that for chronic pain

                          patients, the opioid dose should be “gradually increased to find the

                          best daily dose, as is done with all the other oral drugs.” The book

                          discusses the risks of NSAIDs and other drugs at higher doses, but

                          not explain this risk for opioids.

               137. Once again, the 2016 CDC Guideline reveals that the Manufacturer

   Defendants’ representations regarding opioids were lacking in scientific evidence.

   The 2016 CDC Guideline clarifies that the “[b]enefits of high-dose opioids for

   chronic pain are not established,” while the “risks for serious harms related to

   opioid therapy increase at higher opioid dosage.”87 More specifically, the CDC

   explains that “there is now an established body of scientific evidence showing that

   overdose risk is increased at higher opioid dosages.”88 The CDC also states that

   there is an increased risk “for opioid use disorder, respiratory depression, and death

   at higher dosages.”89 That is why the CDC advises doctors to “avoid increasing

   dosage” to above 90 morphine milligram equivalents per day.90




   87
        2016 CDC Guideline, at 22–23.
   88
        Id. at 23–24.
   89
        Id. at 21.
   90
        Id. at 16.

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               138. Defendants’ deceptive marketing of the so-called abuse-deterrent

   properties of some of their opioids has created false impressions that these opioids

   can cure addiction and abuse.

               139. The Manufacturer Defendants made misleading claims about the ability

   of their so-called abuse-deterrent opioid formulations to deter abuse. For example,

   Endo’s advertisements for the 2012 reformulation of Opana ER claimed Endo had

   designed it to be crush-resistant, in a way that suggested it was more difficult to

   abuse. This claim was false. The FDA warned in a 2013 letter that Opana ER

   Extended-Release Tablets’ “extended-release features can be compromised,

   causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation

   such as cutting, grinding, or chewing, followed by swallowing.”91 Also troubling,

   Opana ER can be prepared for snorting using commonly available methods and

   “readily prepared for injection.”92 The letter discussed “the troubling possibility

   that a higher (and rising) percentage of [Opana ER Extended-Release Tablet] abuse

   is occurring via injection.”93 Endo’s own studies, which it failed to disclose,

   showed that Opana ER could still be ground and chewed. In June 2017, the FDA

   requested that Endo remove Opana ER from the market.


   91
     Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
   U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
   2013), at 5.
   92
        Id. at 6.
   93
        Id. at 6 n.21.

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                           ii. The Manufacturer Defendants embarked upon a
                            campaign of false, deceptive and unfair assurances grossly
                            overstating the benefits of the opioid drugs.

               140. To convince doctors and patients that they should use opioids to treat

   chronic pain, the Manufacturer Defendants also had to persuade them that there

   was a significant upside to long-term opioid use. But as the CDC Guideline makes

   clear, “[n]o evidence shows a long-term benefit of opioids in pain and function

   versus no opioids for chronic pain with outcomes examined at least 1 year later

   (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that

   other treatments were more or equally beneficial and less harmful than long-term

   opioid use.94 The FDA, too, has recognized the lack of evidence to support long-

   term opioid use. Despite this, Defendants falsely and misleadingly touted the

   benefits of long-term opioid use and falsely and misleadingly suggested that these

   benefits were supported by scientific evidence.

               141. Some illustrative examples of the Manufacturer Defendants’ false

   claims are:

                     a. Upon information and belief, Actavis distributed an advertisement

                        claiming that the use of Kadian to treat chronic pain would allow

                        patients to return to work, relieve “stress on your body and your

                        mental health” and help patients enjoy their lives.


   94
        Id. at 15.

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              b. Endo distributed advertisements that claimed that the use of Opana

                 ER for chronic pain would allow patients to perform demanding

                 tasks like construction work or work as a chef and portrayed

                 seemingly healthy, unimpaired subjects.

              c. Janssen sponsored and edited a patient education guide entitled

                 Finding Relief: Pain Management for Older Adults (2009), which

                 states as “a fact” that “opioids may make it easier for people to live

                 normally.” The guide lists expected functional improvements from

                 opioid use, including sleeping through the night, returning to work,

                 recreation, sex, walking and climbing stairs.

              d. Janssen promoted Ultracet for everyday chronic pain and

                 distributed posters for display in doctors’ offices of presumed

                 patients in active professions. The caption read: “Pain doesn’t fit

                 into their schedules.”

              e. Upon information and belief, Purdue ran a series of advertisements

                 for OxyContin in 2012 in medical journals entitled “Pain

                 vignettes,” which were case studies featuring patients with pain

                 conditions persisting over several months and recommending

                 OxyContin for them. The ads implied that OxyContin improves

                 patients’ function.


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                      f. Responsible Opioid Prescribing (2007), which Cephalon, Endo

                          and Purdue sponsored and distributed, taught that relief of pain by

                          opioids, by itself, improved patients’ function.

                      g. Cephalon and Purdue sponsored APF’s Treatment Options: A

                          Guide for People Living with Pain (2007), which counseled

                          patients that opioids “give [pain patients] a quality of life we

                          deserve.”95 This publication is still available online.

                      h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon

                          information and belief, that with opioids, “your level of function

                          should improve; you may find you are now able to participate in

                          activities of daily living, such as work and hobbies, that you were

                          not able to enjoy when your pain was worse.” Elsewhere, the

                          website touted improved quality of life (as well as “improved

                          function”) as benefits of opioid therapy. The grant request that

                          Endo approved for this project specifically indicated NIPC’s intent

                          to make misleading claims about function, and Endo closely

                          tracked visits to the site.




   95
        APF, Treatment Options.

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                   i. Endo was the sole sponsor, through NIPC, of a series of CMEs

                       entitled “Persistent Pain in the Older Patient.”96 Upon information

                       and belief, a CME disseminated via webcast claimed that chronic

                       opioid therapy has been “shown to reduce pain and improve

                       depressive symptoms and cognitive functioning.”

                   j. Janssen sponsored and funded a multimedia patient education

                       campaign called “Let’s Talk Pain.” One feature of the campaign

                       was to complain that patients were under-treated. In 2009, upon

                       information and belief, a Janssen-sponsored website, part of the

                       “Let’s Talk Pain” campaign, featured an interview edited by

                       Janssen claiming that opioids allowed a patient to “continue to

                       function.”

                   k. Purdue sponsored the development and distribution of APF’s A

                       Policymaker’s Guide to Understanding Pain & Its Management,

                       which claimed that “[m]ultiple clinical studies” have shown that

                       opioids      are    effective       in   improving        “[d]aily          function,”

                       “[p]sychological health” and “[o]verall health-related quality of




   96
            E.g.,    NIPC,       Persistent     Pain       and      the     Older        Patient       (2007),
   https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.

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                           life for chronic pain.”97 The Policymaker’s Guide was originally

                           published in 2011.

                      l. Purdue’s, Cephalon’s, Endo’s and Janssen’s sales representatives

                           have conveyed and continue to convey the message that opioids

                           will improve patient function.

              142. As the FDA and other agencies have made clear for years, these claims

   have no support in the scientific literature.

              143. In 2010, the FDA warned Actavis, in response to its advertising of

   Kadian described above, that “we are not aware of substantial evidence or

   substantial clinical experience demonstrating that the magnitude of the effect of the

   drug [Kadian] has in alleviating pain, taken together with any drug-related side

   effects patients may experience . . . results in any overall positive impact on a

   patient’s work, physical and mental functioning, daily activities, or enjoyment of

   life.”98 And in 2008, upon information and belief, the FDA sent a warning letter to

   an opioid manufacturer, making it clear “that [the claim that] patients who are

   treated with the drug experience an improvement in their overall function, social

   function, and ability to perform daily activities . . . has not been demonstrated by

   substantial evidence or substantial clinical experience.”



   97
        APF, Policymaker’s Guide, supra, at 29.
   98
        Letter from Thomas Abrams to Doug Boothe, at 2.

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              144. The       Manufacturer   Defendants   also   falsely   and   misleadingly

   emphasized or exaggerated the risks of competing medications like NSAIDs, so

   that doctors and patients would look to opioids first for the treatment of chronic

   pain. Once again, these misrepresentations by the Manufacturer Defendants

   contravene pronouncements by and guidance from the FDA and CDC based on the

   scientific evidence. Indeed, the FDA changed the labels for extended-release and

   long-acting (“ER/LA”) opioids in 2013 and immediate-release (“IR”) opioids in

   2016 to state that opioids should only be used as a last resort “in patients for which

   alternative treatment options” like non-opioid drugs “are inadequate.” And the

   2016 CDC Guideline states that NSAIDs, not opioids, should be the first-line

   treatment for chronic pain, particularly arthritis and lower back pain.99 Purdue

   misleadingly promoted OxyContin as being unique among opioids in providing

   twelve (12) continuous hours of pain relief with one dose. In fact, OxyContin does

   not last for twelve (12) hours – a fact that Purdue has known at all times relevant to

   this action. Upon information and belief, Purdue’s own research shows that

   OxyContin wears off in under six hours in one quarter of patients and in under ten

   (10) hours in more than half. This is because OxyContin tablets release

   approximately forty percent (40%) of their active medicine immediately, after

   which release tapers. This triggers a powerful initial response, but provides little or


   99
        2016 CDC Guideline, at 12.

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   no pain relief at the end of the dosing period, when the tablet releases less

   medicine. This phenomenon is known as “end of dose” failure, and the FDA found

   in 2008 that a “substantial proportion” of chronic pain patients taking OxyContin

   experience it. This not only renders Purdue’s promise of twelve (12) hours of relief

   false and deceptive, it also makes OxyContin more dangerous because the

   declining pain relief patients experience toward the end of each dosing period

   drives them to take more OxyContin before the next dosing period begins, quickly

   increasing the amount of drug they are taking and spurring growing dependence.

            145. Purdue’s competitors were aware of this problem. For example, upon

   information and belief, Endo ran advertisements for Opana ER referring to “real”

   twelve (12) hour dosing. Nevertheless, Purdue falsely promoted OxyContin as if it

   were effective for a full twelve (12) hours. Upon information and belief, Purdue’s

   sales representatives continue to tell doctors that OxyContin lasts a full twelve (12)

   hours.

            146. Front   Groups   supported    by   Purdue    likewise   echoed     these

   representations. For example, in an amicus brief submitted to the Supreme Court of

   Ohio by the American Pain Foundation, the National Foundation for the Treatment

   of Pain and the Ohio Pain Initiative in support of Purdue, those amici represented:

            OxyContin is particularly useful for sustained long-term pain because
            it comes in higher, compact pills with a slow release coating.
            OxyContin pills can work for 12 hours. This makes it easier for
            patients to comply with dosing requirements without experiencing a
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           roller-coaster of pain relief followed quickly by pain renewal that can
           occur with shorter acting medications. It also helps the patient sleep
           through the night, which is often impossible with short-acting
           medications. For many of those serviced by Pain Care Amici,
           OxyContin has been a miracle medication.100

           147. Cephalon deceptively marketed its opioids Actiq and Fentora for

   chronic pain, even though the FDA has expressly limited their use to the treatment

   of cancer pain in opioid-tolerant individuals. Both Actiq and Fentora are extremely

   powerful fentanyl-based IR opioids. Neither is approved for nor has been shown to

   be safe or effective for chronic pain. Indeed, the FDA expressly prohibited

   Cephalon from marketing Actiq for anything but cancer pain and refused to

   approve Fentora for the treatment of chronic pain because of the potential harm,

   including the high risk of “serious and life-threatening adverse events” and abuse –

   which are greatest in non-cancer patients. The FDA also issued a Public Health

   Advisory in 2007, emphasizing that Fentora should only be used for cancer

   patients who are opioid-tolerant and should not be used for any other conditions,

   such as migraines, post-operative pain or pain due to injury.101 Specifically, the

   FDA advised that Fentora “is only approved for breakthrough cancer pain in




   100
       Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
   Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
   Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
   101
       See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
   (fentanyl              buccal             tablets)             (Sept.               26,             2007),
   https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.

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   patients who are opioid-tolerant, meaning those patients who take a regular, daily,

   around-the-clock narcotic pain medication.”102

               148. Despite this, Cephalon conducted and continues to conduct a well-

   funded campaign to promote Actiq and Fentora for chronic pain and other non-

   cancer conditions for which it was not approved and is not appropriate or safe. As

   part of this campaign, Cephalon used CMEs, speaker programs, KOLs, journal

   supplements and detailing by its sales representatives to give doctors the false

   impression that Actiq and Fentora are safe and effective for treating non-cancer

   pain. For example:

                    a. Cephalon paid to have a CME it sponsored, Opioid-Based

                       Management of Persistent and Breakthrough Pain, published in a

                       supplement of Pain Medicine News in 2009. The CME instructed

                       doctors that “[c]linically, broad classification of pain syndromes as

                       either cancer- or non-cancer-related has limited utility” and

                       recommended Actiq and Fentora for patients with chronic pain.

                    b. Upon information and belief, Cephalon’s sales representatives set

                       up hundreds of speaker programs for doctors, including many non-

                       oncologists, which promoted Actiq and Fentora for the treatment

                       of non-cancer pain.


   102
         Id.

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               c. In December 2011, Cephalon widely disseminated a journal

                   supplement entitled “Special Report:         An   Integrated   Risk

                   Evaluation and Mitigation Strategy for Fentanyl Buccal Tablet

                   (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)”

                   to Anesthesiology News, Clinical Oncology News and Pain

                   Medicine News – three publications that are sent to thousands of

                   anesthesiologists and other medical professionals. The Special

                   Report openly promotes Fentora for “multiple causes of pain” –

                   and not just cancer pain.

         149. Cephalon’s deceptive marketing gave doctors and patients the false

   impression that Actiq and Fentora were not only safe and effective for treating

   chronic pain, but were also approved by the FDA for such uses.

         150. Purdue also unlawfully and unfairly failed to report or address illicit

   and unlawful prescribing of its drugs, despite knowing about it for years. Purdue’s

   sales representatives have maintained a database since 2002 of doctors suspected

   of inappropriately prescribing its drugs. Rather than report these doctors to state

   medical boards or law enforcement authorities (as Purdue is legally obligated to

   do) or cease marketing to them, Purdue used the list to demonstrate the high rate of

   diversion of OxyContin – the same OxyContin that Purdue had promoted as less

   addictive – in order to persuade the FDA to bar the manufacture and sale of generic


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   copies of the drug because the drug was too likely to be abused. In an interview

   with the Los Angeles Times, Purdue’s senior compliance officer acknowledged

   that in five (5) years of investigating suspicious pharmacies, Purdue failed to take

   action – even where Purdue employees personally witnessed the diversion of its

   drugs. The same was true of prescribers; despite its knowledge of illegal

   prescribing, Purdue did not report that a Los Angeles clinic prescribed more than

   1.1 million OxyContin tablets and that Purdue’s district manager described it

   internally as “an organized drug ring” until years after law enforcement shut it

   down. In doing so, Purdue protected its own profits at the expense of public health

   and safety.103

           151. Like Purdue, Endo has been cited for its failure to set up an effective

   system for identifying and reporting suspicious prescribing. In its settlement

   agreement with Endo, the State of New York found that Endo failed to require

   sales representatives to report signs of abuse, diversion and inappropriate

   prescribing; paid bonuses to sales representatives for detailing prescribers who

   were subsequently arrested or convicted for illegal prescribing; and failed to

   prevent sales representatives from visiting prescribers whose suspicious conduct

   had caused them to be placed on a no-call list.



   103
       Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
   the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.

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                               3. The Manufacturer Defendants Targeted Susceptible Prescribers
                               and Vulnerable Patient Populations.

              152. As a part of their deceptive marketing scheme, the Manufacturer

   Defendants identified and targeted susceptible prescribers and vulnerable patient

   populations in the U.S., including this State and Plaintiff’s Community. For

   example, the Manufacturer Defendants focused their deceptive marketing on

   primary care doctors, who were more likely to treat chronic pain patients and

   prescribe them drugs, but were less likely to be educated about treating pain and

   the risks and benefits of opioids and therefore more likely to accept the

   Manufacturer Defendants’ misrepresentations.

              153. The Manufacturer Defendants also targeted vulnerable patient

   populations like the elderly and veterans, who tend to suffer from chronic pain.

   The Manufacturer Defendants targeted these vulnerable patients, even though the

   risks of long-term opioid use were significantly greater for them. For example, the

   2016 CDC Guideline observes that existing evidence confirms that elderly patients

   taking opioids suffer from elevated fall and fracture risks, reduced renal function

   and medication clearance and a smaller window between safe and unsafe

   dosages.104 The 2016 CDC Guideline concludes that there must be “additional

   caution and increased monitoring” to minimize the risks of opioid use in elderly

   patients. Id. at 27. The same is true for veterans, who are more likely to use anti-

   104
         2016 CDC Guideline, at 13.

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   anxiety drugs (benzodiazepines) for post-traumatic stress disorder, which interact

   dangerously with opioids.

                       4. The Manufacturer Defendants Made Materially Deceptive
                       Statements and Concealed Material Facts.

         154. As alleged herein, the Manufacturer Defendants made and/or

    disseminated deceptive statements regarding material facts and further concealed

    material facts in the course of manufacturing, marketing and selling prescription

    opioids. The Manufacturer Defendants’ actions were intentional and/or unlawful.

    Such statements include, but are not limited to, those set out below and alleged

    throughout this Complaint.

         155. Defendant Purdue made and/or disseminated deceptive statements and

    concealed material facts in such a way to make their statements deceptive,

    including, but not limited to, the following:

                a. Creating, sponsoring and assisting in the distribution of patient

                   education materials distributed to consumers that contained

                   deceptive statements;

                b. Creating    and   disseminating   advertisements    that   contained

                   deceptive statements concerning the ability of opioids to improve

                   function long-term and concerning the evidence supporting the

                   efficacy of opioids long-term for the treatment of chronic non-

                   cancer pain;

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              c. Disseminating misleading statements concealing the true risk of

                 addiction and promoting the deceptive concept of pseudoaddiction

                 through Purdue’s own unbranded publications and on internet sites

                 Purdue operated that were marketed to and accessible by

                 consumers;

              d. Distributing brochures to doctors, patients and law enforcement

                 officials that included deceptive statements concerning the

                 indicators of possible opioid abuse;

              e. Sponsoring, directly distributing and assisting in the distribution of

                 publications     that   promoted    the    deceptive     concept     of

                 pseudoaddiction, even for high-risk patients;

              f. Endorsing, directly distributing and assisting in the distribution of

                 publications that presented an unbalanced treatment of the long-

                 term and dose-dependent risks of opioids versus NSAIDs;

              g. Providing significant financial support to pro-opioid KOL doctors

                 who made deceptive statements concerning the use of opioids to

                 treat chronic non-cancer pain;

              h. Providing      needed   financial   support     to   pro-opioid    pain

                 organizations that made deceptive statements, including in patient




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                 education materials, concerning the use of opioids to treat chronic

                 non-cancer pain;

              i. Assisting in the distribution of guidelines that contained deceptive

                 statements concerning the use of opioids to treat chronic non-

                 cancer pain and misrepresented the risks of opioid addiction;

              j. Endorsing and assisting in the distribution of CMEs containing

                 deceptive statements concerning the use of opioids to treat chronic

                 non-cancer pain;

              k. Developing and disseminating scientific studies that misleadingly

                 concluded opioids are safe and effective for the long-term

                 treatment of chronic non-cancer pain and that opioids improve

                 quality of life, while concealing contrary data;

              l. Assisting in the dissemination of literature written by pro-opioid

                 KOLs that contained deceptive statements concerning the use of

                 opioids to treat chronic non-cancer pain;

              m. Creating, endorsing and supporting the distribution of patient and

                 prescriber education materials that misrepresented the data

                 regarding the safety and efficacy of opioids for the long-term

                 treatment of chronic non-cancer pain, including known rates of




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                 abuse and addiction and the lack of validation for long-term

                 efficacy;

              n. Targeting veterans by sponsoring and disseminating patient

                 education marketing materials that contained deceptive statements

                 concerning the use of opioids to treat chronic non-cancer pain;

              o. Targeting the elderly by assisting in the distribution of guidelines

                 that contained deceptive statements concerning the use of opioids

                 to treat chronic non-cancer pain and misrepresented the risks of

                 opioid addiction in this population;

              p. Exclusively disseminating misleading statements in education

                 materials to hospital doctors and staff, while purportedly educating

                 them on new pain standards;

              q. Making deceptive statements concerning the use of opioids to treat

                 chronic non-cancer pain to prescribers through in-person detailing;

                 and

              r. Withholding from law enforcement the names of prescribers

                 Purdue believed to be facilitating the diversion of its opioids, while

                 simultaneously    marketing       opioids   to    these   doctors   by

                 disseminating    patient    and    prescriber    education   materials,




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                   advertisements and CMEs they knew would reach these same

                   prescribers.

         156. Defendant Endo made and/or disseminated deceptive statements and

    concealed material facts in such a way to make their statements deceptive,

    including, but not limited to, the following:

                a. Creating, sponsoring and assisting in the distribution of patient

                    education materials that contained deceptive statements;

                b. Creating and disseminating advertisements that contained

                    deceptive statements concerning the ability of opioids to improve

                    function long-term and concerning the evidence supporting the

                    efficacy of opioids long-term for the treatment of chronic non-

                    cancer pain;

                c. Creating and disseminating paid advertisement supplements in

                    academic journals promoting chronic opioid therapy as safe and

                    effective for long term use for high risk patients;

                d. Creating and disseminating advertisements that falsely and

                    inaccurately conveyed the impression that Endo’s opioids would

                    provide a reduction in oral, intranasal or intravenous abuse;

                e. Disseminating misleading statements concealing the true risk of

                    addiction      and   promoting    the    misleading   concept   of


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                   pseudoaddiction through Endo’s own unbranded publications and

                   on internet sites Endo sponsored or operated;

              f.   Endorsing, directly distributing and assisting in the distribution of

                   publications that presented an unbalanced treatment of the long-

                   term and dose-dependent risks of opioids versus NSAIDs;

              g. Providing significant financial support to pro-opioid KOLs, who

                   made deceptive statements concerning the use of opioids to treat

                   chronic non-cancer pain;

              h. Providing        needed   financial   support   to   pro-opioid   pain

                   organizations – including over $5 million to the organization

                   responsible for many of the most egregious misrepresentations –

                   that made deceptive statements, including in patient education

                   materials, concerning the use of opioids to treat chronic non-

                   cancer pain;

              i.   Targeting the elderly by assisting in the distribution of guidelines

                   that contained deceptive statements concerning the use of opioids

                   to treat chronic non-cancer pain and misrepresented the risks of

                   opioid addiction in this population;




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              j.   Endorsing and assisting in the distribution of CMEs containing

                   deceptive statements concerning the use of opioids to treat chronic

                   non-cancer pain;

              k. Developing and disseminating scientific studies that deceptively

                   concluded opioids are safe and effective for the long-term

                   treatment of chronic non-cancer pain and that opioids improve

                   quality of life, while concealing contrary data;

              l.   Directly distributing and assisting in the dissemination of

                   literature written by pro-opioid KOLs that contained deceptive

                   statements concerning the use of opioids to treat chronic non-

                   cancer pain, including the concept of pseudoaddiction;

              m. Creating, endorsing and supporting the distribution of patient and

                   prescriber education materials that misrepresented the data

                   regarding the safety and efficacy of opioids for the long-term

                   treatment of chronic non-cancer pain, including known rates of

                   abuse and addiction and the lack of validation for long-term

                   efficacy; and

              n. Making deceptive statements concerning the use of opioids to

                   treat chronic non-cancer pain to prescribers through in-person

                   detailing.


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         157. Defendant Janssen made and/or disseminated deceptive statements and

    concealed material facts in such a way to make their statements deceptive,

    including, but not limited to, the following:

                a. Creating, sponsoring and assisting in the distribution of patient

                   education materials that contained deceptive statements;

                b. Directly disseminating deceptive statements through internet sites,

                   over which Janssen exercised final editorial control and approval,

                   stating that opioids are safe and effective for the long-term

                   treatment of chronic non-cancer pain and that opioids improve

                   quality of life, while concealing contrary data;

                c. Disseminating deceptive statements concealing the true risk of

                   addiction and promoting the deceptive concept of pseudoaddiction

                   through internet sites, over which Janssen exercised final editorial

                   control and approval;

                d. Promoting opioids for the treatment of conditions for which

                   Janssen knew, due to the scientific studies it conducted, that

                   opioids were not efficacious and concealing this information;

                e. Sponsoring, directly distributing and assisting in the dissemination

                   of patient education publications over which Janssen exercised

                   final editorial control and approval, which presented an unbalanced


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                 treatment of the long-term and dose dependent risks of opioids

                 versus NSAIDs;

              f. Providing significant financial support to pro-opioid KOLs, who

                 made deceptive statements concerning the use of opioids to treat

                 chronic non-cancer pain;

              g. Providing   necessary    financial support    to pro-opioid    pain

                 organizations that made deceptive statements, including in patient

                 education materials, concerning the use of opioids to treat chronic

                 non-cancer pain;

              h. Targeting the elderly by assisting in the distribution of guidelines

                 that contained deceptive statements concerning the use of opioids

                 to treat chronic non-cancer pain and misrepresented the risks of

                 opioid addiction in this population;

              i. Targeting the elderly by sponsoring, directly distributing and

                 assisting in the dissemination of patient education publications

                 targeting this population that contained deceptive statements about

                 the risks of addiction and the adverse effects of opioids and made

                 false statements that opioids are safe and effective for the long-

                 term treatment of chronic non-cancer pain and improve quality of

                 life, while concealing contrary data;


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              j. Endorsing and assisting in the distribution of CMEs containing

                 deceptive statements concerning the use of opioids to treat chronic

                 non-cancer pain;

              k. Directly distributing and assisting in the dissemination of literature

                 written by pro-opioid KOLs that contained deceptive statements

                 concerning the use of opioids to treat chronic non-cancer pain,

                 including the concept of pseudoaddiction;

              l. Creating, endorsing and supporting the distribution of patient and

                 prescriber education materials that misrepresented the data

                 regarding the safety and efficacy of opioids for the long-term

                 treatment of chronic non-cancer pain, including known rates of

                 abuse and addiction and the lack of validation for long-term

                 efficacy;

              m. Targeting veterans by sponsoring and disseminating patient

                 education marketing materials that contained deceptive statements

                 concerning the use of opioids to treat chronic non-cancer pain; and

              n. Making deceptive statements concerning the use of opioids to treat

                 chronic non-cancer pain to prescribers through in-person detailing.




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         158. Defendant Cephalon made and/or disseminated untrue, false and

    deceptive statements and concealed material facts in such a way to make their

    statements deceptive, including, but not limited to, the following:

                a. Creating, sponsoring and assisting in the distribution of patient

                   education materials that contained deceptive statements;

                b. Sponsoring and assisting in the distribution of publications that

                   promoted the deceptive concept of pseudoaddiction, even for high-

                   risk patients;

                c. Providing significant financial support to pro-opioid KOL doctors

                   who made deceptive statements concerning the use of opioids to

                   treat chronic non-cancer pain and breakthrough chronic non-cancer

                   pain;

                d. Developing and disseminating scientific studies that deceptively

                   concluded opioids are safe and effective for the long-term

                   treatment of chronic non-cancer pain in conjunction with

                   Cephalon’s potent rapid-onset opioids;

                e. Providing    needed     financial   support   to   pro-opioid   pain

                   organizations that made deceptive statements, including in patient

                   education materials, concerning the use of opioids to treat chronic

                   non-cancer pain;


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                f. Endorsing and assisting in the distribution of CMEs containing

                   deceptive statements concerning the use of opioids to treat chronic

                   non-cancer pain;

                g. Endorsing and assisting in the distribution of CMEs containing

                   deceptive statements concerning the use of Cephalon’s rapid-onset

                   opioids;

                h. Directing its marketing of Cephalon’s rapid-onset opioids to a

                   wide    range    of   doctors,   including   general     practitioners,

                   neurologists,    sports    medicine   specialists      and   workers’

                   compensation programs, serving chronic pain patients;

                i. Making deceptive statements concerning the use of Cephalon’s

                   opioids to treat chronic non-cancer pain to prescribers through in-

                   person detailing and speakers’ bureau events, when such uses are

                   unapproved and unsafe; and

                j. Making deceptive statements concerning the use of opioids to treat

                   chronic non-cancer pain to prescribers through in-person detailing

                   and speakers’ bureau events.

         159. Defendant Actavis made and/or disseminated deceptive statements and

    concealed material facts in such a way to make their statements deceptive,

    including, but not limited to, the following:


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                a. Making deceptive statements concerning the use of opioids to treat

                   chronic non-cancer pain to prescribers through in-person detailing;

                b. Creating      and   disseminating    advertisements   that   contained

                   deceptive statements that opioids are safe and effective for the

                   long-term treatment of chronic non-cancer pain and that opioids

                   improve quality of life;

                c. Creating and disseminating advertisements that concealed the risk

                   of addiction in the long-term treatment of chronic, non-cancer

                   pain; and

                d. Developing and disseminating scientific studies that deceptively

                   concluded opioids are safe and effective for the long-term

                   treatment of chronic non-cancer pain and that opioids improve

                   quality of life while concealing contrary data.

         160. Defendant       Mallinckrodt    made     and/or   disseminated    deceptive

    statements, including, but not limited to, the following:

             a. Creating, sponsoring, and assisting in the distribution of patient

                education materials that contained deceptive statements;

             b. Sponsoring and assisting in the distribution of publications that

                promoted the deceptive concept of pseudoaddiction, even for high-

                risk patients;


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            c. Providing significant financial support to pro-opioid KOL doctors

                who made deceptive statements concerning the use of opioids to treat

                chronic non-cancer pain and breakthrough chronic non-cancer pain;

                and

            d. Providing needed financial support to pro-opioid pain organizations

                that made deceptive statements, including in patient education

                materials, concerning the use of opioids to treat chronic non-cancer

                pain.

                        5. The Manufacturer Defendants Fraudulently Concealed Their
                        Misconduct.

         161. The Manufacturer Defendants, both individually and collectively,

   made, promoted and profited from their misrepresentations about the risks and

   benefits of opioids for chronic pain, even though they knew that their

   misrepresentations were false and deceptive. The history of opioids, as well as

   research and clinical experience, establish that opioids are highly addictive and are

   responsible for a long list of very serious adverse outcomes. The FDA warned

   Defendants of this, and Defendants had access to scientific studies, detailed

   prescription data and reports of adverse events, including reports of addiction,

   hospitalization and death – all of which clearly described the harm from long-term

   opioid use and that patients were suffering from addiction, overdose and death in

   alarming numbers. More recently, the FDA and CDC have issued pronouncements,

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   based on medical evidence, that conclusively expose the falsity of Defendants’

   misrepresentations, and Endo and Purdue have recently entered agreements in New

   York prohibiting them from making some of the same misrepresentations

   described in this Complaint.

         162. At all times relevant to this Complaint, the Manufacturer Defendants

   took steps to avoid detection of and to fraudulently conceal their deceptive

   marketing and unlawful, unfair and fraudulent conduct. For example, the

   Manufacturer Defendants disguised their role in the deceptive marketing of chronic

   opioid therapy by funding and working through third parties like Front Groups and

   KOLs. The Manufacturer Defendants purposefully hid behind the assumed

   credibility of these individuals and organizations and relied on them to vouch for

   the accuracy and integrity of the Manufacturer Defendants’ false and deceptive

   statements about the risks and benefits of long-term opioid use for chronic pain.

   Defendants also never disclosed their role in shaping, editing and approving the

   content of information and materials disseminated by these third parties. The

   Manufacturer Defendants exerted considerable influence on these promotional and

   “educational” materials in emails, correspondence and meetings with KOLs, Front

   Groups and public relations companies that were not, and have not yet become,

   public. For example, PainKnowledge.org, which the NIPC runs, did not disclose




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   Endo’s involvement. Other Manufacturer Defendants, such as Purdue and Janssen,

   ran similar websites that masked their own role.

         163. Finally, the Manufacturer Defendants manipulated their promotional

   materials and the scientific literature to make it appear that these documents were

   accurate, truthful and supported by objective evidence when they were not. The

   Manufacturer Defendants distorted the meaning or import of studies they cited and

   offered them as evidence for propositions the studies did not support. The

   Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

   unsuspecting medical community. The Manufacturer Defendants provided the

   medical community with false and misleading information about ineffectual

   strategies to avoid or control opioid addiction. The Manufacturer Defendants

   recommended to the medical community that dosages be increased, without

   disclosing the risks. The Manufacturer Defendants spent millions of dollars over a

   period of years on a misinformation campaign aimed at highlighting opioids’

   alleged benefits, disguising the risks and promoting sales. The lack of support for

   the Manufacturer Defendants’ deceptive messages was not apparent to medical

   professionals who relied upon them in making treatment decisions, nor could the

   Plaintiff or Plaintiff’s Community have detected it. The Plaintiff did not know of

   the existence or scope of the Manufacturer Defendants’ industry-wide fraud and




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   could not have acquired such knowledge earlier through the exercise of reasonable

   diligence.

         164. The lack of support for the Manufacturer Defendants’ deceptive

   messages was not apparent to medical professionals who relied upon them in

   making treatment decisions, nor could Plaintiff or Plaintiff’s Community have

   detected it. Thus, the Manufacturer Defendants successfully concealed from the

   medical community, patients and health care payors facts sufficient to arouse

   suspicion of the claims that the Plaintiff now asserts. Plaintiff did not know of the

   existence or scope of the Manufacturer Defendants’ industry-wide fraud and could

   not have acquired such knowledge earlier through the exercise of reasonable

   diligence.

                   C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL
                   DISTRIBUTION OF OPIOIDS.

         165. The Distributor Defendants owe a duty under both federal law and

   State law to monitor, detect, investigate, refuse to fill, and report suspicious orders

   of prescription opioids originating from Plaintiff’s Community, as well as those

   orders which the Distributor Defendants knew or should have known were likely to

   be diverted into Plaintiff’s Community.

         166. The foreseeable harm from a breach of these duties is the diversion of

   prescription opioids for nonmedical purposes.



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         167. Each Distributor Defendant repeatedly and purposefully breached its

   duties under state and federal law. Such breaches are direct and proximate causes

   of the widespread diversion of prescription opioids for nonmedical purposes into

   Plaintiff’s Community.

         168. The unlawful diversion of prescription opioids is a direct and proximate

   cause and/or substantial contributing factor to the opioid epidemic, prescription

   opioid abuse, addiction, morbidity and mortality in the State and in Plaintiff’s

   Community. This diversion and the epidemic are direct causes of harms for which

   Plaintiff seeks to recover here.

         169. The opioid epidemic in the State, including, inter alia, in Plaintiff’s

   Community, remains an immediate hazard to public health and safety.

         170. The opioid epidemic in Plaintiff’s Community is a temporary and

   continuous public nuisance and remains unabated.

         171. The Distributor Defendants intentionally continued their conduct, as

   alleged herein, with knowledge that such conduct was creating the opioid nuisance

   and causing the harms and damages alleged herein.

                       1. Wholesale Drug Distributors Have a Duty Under State and Federal
                       Law to Guard Against and Report Unlawful Diversion and to Report
                       and Prevent Suspicious Orders.

        172. Opioids are a controlled substance, and Florida law categorizes them

   as having a “high potential for abuse.” F.S.A. § 893.03; 21 U.S.C.A. §§ 812(b),


                                             98
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   812(2)(A)-(C). These drugs may lead to “severe psychological or physical

   dependence.” F.S.A. § 893.03.

        173. Florida law required each manufacturer and distributor of prescription

   opioids, including Defendants, to first be registered with and/or permitted by the

   State. Florida law predicate such registration for both manufacturers and

   distributors upon compliance with applicable law. See F.S.A. §§ 499.01; 499.012.

   Criteria for permitting includes whether the manufacturer or distributor is

   operating in a manner “relevant to and consistent with the public health and safety”

   and whether “manufacturing or distributing prescription drugs indicates that the

   applicant poses a public health risk.” F.S.A. § 499.012

        174. Furthermore, Florida law incorporates federal requirements set out

   under the Controlled Substance Act and related controlled substance laws and

   regulations. See e.g. F.S.A. § 499.012; 499.0121.

        175. The federal Controlled Substance Act further required each Distributor

   Defendant to register with the DEA. See 21 U.S.C. § 823(b), (e) and 28 C.F.R. §

   0.100. Each Distributor Defendant is a “registrant” as a wholesale distributor in the

   chain of distribution of Schedule II controlled substances with a duty to comply

   with all security requirements imposed under that statutory scheme. Florida law

   adopts and incorporates those requirements.




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        176. Each Distributor Defendant has an affirmative duty under federal and

   Florida law to act as a gatekeeper guarding against the diversion of the highly

   addictive, dangerous opioid drugs. Federal law requires that Distributors of

   Schedule II drugs, including opioids, must maintain “effective control against

   diversion of particular controlled substances into other than legitimate medical,

   scientific, and industrial channels.” 21 U.S.C. § 823(b)(1). Florida law adopts and

   incorporates those requirements. See e.g. F.S.A. § 499.012; 499.0121.

        177. Federal regulations, incorporated by Florida law, impose a non-

   delegable duty upon wholesale drug distributors to “design and operate a system to

   disclose to the registrant suspicious orders of controlled substances. The registrant

   [distributor] shall inform the Field Division Office of the Administration in his

   area of suspicious orders when discovered by the registrant. Suspicious orders

   include orders of unusual size, orders deviating substantially from a normal

   pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

         178. “Suspicious orders” include orders of an unusual size, orders of

   unusual frequency or orders deviating substantially from a normal pattern. See 21

   CFR § 1301.74(b). These criteria are disjunctive and are not all inclusive. For

   example, if an order deviates substantially from a normal pattern, the size of the

   order does not matter and the distributor should report the order as suspicious.

   Likewise, a wholesale distributor need not wait for a normal pattern to develop


                                           100
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   over time before determining whether a particular order is suspicious. The size of

   an order alone, regardless of whether it deviates from a normal pattern, is enough

   to trigger the wholesale distributor’s responsibility to report the order as

   suspicious. The determination of whether an order is suspicious depends not only

   on the ordering patterns of the particular customer, but also on the patterns of the

   entirety of the wholesale distributor’s customer base and the patterns throughout

   the relevant segment of the wholesale distributor industry.

        179. Florida law further mandates that all wholesale distributors “must take

   reasonable measures to identify its customers, understand the normal and expected

   transactions conducted by those customers, and identify those transactions that are

   suspicious in nature.” F.S.A. § 499.028

        180. In addition to reporting all suspicious orders, distributors must also stop

   shipment on any order which is flagged as suspicious and only ship orders that

   were flagged as potentially suspicious if, after conducting due diligence, the

   distributor can determine that the order is not likely to be diverted into illegal

   channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t

   Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

   Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, distributors

   must report all flagged orders. Id.




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            181. The law regulates these prescription drugs for the purpose of providing

   a “closed” system intended to reduce the widespread diversion of these drugs

   out of legitimate channels into the illicit market, while at the same time

   providing the legitimate drug industry with a unified approach to narcotic and

   dangerous drug control.105

            182. Different entities supervise the discrete links in the chain that separate a

   consumer from a controlled substance. Statutes and regulations define each

   participant’s role and responsibilities.106

            183. As the DEA advised the Distributor Defendants in a letter to them

   dated September 27, 2006, wholesale distributors are “one of the key components

   of the distribution chain. If the closed system is to function properly … distributors

   must be vigilant in deciding whether a prospective customer can be trusted to

   deliver controlled substances only for lawful purposes. This responsibility is




   105
         See 1970 U.S.C.C.A.N. 4566, 4571-72.
   106
       Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
   Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
   Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
   Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
   national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
   whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
   McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
   21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
   that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
   includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
   NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).

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   critical, as … the illegal distribution of controlled substances has a substantial and

   detrimental effect on the health and general welfare of the American people.”107

              184. The Distributor Defendants have admitted that they are responsible for

   reporting suspicious orders.108

              185. The DEA sent a letter to each of the Distributor Defendants on

   September 27, 2006, warning that it would use its authority to revoke and suspend

   registrations when appropriate. The letter expressly states that a distributor, in

   addition to reporting suspicious orders, has a “statutory responsibility to exercise

   due diligence to avoid filling suspicious orders that might be diverted into other

   than legitimate medical, scientific, and industrial channels.”109 The letter also

   instructs that “distributors must be vigilant in deciding whether a prospective

   customer can be trusted to deliver controlled substances only for lawful

   purposes.”110 The DEA warns that “even just one distributor that uses its DEA

   registration to facilitate diversion can cause enormous harm.”111


   107
         See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
   Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is
   being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
   distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
   distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
   Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
   108
       See Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40
   years require distributors to report suspicious orders of controlled substances to DEA based on information readily
   available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
   109
         Rannazzisi Letter, at 2.
   110
         Id. at 1.
   111
         Id. at 2.

                                                             103
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               186. The DEA sent a second letter to each of the Distributor Defendants on

   December 27, 2007.112 This letter reminds the Defendants of their statutory and

   regulatory duties to “maintain effective controls against diversion” and “design and

   operate a system to disclose to the registrant suspicious orders of controlled

   substances.”113 The letter further explains:

               The regulation also requires that the registrant inform the local DEA
               Division Office of suspicious orders when discovered by the
               registrant. Filing a monthly report of completed transactions (e.g.,
               “excessive purchase report” or “high unity purchases”) does not meet
               the regulatory requirement to report suspicious orders. Registrants are
               reminded that their responsibility does not end merely with the filing
               of a suspicious order report. Registrants must conduct an independent
               analysis of suspicious orders prior to completing a sale to determine
               whether the controlled substances are likely to be diverted from
               legitimate channels. Reporting an order as suspicious will not absolve
               the registrant of responsibility if the registrant knew, or should have
               known, that the controlled substances were being diverted.

               The regulation specifically states that suspicious orders include orders
               of unusual size, orders deviating substantially from a normal pattern,
               and orders of an unusual frequency. These criteria are disjunctive and
               are not all inclusive. For example, if an order deviates substantially
               from a normal pattern, the size of the order does not matter and the
               order should be reported as suspicious. Likewise, a registrant need not
               wait for a “normal pattern” to develop over time before determining
               whether a particular order is suspicious. The size of an order alone,
               whether or not it deviates from a normal pattern, is enough to trigger
               the registrant’s responsibility to report the order as suspicious. The
               determination of whether an order is suspicious depends not only on
               the ordering patterns of the particular customer, but also on the

   112
      See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
   U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
   00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
   113
         Id.

                                                         104
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               patterns of the registrant’s customer base and the patterns throughout
               the segment of the regulated industry.

               Registrants that rely on rigid formulas to define whether an order is
               suspicious may be failing to detect suspicious orders. For example, a
               system that identifies orders as suspicious only if the total amount of a
               controlled substance ordered during one month exceeds the amount
               ordered the previous month by a certain percentage or more is
               insufficient. This system fails to identify orders placed by a pharmacy
               if the pharmacy placed unusually large orders from the beginning of
               its relationship with the distributor. Also, this system would not
               identify orders as suspicious if the order were solely for one highly
               abused controlled substance if the orders never grew substantially.
               Nevertheless, ordering one highly abused controlled substance and
               little or nothing else deviates from the normal pattern of what
               pharmacies generally order.

               When reporting an order as suspicious, registrants must be clear in
               their communication with DEA that the registrant is actually
               characterizing an order as suspicious. Daily, weekly, or monthly
               reports submitted by registrant indicating “excessive purchases” do
               not comply with the requirement to report suspicious orders, even if
               the registrant calls such reports “suspicious order reports.”
               Lastly, registrants that routinely report suspicious orders, yet fill these
               orders without first determining that order is not being diverted into
               other than legitimate medical, scientific, and industrial channels, may
               be failing to maintain effective controls against diversion. Failure to
               maintain effective controls against diversion is inconsistent with the
               public interest as that term is used in 21 USC 823 and 824, and may
               result in the revocation of the registrant’s DEA Certificate of
               Registration.114

               Finally, the DEA letter references the Revocation of Registration issued in

   Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which




   114
         Id.

                                                  105
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   discusses the obligation to report suspicious orders and “some criteria to use when

   determining whether an order is suspicious.”115

               187. The Distributor Defendants admit that they “have not only statutory

   and regulatory responsibilities to detect and prevent diversion of controlled

   prescription drugs, but undertake such efforts as responsible members of

   society.”116

               188. The Distributor Defendants knew they were required to monitor, detect

   and halt suspicious orders. Industry compliance guidelines established by the

   Healthcare Distribution Management Association, the trade association of

   pharmaceutical distributors, explain that distributors are “[a]t the center of a

   sophisticated supply chain” and therefore “are uniquely situated to perform due

   diligence in order to help support the security of the controlled substances they

   deliver to their customers.” The guidelines set forth recommended steps in the “due

   diligence” process and note in particular: If an order meets or exceeds a

   distributor’s threshold, as defined in the distributor’s monitoring system, or the

   distributor otherwise characterizes it as an order of interest, the distributor should

   not ship to the customer, in fulfillment of that order, any units of the specific drug




   115
         Id.
   116
         See Brief of HDMA, 2012 WL 1637016, at *2.

                                                      106
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   code product as to which the order met or exceeded a threshold or as to which the

   order was otherwise characterized as an order of interest.117

          189. Each of the Distributor Defendants sold prescription opioids, including

   hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to

   retailers from which Defendants knew prescription opioids were likely to be

   diverted to Plaintiff’s Community.

          190. Each Distributor Defendant owes a duty to monitor and detect

   suspicious orders of prescription opioids.

          191. Each Distributor Defendant owes a duty under federal and state law to

   investigate and refuse suspicious orders of prescription opioids.

          192. Each Distributor Defendant owes a duty under federal and state law to

   report suspicious orders of prescription opioids.

          193. Each Distributor Defendant owes a duty under federal and state law to

   prevent the diversion of prescription opioids into illicit markets in the State and

   Plaintiff’s Community.

          194. The foreseeable harm resulting from a breach of these duties is the

   diversion of prescription opioids for nonmedical purposes and subsequent plague

   of opioid addiction.


   117
       Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
   Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
   12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).

                                                         107
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          195. The foreseeable harm resulting from the diversion of prescription

   opioids for nonmedical purposes is abuse, addiction, morbidity and mortality in

   Plaintiff’s Community and the damages caused thereby.

                            2. The Distributor Defendants Breached Their Duties.

           196. Because distributors handle such large volumes of controlled

   substances and are the first major line of defense in the movement of legal

   pharmaceutical controlled substances from legitimate channels into the illicit

   market, it is incumbent on distributors to maintain effective controls to prevent

   diversion of controlled substances. Should a distributor deviate from these checks

   and balances, the closed system collapses.118

           197. The sheer volume of prescription opioids distributed to pharmacies in

   the Plaintiff’s Community and/or to pharmacies from which the Distributor

   Defendants knew the opioids were likely to be diverted into Plaintiff’s Community

   is excessive for the medical need of the community and facially suspicious. Some

   red flags are so obvious that no one who engages in the legitimate distribution of

   controlled substances can reasonably claim ignorance of them.119

           198. The Distributor Defendants failed to report “suspicious orders”

   originating from Plaintiff’s Community or that the Distributor Defendants knew

   118
      See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
   2012), ECF No. 14-2.
   119
      Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
   d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).

                                                       108
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   were likely to be diverted to Plaintiff’s Community to the federal and state

   authorities, including the DEA and/or the state Board of Pharmacy.

         199. The Distributor Defendants unlawfully filled suspicious orders of

   unusual size, orders deviating substantially from a normal pattern and/or orders of

   unusual frequency in Plaintiff’s Community and/or in areas from which the

   Distributor Defendants knew opioids were likely to be diverted to Plaintiff’s

   Community.

         200. The Distributor Defendants breached their duty to monitor, detect,

   investigate, refuse and report suspicious orders of prescription opiates originating

   from Plaintiff’s Community and/or in areas from which the Distributor Defendants

   knew opioids were likely to be diverted to Plaintiff’s Community.

         201. The Distributor Defendants breached their duty to maintain effective

   controls against diversion of prescription opiates into other than legitimate

   medical, scientific and industrial channels.

         202. The Distributor Defendants breached their duty to “design and operate

   a system to disclose to the registrant suspicious orders of controlled substances”

   and failed to inform the authorities including the DEA of suspicious orders when

   discovered, in violation of their duties under federal and state law.




                                            109
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              203. The Distributor Defendants breached their duty to exercise due

   diligence to avoid filling suspicious orders that might be diverted into channels

   other than legitimate medical, scientific and industrial channels.120

              204. The federal and state laws at issue here are public safety laws.

              205. The Distributor Defendants’ violations of public safety statutes

   constitute prima facie evidence of negligence under State law.

              206. The Distributor Defendants supplied prescription opioids to obviously

   suspicious physicians and pharmacies, enabled the illegal diversion of opioids,

   aided criminal activity and disseminated massive quantities of prescription opioids

   into the black market.

              207. The unlawful conduct by the Distributor Defendants is purposeful and

   intentional. The Distributor Defendants refuse to abide by the duties imposed by

   federal and state law, which require Distributor Defendants to legally acquire and

   maintain a license to distribute prescription opiates.

              208. The Distributor Defendants acted with actual malice in breaching their

   duties, i.e., they have acted with a conscious disregard for the rights and safety of

   other persons, and said actions have a great probability of causing substantial

   harm.




   120
         See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

                                                            110
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         209. The Distributor Defendants’ repeated shipments of suspicious orders

   over an extended period of time, in violation of public safety statutes and without

   reporting the suspicious orders to the relevant authorities demonstrate wanton,

   willful or reckless conduct or criminal indifference to civil obligations affecting the

   rights of others and justifies an award of punitive damages.

                       3. The Distributor Defendants Have Sought to Avoid and Have
                       Misrepresented Their Compliance with Their Legal Duties.

         210. The Distributor Defendants have repeatedly misrepresented their

   compliance with their legal duties under state and federal law and have wrongfully

   and repeatedly disavowed those duties in an effort to mislead regulators and the

   public regarding the Distributor Defendants’ compliance with their legal duties.

         211. The Distributor Defendants have refused to recognize any duty beyond

   reporting suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade

   association the Distributor Defendants run, and the NACDS submitted amicus

   briefs regarding the legal duty of wholesale distributors. Inaccurately denying the

   legal duties that the wholesale drug industry has been tragically recalcitrant in

   performing, they argued as follows:

                a. The Associations complained that the “DEA has required

                   distributors not only to report suspicious orders, but to investigate




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                            orders (e.g., by interrogating pharmacies and physicians) and take

                            action to halt suspicious orders before they are filled.”121

                        b. The Associations argued that, “DEA now appears to have changed

                            its position to require that distributors not only report suspicious

                            orders, but investigate and halt suspicious orders. Such a change in

                            agency position must be accompanied by an acknowledgment of

                            the change and a reasoned explanation for it. In other words, an

                            agency must display awareness that it is changing position and

                            show that there are good reasons for the new policy. This is

                            especially important here, because imposing intrusive obligation

                            on distributors threatens to disrupt patient access to needed

                            prescription medications.”122

                        c. The Associations alleged (inaccurately) that nothing “requires

                            distributors to investigate the legitimacy of orders, or to halt

                            shipment of any orders deemed to be suspicious.”123

                        d. The Association complained that the purported “practical

                            infeasibility of requiring distributors to investigate and halt

                            suspicious orders (as well as report them) underscores the

   121
         Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
   122
         Id. at *8 (citations and quotation marks omitted).
   123
         Id. at *14.

                                                              112
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                             importance of ensuring that DEA has complied with the APA

                             before attempting to impose such duties.”124

                          e. The Associations alleged (inaccurately) that “DEA’s regulations []

                             sensibly impose[] a duty on distributors simply to report

                             suspicious orders, but left it to DEA and its agents to investigate

                             and halt suspicious orders.”125

               212. Also inaccurately, the Associations argued that, “[i]mposing a duty on

   distributors – which lack the patient information and the necessary medical

   expertise – to investigate and halt orders may force distributors to take a shot-in-

   the-dark approach to complying with DEA’s demands.”126

               213. The positions taken by the trade groups is emblematic of the position

   taken by the Distributor Defendants in a futile attempt to deny their legal

   obligations to prevent diversion of the dangerous drugs.127

               214. The Court of Appeals for the District of Columbia recently issued its

   opinion affirming that a wholesale drug distributor does, in fact, have duties

   beyond reporting. Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C.

   Cir. 2017). The D.C. Circuit Court upheld the revocation of Master

   124
         Id. at *22.
   125
         Id. at *24–25.
   126
         Id. at 26.
   127
       See Brief of HDMA, supra, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know
   the rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).

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   Pharmaceutical’s license and determined that DEA regulations require that, in

   addition to reporting suspicious orders, distributors must “decline to ship the order,

   or conduct some ‘due diligence’ and—if it is able to determine that the order is not

   likely to be diverted into illegal channels—ship the order.” Id. at 212. Masters

   Pharmaceutical was in violation of legal requirements because it failed to conduct

   necessary investigations and filled suspicious orders. Id. at 218–19, 226. A

   distributor’s investigation must dispel all the red flags giving rise to suspicious

   circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court

   also rejected the argument made by the HDMA and NACDS (quoted above) that,

   allegedly, the DEA had created or imposed new duties. Id. at 220.

         215. Wholesale Distributor McKesson recently has been forced to

   specifically admit to breaches of its duties to monitor, report and prevent

   suspicious orders. Pursuant to an Administrative Memorandum of Agreement

   (“2017 Agreement”) between McKesson and the DEA in January 2017, McKesson

   admitted that, at various times during the period from January 1, 2009 through the

   effective date of the Agreement (January 17, 2017), it “did not identify or report to

   [the] DEA certain orders placed by certain pharmacies which should have been

   detected by McKesson as suspicious based on the guidance contained in the DEA




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   Letters.”128      Further, the 2017 Agreement specifically finds that McKesson

   “distributed controlled substances to pharmacies even though those McKesson

   Distribution Centers should have known that the pharmacists practicing within

   those pharmacies had failed to fulfill their corresponding responsibility to ensure

   that controlled substances were dispensed pursuant to prescriptions issued for

   legitimate medical purposes by practitioners acting in the usual course of their

   professional practice, as required by 21 C.F.R § 1306.04(a).”129 McKesson

   admitted that, during this time period, it “failed to maintain effective controls

   against diversion of particular controlled substances into other than legitimate

   medical, scientific and industrial channels by sales to certain of its customers in

   violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300

   et seq., at the McKesson Distribution Centers,” including the McKesson

   Distribution Center located in “Washington Courthouse, Ohio.”130 Due to these

   violations, McKesson agreed that its authority to distribute controlled substances

   from the Washington Courthouse, Ohio facility (among other facilities) would be

   partially suspended.131




   128
      See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
   the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
   129
         Id. at 4.
   130
         Id.
   131
         Id. at 6.

                                                      115
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               216. The 2017 Agreement followed a 2008 Settlement Agreement in which

   McKesson also admitted failure to report suspicious orders of controlled

   substances to the DEA.132                     In the 2008 Settlement Agreement, McKesson

   “recognized that it had a duty to monitor its sales of all controlled substances and

   report suspicious orders to DEA,” but had failed to do so.133 The 2017 Agreement

   documents that McKesson continued to breach its admitted duties by “fail[ing] to

   properly monitor its sales of controlled substances and/or report suspicious orders

   to DEA, in accordance with McKesson’s obligations.”134 As a result of these

   violations, McKesson was fined and required to pay to the United States

   $150,000,000.135

               217. Even though McKesson had been sanctioned in 2008 for failure to

   comply with its legal obligations regarding controlling diversion and reporting

   suspicious orders, and even though McKesson had specifically agreed in 2008 that

   it would no longer violate those obligations, McKesson continued to violate the

   laws in contrast to its written agreement not to do so.



   132
         Id. at 4.
   133
         Id.
   134
       Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
   [hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
   Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
   which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
   forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
   135
         See 2017 Settlement Agreement and Release, supra, at 6.

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               218. Because of the Distributor Defendants’ refusal to abide by their legal

   obligations, the DEA has repeatedly taken administrative action to attempt to force

   compliance. For example, in May 2014, the United States Department of Justice,

   Office of the Inspector General, Evaluation and Inspections Divisions reported that

   the DEA issued final decisions in 178 registrant actions between 2008 and 2012.136

   The Office of Administrative Law Judges issued a recommended decision in a total

   of 117 registrant actions before the DEA issued its final decision, including 76

   actions involving orders to show cause and 41 actions involving immediate

   suspension orders.137 These actions include the following:

                     a. On April 24, 2007, the DEA issued an Order to Show Cause and

                        Immediate Suspension Order against the AmerisourceBergen

                        Orlando, Florida distribution center (“Orlando Facility”) alleging

                        failure to maintain effective controls against diversion of

                        controlled substances. On June 22, 2007, AmerisourceBergen

                        entered into a settlement that resulted in the suspension of its DEA

                        registration;

                     b. On November 28, 2007, the DEA issued an Order to Show Cause

                        and Immediate Suspension Order against the Cardinal Health


   136
     Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
   Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
   137
         Id.

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                  Auburn, Washington Distribution Center (“Auburn Facility”) for

                  failure to maintain effective controls against diversion of

                  hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause

                  and Immediate Suspension Order against the Cardinal Health

                  Lakeland, Florida Distribution Center (“Lakeland Facility”) for

                  failure to maintain effective controls against diversion of

                  hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause

                  and Immediate Suspension Order against the Cardinal Health

                  Swedesboro, New Jersey Distribution Center (“Swedesboro

                  Facility”) for failure to maintain effective controls against

                  diversion of hydrocodone;

               e. On January 30, 2008, the DEA issued an Order to Show Cause and

                  Immediate Suspension Order against the Cardinal Health Stafford,

                  Texas Distribution Center (“Stafford Facility”) for failure to

                  maintain effective controls against diversion of hydrocodone;

               f. On May 2, 2008, McKesson Corporation entered into an

                  Administrative Memorandum of Agreement (“2008 MOA”) with

                  the DEA, which provided that McKesson would “maintain a


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                  compliance program designed to detect and prevent the diversion

                  of controlled substances, inform DEA of suspicious orders

                  required by 21 C.F.R. § 1301.74(b), and follow the procedures

                  established by its Controlled Substance Monitoring Program;”

               g. On September 30, 2008, Cardinal Health entered into a Settlement

                  and Release Agreement and Administrative Memorandum of

                  Agreement with the DEA related to its Auburn Facility, Lakeland

                  Facility, Swedesboro Facility and Stafford Facility. The document

                  also referenced allegations by the DEA that Cardinal failed to

                  maintain effective controls against the diversion of controlled

                  substances at its distribution facilities located in McDonough,

                  Georgia (“McDonough Facility”); Valencia, California (“Valencia

                  Facility”); and Denver, Colorado (“Denver Facility”);

               h. On February 2, 2012, the DEA issued an Order to Show Cause and

                  Immediate Suspension Order against the Lakeland Facility for

                  failure to maintain effective controls against diversion of

                  oxycodone;

               i. On December 23, 2016, Cardinal Health agreed to pay a $44

                  million fine to the DEA to resolve the civil penalty portion of the

                  administrative action taken against the Lakeland Facility; and


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               j. On January 5, 2017, McKesson Corporation entered into an

                  Administrative Memorandum Agreement with the DEA wherein it

                  agreed to pay a $150 million civil penalty for violation of the 2008

                  MOA as well as failure to identify and report suspicious orders at

                  its facilities in Aurora, Colorado; Aurora, Illinois; Delran, New

                  Jersey; LaCrosse, Wisconsin; Lakeland, Florida; Landover,

                  Maryland; La Vista, Nebraska; Livonia, Michigan; Livonia,

                  Michigan; Methuan, Massachusetts; Santa Fe Springs, California;

                  Washington Courthouse, Ohio; and West Sacramento, California.

         219. Rather than abide by their non-delegable duties under public safety

   laws, the Distributor Defendants, individually and collectively through trade

   groups in the industry, pressured the U.S. Department of Justice to “halt”

   prosecutions and lobbied Congress to strip the DEA of its ability to immediately

   suspend distributor registrations. The result was a “sharp drop in enforcement

   actions” and the passage of the “Ensuring Patient Access and Effective Drug

   Enforcement Act,” which, ironically, raised the burden for the DEA to revoke a

   distributor’s license from “imminent harm” to “immediate harm” and provided the




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   industry the right to “cure” any violations of law before the DEA can issue a

   suspension order.138

           220. In addition to taking actions to limit regulatory prosecutions and

   suspensions, the Distributor Defendants undertook to fraudulently convince the

   public that they were complying with their legal obligations, including those

   imposed by licensing regulations. Through such statements, the Distributor

   Defendants attempted to assure the public they were working to curb the opioid

   epidemic.

           221. For example, a Cardinal Health executive claimed that it uses

   “advanced analytics” to monitor its supply chain and represented that it was being

   “as effective and efficient as possible in constantly monitoring, identifying, and

   eliminating any outside criminal activity.”139 Given the sales volumes and the

   company’s history of violations, this executive was either not telling the truth or, if

   Cardinal Health had such a system, it ignored the results.



   138
      See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
   Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
   enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
   d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
   DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
   https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
   slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
   Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
   http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
   139
      Lenny Bernstein, et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
   Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
   for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
   8ff7-7b6c1998b7a0_story.html.

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           222. Similarly, Defendant McKesson publicly stated that it has a “best-in-

   class controlled substance monitoring program to help identify suspicious orders”

   and claimed it is “deeply passionate about curbing the opioid epidemic in our

   country.”140 Again, given McKesson’s historical conduct, this statement is either

   false, or the company ignored outputs of the monitoring program.

           223. By misleading the public about the effectiveness of their controlled

   substance monitoring programs, the Distributor Defendants successfully concealed

   the facts sufficient to arouse suspicion of the claims that the Plaintiff now asserts.

   The Plaintiff did not know of the existence or scope of Distributor Defendants’

   industry-wide fraud and could not have acquired such knowledge earlier through

   the exercise of reasonable diligence.

           224. Meanwhile, the opioid epidemic rages unabated in the Nation, the State

   and Plaintiff’s Community.

           225. The epidemic still rages because the fines and suspensions imposed by

   the DEA do not change the conduct of the industry. The distributors, including the

   Distributor Defendants, pay fines as a cost of doing business in an industry that

   generates billions of dollars in annual revenue. They hold multiple DEA




   140
      Scott Higham, et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
   Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
   dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.

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   registration numbers, and when the DEA suspends one facility, they simply ship

   from another facility.

         226. Plaintiff’s racketeering allegations below allege in greater detail the

   wrongful actions and omissions of the Distributor Defendants, which have caused

   the diversion of opioids and have been a substantial contributing factor to and/or

   proximate cause of the opioid crisis.

         227. The Distributor Defendants have abandoned their duties imposed under

   federal and state law, taken advantage of a lack of DEA law enforcement and

   abused the privilege of distributing controlled substances in the State and

   Plaintiff’s Community.

                   D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL
                   FAILURE TO PREVENT DIVERSION AND MONITOR,
                   REPORT AND PREVENT SUSPICIOUS ORDERS.

         228. The same legal duties to prevent diversion and to monitor, report and

   prevent suspicious orders of prescription opioids that were incumbent upon the

   Distributor Defendants were also legally required of the Manufacturer Defendants

   under federal and State law.

         229. Under State and federal law, the Manufacturer Defendants were

   required to comply with substantially the same licensing and permitting

   requirements as the Distributor Defendants and the same rules regarding

   prevention of diversion and reporting suspicious orders, as set out above.


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          230. Like the Distributor Defendants, the Manufacturer Defendants were

   required to register with the DEA to manufacture schedule II controlled substances

   like prescription opioids. See 21 U.S.C. § 823(a). A requirement of such

   registration is the:

          maintenance of effective controls against diversion of particular
          controlled substances and any controlled substance in schedule I or II
          compounded therefrom into other than legitimate medical, scientific,
          research, or industrial channels, by limiting the importation and bulk
          manufacture of such controlled substances to a number of
          establishments which can produce an adequate and uninterrupted
          supply of these substances under adequately competitive conditions
          for legitimate medical, scientific, research, and industrial purposes...

          21 U.S.C. § 823(a)(1).

          231. Additionally, as “registrants” under Section 823, the Manufacturer

   Defendants were also required to monitor, report and prevent suspicious orders of

   controlled substances:

          The registrant shall design and operate a system to disclose to the
          registrant suspicious orders of controlled substances. The registrant
          shall inform the Field Division Office of the Administration in his
          area of suspicious orders when discovered by the registrant.
          Suspicious orders include orders of unusual size, orders deviating
          substantially from a normal pattern, and orders of unusual frequency.

          21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this

   part shall have the definition set forth in section 102 of the Act (21 U.S.C. 802) or

   part 1300 of this chapter.”); 21 C.F.R. § 1300.01 (“Registrant means any person

   who is registered pursuant to either section 303 or section 1008 of the Act (21


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   U.S.C. 823 or 958).”) Like the Distributor Defendants, the Manufacturer

   Defendants breached these duties.

         232. The Manufacturer Defendants had access to and possession of the

   information necessary to monitor, report and prevent suspicious orders and to

   prevent diversion. The Manufacturer Defendants engaged in the practice of paying

   “chargebacks” to opioid distributors. A chargeback is a payment made by a

   manufacturer to a distributor after the distributor sells the manufacturer’s product

   at a price below a specified rate. After a distributor sells a manufacturer’s product

   to a pharmacy, for example, the distributor requests a chargeback from the

   manufacturer and, in exchange for the payment, the distributor identifies to the

   manufacturer the product, volume and the pharmacy to which it sold the product.

   Thus, the Manufacturer Defendants knew – just as the Distributor Defendants

   knew – the volume, frequency and pattern of opioid orders being placed and filled.

   The Manufacturer Defendants built receipt of this information into the payment

   structure for the opioids provided to the opioid distributors.

         233. Federal statutes and regulations – and State law incorporating those

   requirements – are clear: just like opioid distributors, the law requires opioid

   manufacturers to “design and operate a system to disclose . . . suspicious orders of

   controlled substances” and to maintain “effective controls against diversion.” 21

   C.F.R. § 1301.74; 21 U.S.C. § 823(a)(1).


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               234. The Department of Justice recently has confirmed the suspicious order

   obligations clearly imposed by federal law upon opioid manufacturers, fining

   Mallinckrodt $35 million for failure to report suspicious orders of controlled

   substances, including opioids, and for violating recordkeeping requirements.141

               235. In the press release accompanying the settlement, the Department of

   Justice stated: Mallinckrodt “did not meet its obligations to detect and notify DEA

   of suspicious orders of controlled substances such as oxycodone, the abuse of

   which is part of the current opioid epidemic. These suspicious order monitoring

   requirements exist to prevent excessive sales of controlled substances, like

   oxycodone . . . Mallinckrodt’s actions and omissions formed a link in the chain of

   supply that resulted in millions of oxycodone pills being sold on the street. . . .

   Manufacturers and distributors have a crucial responsibility to ensure that

   controlled substances do not get into the wrong hands[.]”142

               236. The settlement resolved, inter alia, government’s allegations that

   “Mallinckrodt failed to design and implement an effective system to detect and

   report ‘suspicious orders’ for controlled substances – orders that are unusual in

   their frequency, size, or other patterns . . . [and] Mallinckrodt supplied distributors,


   141
      See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
   to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
   https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
   orders.
   142
         Id.

                                                         126
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   and the distributors then supplied various U.S. pharmacies and pain clinics, an

   increasingly excessive quantity of oxycodone pills without notifying DEA of these

   suspicious orders.”143

               237. The Memorandum of Agreement Mallinckrodt entered into (“2017

   Mallinckrodt MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a

   responsibility to maintain effective controls against diversion, including a

   requirement that it review and monitor these sales and report suspicious orders to

   DEA.”144

               238. The 2017 Mallinckrodt MOA further details the DEA’s allegations

   regarding Mallinckrodt’s failures to fulfill its legal duties as an opioid

   manufacturer:

                    With respect to its distribution of oxycodone and hydrocodone
                    products, Mallinckrodt’s alleged failure to distribute these
                    controlled substances in a manner authorized by its registration
                    and Mallinckrodt’s alleged failure to operate an effective
                    suspicious order monitoring system and to report suspicious
                    orders to the DEA when discovered as required by and in
                    violation of 21 C.F.R. § 1301.74(b). The above includes, but is
                    not limited to Mallinckrodt’s alleged failure to:

                     i.conduct adequate due diligence of its customers;

                    ii. detect and report to the DEA orders of unusual size and
                        frequency;

   143
         Id.
   144
       Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
   Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
   https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).

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                     iii. detect and report to the DEA orders deviating substantially
                          from normal patterns including, but not limited to, those
                          identified in letters from the DEA Deputy Assistant
                          Administrator, Office of Diversion Control, to registrants
                          dated September 27, 2006 and December 27, 2007:

                               1. orders that resulted in a disproportionate amount of a
                               substance which is most often abused going to a
                               particular geographic region where there was known
                               diversion,

                               2. orders that purchased a disproportionate amount of a
                               substance which is most often abused compared to other
                               products, and

                               3. orders from downstream customers to distributors
                               who were purchasing from multiple different distributors,
                               of which Mallinckrodt was aware;

                      iv.use “chargeback” information from its distributors to
                         evaluate suspicious orders. Chargebacks include downstream
                         purchasing information tied to certain discounts, providing
                         Mallinckrodt with data on buying patterns for Mallinckrodt
                         products; and

                       v.take sufficient action to prevent recurrence of diversion by
                         downstream customers after receiving concrete information
                         of diversion of Mallinckrodt product by those downstream
                         customers.145

              239. Mallinckrodt agreed that its “system to monitor and detect suspicious

    orders did not meet the standards outlined in letters from the DEA Deputy

    Administrator, Office of Diversion Control, to registrants dated September 27,

    2006 and December 27, 2007.” Mallinckrodt further agreed that it “recognizes the
   145
         2017 Mallinckrodt MOA at p. 2-3.

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    importance of the prevention of diversion of the controlled substances they

    manufacture” and would “design and operate a system that meets the requirements

    of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

    information to identify suspicious orders of any Mallinckrodt product. Further,

    Mallinckrodt agrees to notify DEA of any diversion and/or suspicious

    circumstances involving any Mallinckrodt controlled substances that Mallinckrodt

    discovers.”146

               240. Mallinckrodt acknowledged that “[a]s part of their business model

    Mallinckrodt collects transaction information, referred to as chargeback data, from

    their direct customers (distributors). The transaction information contains data

    relating to the direct customer sales of controlled substances to ‘downstream’

    registrants.” Mallinckrodt agreed that, from this data, it would “report to the DEA

    when Mallinckrodt concludes that the chargeback data or other information

    indicates that a downstream registrant poses a risk of diversion.”147

               241. The same duties federal law imposed on Mallinckrodt were imposed

    upon all Manufacturer Defendants.

               242. The same business practices Mallinckrodt utilized regarding “charge

    backs” and receipt and review of data from opioid distributors as to orders of



   146
         Id. at 3-4.
   147
         Id. at p.5.

                                              129
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    opioids were utilized industry-wide among opioid manufacturers and distributors,

    including, upon information and belief, the other Manufacturer Defendants.

         243. Through, inter alia, the chargeback data, the Manufacturer Defendants

    could monitor suspicious orders of opioids.

         244. The Manufacturer Defendants failed to monitor, report and halt

    suspicious orders of opioids as required by federal law.

         245. The Manufacturer Defendants’ failures to monitor, report and halt

    suspicious orders of opioids were intentional and unlawful.

         246. The Manufacturer Defendants have misrepresented their compliance

    with federal and state law.

         247. The Manufacturer Defendants enabled the supply of prescription

    opioids to obviously suspicious physicians and pharmacies, enabled the illegal

    diversion of opioids, aided criminal activity and disseminated massive quantities

    of prescription opioids into the black market.

         248. Plaintiff’s racketeering allegations below allege in greater detail the

    wrongful actions and omissions of the Manufacturer Defendants, which have

    caused the diversion of opioids and have been a substantial contributing factor to

    and/or proximate cause of the opioid crisis.




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           249. The Manufacturer Defendants’ actions and omissions in failing to

    effectively prevent diversion and failing to monitor, report and prevent suspicious

    orders have enabled the unlawful diversion of opioids into Plaintiff’s Community.

                        E. DEFENDANTS’ UNLAWFUL CONDUCT AND
                        BREACHES OF LEGAL DUTIES CAUSED THE HARM
                        ALLEGED HEREIN AND SUBSTANTIAL DAMAGES.

           250. As the Manufacturer Defendants’ efforts to expand the market for

   opioids have increased, so have the rates of prescription and sale of their products

   — and the rates of opioid-related substance abuse, hospitalization and death among

   the people of the State and the Plaintiff’s Community. The Distributor Defendants

   have continued to unlawfully ship these massive quantities of opioids into

   communities like the Plaintiff’s Community, fueling the epidemic.

           251. There is a “parallel relationship between the availability of prescription

   opioid analgesics through legitimate pharmacy channels and the diversion and

   abuse of these drugs and associated adverse outcomes.”148

           252. Opioid analgesics are widely diverted and improperly used, and the

   widespread use of the drugs has resulted in a national epidemic of opioid overdose

   deaths and addictions.149



   148
     See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
   Med. 241 (2015).
   149
       See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
   Strategies, 374 N. Eng. J. Med. 1253 (2016).

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              253. The epidemic is “directly related to the increasingly widespread misuse

   of powerful opioid pain medications.”150

              254. The increased abuse of prescription painkillers, along with growing

   sales, has contributed to a large number of overdoses and deaths.151

              255. As shown above, the opioid epidemic has escalated in Plaintiff’s

   Community with devastating effects: substantial opiate-related substance abuse,

   hospitalization and death that mirrors Defendants’ increased distribution of opiates.

              256. Because of the well-established relationship between the use of

   prescription opiates and the use of non-prescription opioids, like heroin, the

   massive distribution of opioids to Plaintiff’s Community and areas from which

   such opioids are being diverted into Plaintiff’s Community has resulted in the

   Defendant-caused opioid epidemic including heroin addiction, abuse and death.

              257. Prescription opioid abuse, addiction, morbidity and mortality are

   hazards to public health and safety in the State and in Plaintiff’s Community.

              258. Heroin abuse, addiction, morbidity and mortality are hazards to public

   health and safety in the State and in Plaintiff’s Community.

              259. Defendants repeatedly and purposefully breached their duties under

   state and federal law, and such breaches are direct and proximate causes of and/or


   150
      See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
   (2016).
   151
         See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., supra.

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   substantial factors leading to the widespread diversion of prescription opioids for

   nonmedical purposes into the Plaintiff’s Community.

         260. The unlawful diversion of prescription opioids is a direct and proximate

   cause of and/or substantial factor leading to the opioid epidemic, prescription

   opioid abuse, addiction, morbidity and mortality in the State and Plaintiff’s

   Community. This diversion and the epidemic are direct causes of foreseeable

   harms the Plaintiff and Plaintiff’s Community have incurred.

         261. Defendants’ intentional and/or unlawful conduct resulted in direct and

   foreseeable, past and continuing economic damages for which Plaintiff seeks

   relief, as alleged herein. Plaintiff also seeks the means to abate the epidemic

   created by Defendants’ wrongful and/or unlawful conduct.

         262. Plaintiff   seeks   economic     damages   from     the   Defendants   as

   reimbursement for the costs associated with past efforts to eliminate the hazards to

   public health and safety.

         263. Plaintiff seeks economic damages from the Defendants to pay for the

   cost to permanently eliminate the hazards to public health and safety and abate the

   temporary public nuisance.




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           264. To eliminate the hazard to public health and safety and abate the public

   nuisance, a “multifaceted, collaborative public health and law enforcement

   approach is urgently needed.”152

           265. A comprehensive response to this crisis must focus on preventing new

   cases of opioid addiction, identifying opioid-addicted individuals early and

   ensuring access to effective opioid addiction treatment while safely meeting the

   needs of patients experiencing pain.153

           266. These community-based problems require community-based solutions

   that “budgetary constraints at the state and Federal levels” have limited.154

           267. Having profited enormously through the aggressive sale, misleading

   promotion and irresponsible distribution of opiates, Defendants should be required

   to take responsibility for the financial burdens their conduct has inflicted upon the

   Plaintiff and Plaintiff’s Community.

                        F. STATUTES OF LIMITATIONS ARE TOLLED AND
                        DEFENDANTS ARE ESTOPPED FROM ASSERTING
                        STATUTES OF LIMITATIONS AS DEFENSES.




   152
       See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
   Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
   153
      See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
   Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
   drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
   154
      See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
   Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.

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                       1. Continuing Conduct.

         268. Plaintiff contends it continues to suffer harm from Defendants’

   unlawful actions.

         269. Defendants’ continued tortious and unlawful conduct causes a repeated

   or continuous injury. The damages have not occurred all at once, but have

   continued to occur and increase as time progresses. The tort is not completed nor

   have all the damages been incurred until the wrongdoing ceases. Defendants’

   wrongdoing and unlawful activity have not ceased. The public nuisance remains

   unabated. The conduct causing the damages remains unabated.

                       2. Equitable Estoppel.

         270. Defendants are equitably estopped from relying upon a statute of

   limitations defense because they undertook active efforts to deceive Plaintiff and to

   purposefully conceal their unlawful conduct and fraudulently assure the public,

   including the State, the Plaintiff and Plaintiff’s Community, that they were

   undertaking efforts to comply with their obligations under the state and federal

   controlled substances laws, all with the goal of protecting their registered

   manufacturer or distributor status in the State and continuing to generate profits.

   Notwithstanding the allegations set forth above, the Defendants affirmatively

   assured the public, including the State, the Plaintiff and Plaintiff’s Community,

   that they are working to curb the opioid epidemic.


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               271. For example, a Cardinal Health executive claimed that it uses

    “advanced analytics” to monitor its supply chain and assured the public it was

    being “as effective and efficient as possible in constantly monitoring, identifying,

    and eliminating any outside criminal activity.”155

               272. Similarly, McKesson publicly stated that it has a “best-in-class

    controlled substance monitoring program to help identify suspicious orders,” and

    claimed it is “deeply passionate about curbing the opioid epidemic in our

    country.”156

               273. Moreover, in furtherance of their effort to affirmatively conceal their

    conduct and avoid detection, the Distributor Defendants, through their trade

    associations, HDMA and NACDS, filed an amicus brief in Masters

    Pharmaceuticals, which made the following statements:157

                        a. “HDMA and NACDS members not only have statutory and

                             regulatory responsibilities to guard against diversion of controlled

                             prescription drugs, but undertake such efforts as responsible

                             members of society.”




   155
         Bernstein et al., supra.
   156
      Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
   Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
   dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.
   157
         Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.

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               b. “DEA regulations that have been in place for more than 40 years

                  require distributors to report suspicious orders of controlled

                  substances to DEA based on information readily available to them

                  (e.g., a pharmacy’s placement of unusually frequent or large

                  orders).”

               c. “Distributors take seriously their duty to report suspicious orders,

                  utilizing both computer algorithms and human review to detect

                  suspicious orders based on the generalized information that is

                  available to them in the ordering process.”

               d. “A particular order or series of orders can raise red flags because

                  of its unusual size, frequency, or departure from typical patterns

                  with a given pharmacy.”

               e. “Distributors also monitor for and report abnormal behavior by

                  pharmacies placing orders, such as refusing to provide business

                  contact information or insisting on paying in cash.”

         Through the above statements made on their behalf by their trade

   associations and other similar statements assuring their continued compliance with

   their legal obligations, the Distributor Defendants not only acknowledged that they

   understood their obligations under the law, but they further affirmed that their

   conduct was in compliance with those obligations.


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         274. The Distributor Defendants have also concealed and prevented

   discovery of information, including data from the ARCOS database, that will

   confirm their identities and the extent of their wrongful and illegal activities.

         275. The Manufacturer Defendants distorted the meaning or import of

   studies they cited and offered them as evidence for propositions the studies did not

   support. The Manufacturer Defendants invented “pseudoaddiction” and promoted

   it to an unsuspecting medical community. The Manufacturer Defendants provided

   the medical community with false and misleading information about ineffectual

   strategies to avoid or control opioid addiction. The Manufacturer Defendants

   recommended to the medical community that dosages be increased, without

   disclosing the risks. The Manufacturer Defendants spent millions of dollars over a

   period of years on a misinformation campaign aimed at highlighting opioids’

   alleged benefits, disguising the risks and promoting sales. The Manufacturer

   Defendants’ campaign to misrepresent and conceal the truth about the opioid drugs

   that they were aggressively pushing in the State and in Plaintiff’s Community

   deceived the medical community, consumers, the State and Plaintiff’s Community.

         276. Defendants intended that their actions and omissions would be relied

   upon, including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s

   Community did not know and did not have the means to know the truth, due to

   Defendants’ actions and omissions.


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         277. The Plaintiff and Plaintiff’s Community reasonably relied on

   Defendants’ affirmative statements regarding their purported compliance with their

   obligations under the law and consent orders.

                      3. Fraudulent Concealment.

         278. The Plaintiff’s claims are further subject to equitable tolling, stemming

   from Defendants’ knowing and fraudulent concealment of the facts alleged herein.

   As alleged herein, Defendants knew of the wrongful acts set forth above, had

   material information pertinent to their discovery, and concealed them from the

   Plaintiff and Plaintiff’s Community. The Plaintiff did not know, or could not have

   known through the exercise of reasonable diligence, of its causes of action, as a

   result of Defendants’ conduct.

         279. The purposes of the statutes of limitations periods are satisfied because

   Defendants cannot claim prejudice due to a late filing where the Plaintiff filed suit

   promptly upon discovering the facts essential to its claims, described herein, which

   Defendants knowingly concealed.

         280. In light of their statements to the media, in legal filings and in

   settlements, it is clear that Defendants had actual or constructive knowledge that

   their conduct was deceptive, in that they consciously concealed the schemes set

   forth herein.




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         281. Defendants continually and secretly engaged in their scheme to avoid

   compliance with their legal obligations. Only Defendants and their agents knew or

   could have known about Defendants’ unlawful actions because Defendants made

   deliberate efforts to conceal their conduct. As a result of the above, the Plaintiff

   was unable to obtain vital information bearing on its claims absent any fault or lack

   of diligence on its part.

                          VI. LEGAL CAUSES OF ACTION

                                        COUNT I
                                  PUBLIC NUISANCE
                                 (Against All Defendants)

         282. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

         283. Plaintiff alleges that Defendants wrongful and illegal actions have

   created a public nuisance.

         284. Each Defendant is liable for public nuisance because its conduct at

   issue has caused an unreasonable and substantial interference with a right common

   to the general public, which is the proximate cause of and/or a substantial factor

   leading to Plaintiff’s injury. See Restatement Second, Torts § 821B.

         285. Defendants have created a public nuisance under State law.

         286. Plaintiff has standing to bring claims for nuisance due to the opioid

   epidemic affecting and causing harm in Plaintiff’s Community.


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         287. By causing dangerously addictive drugs to flood the community and be

   diverted for illicit purposes, in contravention of federal and State law, each

   Defendant has injuriously affected rights common to the general public,

   specifically including the rights of the people of the Plaintiff’s Community to

   public health, public safety, public peace, public comfort and public convenience.

   The public nuisance caused by the diversion of dangerous drugs has caused

   substantial annoyance, inconvenience and injury to the public.

         288. Each Manufacturing Defendant unreasonably and substantially

   interfered with the public health, safety, peace, comfort and convenience of the

   Plaintiff’s Community by, inter alia, promoting and marketing the use of opioids in

   a misleading and fraudulent manner, and circulating false and misleading

   information concerning their safety and efficacy and/or minimizing or omitting the

   risk of addiction from their use.

         289. By distributing and selling dangerously addictive opioid drugs diverted

   from a legitimate medical, scientific or industrial purpose, Defendants have

   committed a course of conduct that injuriously affects the safety, health and morals

   of the people of the Plaintiff’s Community.

         290. By failing to maintain a closed system that guards against diversion of

   dangerously addictive drugs for illicit purposes, Defendants injuriously affected




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   public rights, including the right to public health, public safety, public peace and

   public comfort of the people of the Plaintiff’s Community.

         291. Plaintiff alleges that Defendants’ wrongful and illegal actions have

   created a public nuisance. Each Defendant is liable for public nuisance because its

   conduct at issue has caused an unreasonable interference with a right common to

   the general public.

         292. The Defendants have intentionally and/or unlawfully created an

   absolute nuisance.

         293. The residents of Plaintiff’s Community have a common right to be free

   from conduct that creates an unreasonable jeopardy to the public health, welfare

   and safety and to be free from conduct that creates a disturbance and reasonable

   apprehension of danger to person and property.

         294. Defendants intentionally, unlawfully and recklessly manufacture,

   market, distribute and sell prescription opioids that Defendants know or reasonably

   should know will be diverted, causing widespread distribution of prescription

   opioids in and/or to Plaintiff’s Community, resulting in addiction and abuse; an

   elevated level of crime, death and injuries to the           residents of Plaintiff’s

   Community; a higher level of fear, discomfort and inconvenience to the residents

   of Plaintiff’s Community; and direct costs to Plaintiff’s Community.




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         295. Defendants have unlawfully and/or intentionally caused and permitted

   dangerous drugs under their control to be diverted such as to injure the Plaintiff’s

   Community and its residents.

         296. Defendants have unlawfully and/or intentionally distributed opioids or

   caused opioids to be distributed without maintaining effective controls against

   diversion. Such conduct is illegal. Defendants’ failures to maintain effective

   controls against diversion include Defendants’ failure to effectively monitor for

   suspicious orders, report suspicious orders and/or stop shipment of suspicious

   orders.

         297. Defendants have caused a significant and unreasonable interference

   with the public health, safety, welfare, peace, comfort, convenience, and ability to

   be free from disturbance and reasonable apprehension of danger to person or

   property.

         298. Defendants’ conduct in illegally distributing and selling prescription

   opioids or causing such opioids to be distributed and sold where Defendants know

   or reasonably should know such opioids will be diverted, possessed, and/or used

   illegally in Plaintiff’s Community is of a continuing nature.

         299. Defendants’ actions have been of a continuing nature and have

   produced a significant effect upon the public’s rights, including the public’s right

   to health and safety.


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         300. A violation of any rule or law controlling the distribution of a drug of

   abuse in Plaintiff’s Community and the State is a public nuisance.

         301. Statute and regulation proscribe Defendants’ distribution of opioids

   while failing to maintain effective controls against diversion.

         302. Defendants’ ongoing conduct produces an ongoing nuisance, as the

   prescription opioids that they allow and/or cause to be illegally distributed and

   possessed in Plaintiff’s Community will be diverted, leading to abuse, addiction,

   crime, and public health costs.

         303. Because of the continued use and addiction caused by these illegally

   distributed opioids, the public will continue to fear for its health, safety and welfare

   and will be subjected to conduct that creates a disturbance and reasonable

   apprehension of danger to person and property.

         304. Defendants know, or reasonably should know, that their conduct will

   have an ongoing detrimental effect upon the public health, safety and welfare and

   the public’s ability to be free from disturbance and reasonable apprehension of

   danger to person and property.

         305. Defendants know, or reasonably should know, that their conduct causes

   an unreasonable invasion of the public right to health, safety and welfare and the

   public’s ability to be free from disturbance and reasonable apprehension of danger

   to person and property.


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         306. Defendants are aware, and at a bare minimum certainly should be

   aware, of the unreasonable interference that their conduct has caused in Plaintiff’s

   Community. Defendants are in the business of manufacturing, marketing, selling

   and distributing prescription drugs, including opioids, which Defendants

   specifically know to be dangerous under federal and state law. See e.g., 21 U.S.C.

   § 812 (b)(2).

         307. Defendants’ conduct in marketing, distributing and selling prescription

   opioids which the Defendants know, or reasonably should know, likely will be

   diverted for non-legitimate, non-medical use creates a strong likelihood that these

   illegal distributions of opioids will cause death and injuries to residents in

   Plaintiff’s Community and otherwise significantly and unreasonably interfere with

   public health, safety and welfare and with the public’s right to be free from

   disturbance and reasonable apprehension of danger to person and property.

         308. It is, or should be, reasonably foreseeable to Defendants that their

   conduct will cause deaths and injuries to residents in Plaintiff’s Community and

   will otherwise significantly and unreasonably interfere with public health, safety

   and welfare and with the public’s right to be free from disturbance and reasonable

   apprehension of danger to person and property.

         309. The prevalence and availability of diverted prescription opioids in the

   hands of irresponsible persons and persons with criminal purposes in Plaintiff’s


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   Community not only causes deaths and injuries, but also creates a palpable climate

   of fear among residents in Plaintiff’s Community where opioid diversion, abuse

   and addiction are prevalent and where diverted opioids tend to be used frequently.

          310. Defendants’ conduct makes it easier for persons to divert prescription

   opioids, constituting a dangerous threat to the public.

          311. Defendants’ actions were, at the least, a substantial factor in opioids

   becoming widely available and widely used for non-medical purposes. Because of

   Defendants’ special positions within the closed system of opioid distribution, but

   for Defendants’ actions, opioid use would not have become so widespread, and the

   enormous public health hazard of prescription opioid and heroin overuse, abuse

   and addiction that now exists would have been averted.

          312. The presence of diverted prescription opioids in Plaintiff’s Community

   and the consequence of prescription opioids having been diverted in Plaintiff’s

   Community proximately results in and/or substantially contributes to the creation

   of significant costs to the Plaintiff and to Plaintiff’s Community in order to enforce

   the law, equip its police force and treat the victims of opioid abuse and addiction.

          313. Stemming the flow of illegally distributed prescription opioids and

   abating the nuisance caused by the illegal flow of opioids will help to alleviate this

   problem, save lives, prevent injuries and make Plaintiff’s Community a safer place

   to live.


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         314. Defendants’ conduct is a direct and proximate cause of and/or a

   substantial contributing factor to opioid addiction and abuse in Plaintiff’s

   Community and costs borne by Plaintiff’s Community and the Plaintiff, as well as

   a significant and unreasonable interference with public health, safety and welfare

   and with the public’s right to be free from disturbance and reasonable

   apprehension of danger to person and property.

         315. Defendants’ conduct constitutes a public nuisance and, if unabated, will

   continue to threaten the health, safety and welfare of the residents of Plaintiff’s

   Community, creating an atmosphere of fear and addiction that tears at the

   residents’ sense of well-being and security. Plaintiff has a clearly ascertainable

   right to abate conduct that perpetuates this nuisance.

         316. Defendants     created   an   absolute    and/or   intentional   nuisance.

   Defendants’ actions created and expanded the abuse of opioids, which are

   dangerously addictive, and the ensuing associated plague of prescription opioid

   and heroin addiction. Defendants knew the dangers to public health and safety that

   diversion of opioids would create in Plaintiff’s Community; however, Defendants

   intentionally and/or unlawfully failed to maintain effective controls against

   diversion through proper monitoring, reporting and refusal to fill suspicious orders

   of opioids. Defendants intentionally and/or unlawfully distributed opioids or

   caused opioids to be distributed without reporting or refusing to fill suspicious


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   orders or taking other measures to maintain effective controls against diversion.

   Defendants intentionally and/or unlawfully continued to ship and failed to halt

   suspicious orders of opioids or caused such orders to be shipped. Defendants

   intentionally and/or unlawfully marketed opioids in manners they knew to be false

   and misleading. Such actions were inherently dangerous.

         317. Defendants knew the prescription opioids have a high likelihood of

   being diverted. It was foreseeable to Defendants that where Defendants distributed

   prescription opioids or caused such opioids to be distributed without maintaining

   effective controls against diversion, including monitoring, reporting and refusing

   shipment of suspicious orders, that the opioids would be diverted and create an

   opioid abuse nuisance in Plaintiff’s Community.

         318. Defendants’ actions also created a qualified nuisance. Defendants acted

   recklessly, negligently and/or carelessly, in breach of their duties to maintain

   effective controls against diversion, thereby creating an unreasonable risk of harm.

         319. Defendants acted with actual malice because Defendants acted with a

   conscious disregard for the rights and safety of other persons, and said actions have

   a great probability of causing substantial harm.

         320. The damages available to the Plaintiff include, inter alia, recoupment

   of governmental costs, flowing from an ongoing and persistent public nuisance that

   the government seeks to abate. Defendants’ conduct is ongoing and persistent, and


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   the Plaintiff seeks all damages flowing from Defendants’ conduct. Plaintiff further

   seeks to abate the nuisance and harm created by Defendants’ conduct.

         321. As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s

   Community have suffered actual injury and damages including, but not limited to,

   significant expenses for police, emergency, health, prosecution, corrections and

   other services. The Plaintiff here seeks recovery for its own harm.

         322. The Plaintiff and Plaintiff’s Community have sustained specific and

   special injuries because their damages include, inter alia, health services, law

   enforcement expenditures, and costs related to opioid addiction treatment and

   overdose prevention.

         323. The Plaintiff further seeks to abate the nuisance created by the

   Defendants’ unreasonable, unlawful, intentional, ongoing, continuing and

   persistent actions and omissions and interference with a right common to the

   public.

         324. Plaintiff seeks all legal and equitable relief as allowed by law,

   including, inter alia, abatement, compensatory damages and punitive damages

   from the Defendants for the creation of a public nuisance, attorneys’ fees and costs,

   and pre- and post-judgment interest.




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         325. Defendants’ intentional and unlawful actions and omissions, as well as

   their unreasonable interference with a right common to the public are of a

   continuing nature.

         326. Defendants are aware, and at a bare minimum certainly should be

   aware, of the unreasonable interference that their conduct has caused in the

   Plaintiff’s Community. Defendants are in the business of manufacturing or

   distributing prescription drugs, including opioids, which are specifically known to

   Defendants to be dangerous because, inter alia, federal and state law define these

   drugs as substances posing a high potential for abuse and severe addiction.

   Defendants created an absolute and/or intentional nuisance. Defendants’ actions

   created and expanded the abuse of opioids, drugs specifically codified as

   constituting severely harmful substances.

         327. The public nuisance created by Defendants’ actions is substantial and

   unreasonable – it has caused and continues to cause significant harm to the

   community, and the harm inflicted outweighs any offsetting benefit. The

   staggering rates of opioid and heroin use resulting from the Defendants’ abdication

   of their gate-keeping and diversion prevention duties and the Manufacturer

   Defendants’ fraudulent marketing activities have caused harm to the entire

   community that includes, but is not limited to, the following:




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               a. The high rates of use have led and continue to lead to unnecessary

                  opioid abuse, addiction, overdose, injuries and deaths.

               b. Even children have fallen victim to the opioid epidemic. Easy

                  access to prescription opioids made opioids a recreational drug of

                  choice among teenagers. Even infants have been born addicted to

                  opioids due to prenatal exposure, causing severe withdrawal

                  symptoms and lasting developmental impacts.

               c. Even those residents of Plaintiff’s Community who have never

                  taken opioids have suffered from the public nuisance arising from

                  Defendants’ abdication of their gate-keeper duties and fraudulent

                  promotions. Many residents have endured both the emotional and

                  financial costs of caring for loved ones addicted to or injured by

                  opioids and the loss of companionship, wages or other support

                  from family members who have used, abused, become addicted to,

                  overdosed on or been killed by opioids.

               d. The opioid epidemic has increased health care costs.

               e. Employers have lost the value of productive and healthy

                  employees.

               f. Defendants’ conduct created an abundance of drugs available for

                  criminal use and fueled a new wave of addiction, abuse and injury.


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               g. Defendants’ dereliction of duties and/or fraudulent misinformation

                  campaign pushing dangerous drugs resulted in a diverted supply of

                  narcotics to sell and the ensuing demand of addicts to buy them.

                  More prescription opioids sold by Defendants led to more

                  addiction, with many addicts turning from prescription opioids to

                  heroin. People addicted to opioids frequently require increasing

                  levels of opioids, and many turned to heroin as a foreseeable result.

               h. The diversion of opioids into the secondary, criminal market and

                  the increased number of individuals who abuse or are addicted to

                  opioids increased the demands on health care services and law

                  enforcement.

               i. The significant and unreasonable interference with the public

                  rights caused by Defendants’ conduct taxed the human, medical,

                  public health, law enforcement and financial resources of the

                  Plaintiff’s Community.

               j. Defendants’ interference with the comfortable enjoyment of life in

                  the Plaintiff’s Community is unreasonable because there is little

                  social utility to opioid diversion and abuse, and any potential value

                  is outweighed by the gravity of the harm Defendants’ actions

                  inflicted.


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         328. The Plaintiff and Plaintiff’s Community have sustained specific and

   special injuries because their damages include, inter alia, health services and law

   enforcement expenditures, as described in this Complaint.

         329. Plaintiff seeks economic losses (direct, incidental or consequential

   pecuniary losses) resulting from Defendants’ fraudulent activity and fraudulent

   misrepresentations.

         330. Plaintiff seeks all legal and equitable relief as allowed by law, other

   than such damages disavowed herein, including, inter alia, injunctive relief,

   restitution, disgorgement of profits, compensatory and punitive damages, all

   damages allowed by law to be paid by the Defendants, attorneys’ fees and costs,

   and pre- and post-judgment interest.

                            COUNT II
     RACKETEER-INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                       18 U.S.C. 1961, et seq.
                      (Against All Defendants)
         331. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

         332. Plaintiff brings this Count against the following Defendants, as defined

   above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson,

   Cardinal and AmerisourceBergen (collectively, for purposes of this Count, the

   “RICO Defendants”).



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         333. The RICO Defendants conducted and continue to conduct their

   business through legitimate and illegitimate means in the form of an association-in-

   fact enterprise and/or a legal entity enterprise. At all relevant times, the RICO

   Defendants were “persons” under 18 U.S.C. § 1961(3) because they are entities

   capable of holding, and do hold, “a legal or beneficial interest in property.”

         334. Section 1962(c) of RICO makes it unlawful “for any person employed

   by or associated with any enterprise engaged in, or the activities of which affect,

   interstate or foreign commerce, to conduct or participate, directly or indirectly, in

   the conduct of such enterprise’s affairs through a pattern of racketeering activity or

   collection of unlawful debt.” 18 U.S.C. § 1962(c); United States v. Turkette, 452

   U.S. 576, 580 (1981).

         335. The    term    “enterprise”   includes   “any    individual,   partnership,

   corporation, association, or other legal entity, and any union or group of

   individuals associated in fact although not a legal entity.” 18 U.S.C. § 1961(4);

   Turkette, 452 U.S. at 580; Boyle v. U.S., 556 U.S. 938, 944 (2009). The definition

   of “enterprise” in Section 1961(4) includes legitimate and illegitimate enterprises

   within its scope. Specifically, the section “describes two separate categories of

   associations that come within the purview of an ‘enterprise’ -- the first

   encompassing organizations such as corporations, partnerships, and other ‘legal

   entities,’ and the second covering ‘any union or group of individuals associated in


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   fact although not a legal entity.’” Turkette, 452 U.S. at 577. The second category is

   not a more generalized description of the first. Id.

         336. For over a decade, the RICO Defendants aggressively sought to bolster

   their revenue, increase profit and grow their share of the prescription painkiller

   market by unlawfully and surreptitiously increasing the volume of opioids they

   sold. However, the RICO Defendants are not permitted to engage in a limitless

   expansion of their market through the unlawful sales of regulated painkillers. As

   “registrants,” the RICO Defendants operated and continue to operate within the

   “closed system” created under the Controlled Substances Act, 21 U.S.C. § 821, et

   seq. (the “CSA”). The CSA restricts the RICO Defendants’ ability to manufacture

   or distribute Schedule II substances like opioids by requiring them to: (1) register

   to manufacture or distribute opioids; (2) maintain effective controls against

   diversion of the controlled substances that they manufacturer or distribute; (3)

   design and operate a system to identify suspicious orders of controlled substances,

   halt such unlawful sales and report them to the DEA; and (4) make sales within a

   limited quota set by the DEA for the overall production of Schedule II substances

   like opioids.

         337. Congress specifically intended the closed system created by the CSA,

   including the establishment of quotas, to reduce or eliminate the diversion of

   Schedule II substances like opioids from “legitimate channels of trade” to the illicit


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   market by controlling “the quantities of the basic ingredients needed for the

   manufacture of [controlled substances].”158

              338. Finding it impossible to legally achieve their ever-increasing sales

   ambitions, members of the Opioid Diversion Enterprise (as defined below)

   systematically and fraudulently violated their statutory duty to maintain effective

   controls against diversion of their drugs, to design and operate a system to identify

   suspicious orders of their drugs, to halt unlawful sales of suspicious orders and to

   notify the DEA of suspicious orders.159 As discussed in detail below, through the

   RICO Defendants’ scheme, members of the Opioid Diversion Enterprise

   repeatedly engaged in unlawful sales of painkillers, which, in turn, artificially and

   illegally increased the annual production quotas for opioids allowed by the DEA.
   160
           In doing so, the RICO Defendants allowed hundreds of millions of pills to enter

   the illicit market, which allowed them to generate obscene profits.

              339. An association-in-fact enterprise between the Manufacturer Defendants

   and the Distributor Defendants hatched Defendants’ illegal scheme, and each of

   them executed it in perfect harmony. In particular, each of the RICO Defendants

   were associated with and conducted or participated in the affairs of the RICO


   158
      1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
   Narcotics Control, United States Senate, May 5, 2015 (available at
   https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
   159
         21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
   160
         21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

                                                              156
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   enterprise (defined below and referred to collectively as the “Opioid Diversion

   Enterprise”), the purpose of which was to engage in the unlawful sales of opioids,

   while deceiving the public and federal and state regulators into believing that the

   RICO Defendants were faithfully fulfilling their statutory obligations. The RICO

   Defendants’ scheme allowed them to make billions in unlawful sales of opioids

   and, in turn, increase and/or maintain high production quotas with the purpose of

   ensuring unlawfully increasing revenues, profits and market share. As a direct

   result of the RICO Defendants’ fraudulent scheme, course of conduct and pattern

   of racketeering activity, they were able to extract billions of dollars of revenue

   from the addicted American public, while entities like the Plaintiff experienced

   mulit-millions of dollars of injury caused by the reasonably foreseeable

   consequences of the prescription opioid addiction epidemic. As explained in detail

   below, the RICO Defendants’ misconduct violated Section 1962(c), and 18 U.S.C.

   § 1964(c) entitles Plaintiff to treble damages for its injuries.

         340. Alternatively, the RICO Defendants were members of a legal entity

   enterprise within the meaning of 18 U.S.C. § 1961(4), through which the RICO

   Defendants conducted their pattern of racketeering activity in this jurisdiction and

   throughout the United States. Specifically, the Healthcare Distribution Alliance




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   (the “HDA”)161 is a distinct legal entity that satisfies the definition of a RICO

   enterprise. The HDA is a non-profit corporation formed under the laws of the

   District of Columbia and doing business in Virginia. As a non-profit corporation,

   HDA qualifies as an “enterprise” within the definition set out in 18 U.S.C. §

   1961(4) because it is a corporation and a legal entity.

           341. On information and belief, each of the RICO Defendants is a member,

   participant and/or sponsor of the HDA and utilized the HDA to conduct the Opioid

   Diversion Enterprise and to engage in the pattern of racketeering activity that gives

   rise to the Count.

           342. Each of the RICO Defendants is a legal entity separate and distinct

   from the HDA. Additionally, the HDA serves the interests of distributors and

   manufacturers beyond the RICO Defendants. Therefore, the HDA exists separately

   from the Opioid Diversion Enterprise, and each of the RICO Defendants exists

   separately from the HDA. Therefore, the HDA may serve as a RICO enterprise.

           343. The legal and association-in-fact enterprises alleged in the previous and

   subsequent paragraphs were each used by the RICO Defendants to conduct the

   Opioid Diversion Enterprise by engaging in a pattern of racketeering activity.

   Therefore, the legal and association-in-fact enterprises alleged in the previous and



   161
       Health Distribution Alliance, History, Health Distribution Alliance, (last visited on September 15, 2017),
   https://www.healthcaredistribution.org/about/hda-history.

                                                       158
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   subsequent paragraphs are pleaded in the alternative and are collectively referred to

   as the “Opioid Diversion Enterprise.”

                           A. THE OPIOID DIVERSION ENTERPRISE

              344. Recognizing that there is a need for greater scrutiny over controlled

   substances due to their potential for abuse and danger to public health and safety,

   the United States Congress enacted the Controlled Substances Act in 1970.162 The

   CSA and its implementing regulations created a closed system of distribution for

   all controlled substances and listed chemicals.163 Congress specifically designed

   the closed chain of distribution to prevent the diversion of legally produced

   controlled substances into the illicit market.164 As reflected in comments from

   United States Senators during deliberation on the CSA, the “[CSA] is designed to

   crack down hard on the narcotics pusher and the illegal diverters of pep pills and

   goof balls.”165 Congress was concerned with the diversion of drugs out of

   legitimate channels of distribution when it enacted the CSA and acted to halt the

   “widespread diversion of [controlled substances] out of legitimate channels into




   162
      Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
   cv-185 (Document 14-2 February 10, 2012).
   163
         See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
   164
     Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
   No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
   165
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
   23, 1970).

                                                          159
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   the illegal market.”166 Moreover, Congress specifically designed the closed system

   to ensure that there are multiple ways of identifying and preventing diversion

   through active participation by registrants within the drug delivery chain.167 All

   registrants – manufacturers and distributors alike – must adhere to the specific

   security, recordkeeping, monitoring and reporting requirements that are designed

   to identify or prevent diversion.168 When registrants at any level fail to fulfill their

   obligations, the necessary checks and balances collapse.169                               The result is the

   scourge of addiction that has occurred.

               345. In 2006 and 2007, the DEA issued multiple letters to the Distributor

   Defendants reminding them of their obligation to maintain effective controls

   against diversion of particular controlled substances, design and operate a system

   to disclose suspicious orders, and inform the DEA of any suspicious orders.170 The




   166
       See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
   Senate, May 5, 2015 (available at
   https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
   167
       See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
   Senate, July 18, 2012 (available at
   https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
   168
         Id.
   169
      Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
   12-cv-185 (Document 14-2 February 10, 2012).
   170
     Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In
   Reference to Registration # RC0183080 (December 27, 2007).

                                                          160
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   DEA also published suggested questions that a distributor should ask prior to

   shipping controlled substances, in order to “know their customers.”171

           346. Central to the closed system created by the CSA was the directive that

   the DEA determine quotas of each basic class of Schedule I and II controlled

   substances each year. The quota system was intended to reduce or eliminate

   diversion from “legitimate channels of trade” by controlling the “quantities of the

   basic ingredients needed for the manufacture of [controlled substances] and

   requiring order forms for all transfers of these drugs.”172 When evaluating

   production quotas, the DEA was instructed to consider the following information:

                    a. Information provided by the Department of Health and Human

                        Services;

                    b. Total net disposal of the basic class by all manufacturers;

                    c. Trends in the national rate of disposal of the basic class;

                    d. An applicant’s production cycle and current inventory position;

                    e. Total actual or estimated inventories of the class and of all

                        substances manufactured from the class and trends in inventory

                        accumulation; and


   171
       Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
   Administration (available at
   https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).
   172
      1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
   Narcotics Control, United States Senate, May 5, 2015 (available at
   https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

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                        f. Other factors such as: changes in the currently accepted medical

                            use of substances manufactured for a basic class; the economic and

                            physical availability of raw materials; yield and sustainability

                            issues; potential disruptions to production; and unforeseen

                            emergencies.173

               347. It is unlawful for a registrant to manufacture a controlled substance in

   Schedule II, like prescription opioids, that is (1) not expressly authorized by its

   registration and by a quota assigned to it by DEA or (2) in excess of a quota

   assigned to it by the DEA.174

               348. At all relevant times, the RICO Defendants operated as an association-

   in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues

   and profits by disregarding their statutory duty to identify, investigate, halt and

   report suspicious orders of opioids and diversion of their drugs into the illicit

   market in order to unlawfully increase the quotas set by the DEA and allow them

   to collectively benefit from the unlawful formation of a greater pool of prescription

   opioids from which to profit. The RICO Defendants conducted their pattern of

   racketeering activity in this jurisdiction and throughout the United States through

   this enterprise.

   173
       See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
   Senate, May 5, 2015 (available at
   https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
   174
         Id. (citing 21 U.S.C. 842(b)).

                                                       162
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           349. The opioid epidemic has its origins in the mid-1990s when, between

   1997 and 2007, per capita purchase of methadone, hydrocodone and oxycodone

   increased 13-fold, 4-fold and 9-fold, respectively. By 2010, enough prescription

   opioids were sold in the United States to medicate every adult in the country with a

   dose of 5 milligrams of hydrocodone every 4 hours for 1 month.175 On information

   and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

   decade.176

           350. The Opioid Diversion Enterprise was and is a shockingly successful

   endeavor. The Opioid Diversion Enterprise has been conducting business

   uninterrupted since its genesis. However, it was not until recently that federal and

   state regulators finally began to unravel the extent of the enterprise and the toll that

   it exacted on the American public.

           351. At all relevant times, the Opioid Diversion Enterprise: (a) had an

   existence separate and distinct from each RICO Defendant; (b) was separate and

   distinct from the pattern of racketeering in which the RICO Defendants engaged;

   (c) was an ongoing and continuing organization consisting of legal entities,

   including each of the RICO Defendants; (d) was characterized by interpersonal


   175
      Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
   prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
   176
       Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
   Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
   chamber-shaped-policy-amid-drug-epidemic.

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   relationships among the RICO Defendants; (e) had sufficient longevity for the

   enterprise to pursue its purpose; and (f) functioned as a continuing unit. Turkette,

   452 U.S. at 580; Boyle, 556 U.S. at 944 (2009). Each member of the Opioid

   Diversion Enterprise participated in the conduct of the enterprise, including

   patterns of racketeering activity, and shared in the astounding growth of profits

   supplied by fraudulently inflating opioid sales generated as a result of the Opioid

   Diversion Enterprise’s disregard for their duty to prevent diversion of their drugs

   into the illicit market and requests that the DEA increase production quotas, all so

   that the RICO Defendants would have a larger pool of prescription opioids from

   which to profit.

           352. The Opioid Diversion Enterprise also engaged in efforts to lobby

   against the DEA’s authority to hold the RICO Defendants liable for disregarding

   their duty to prevent diversion. Members of the Pain Care Forum (described in

   greater detail below) and the Healthcare Distribution Alliance lobbied for the

   passage of legislation to weaken the DEA’s enforcement authority. The Ensuring

   Patient Access and Effective Drug Enforcement Act significantly reduced the

   DEA’s ability to issue orders to show cause and to suspend and/or revoke

   registrations177 The HDA and other members of the Pain Care Forum contributed


   177
       See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
   July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
   alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
   Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-

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   substantial amounts of money to political campaigns for federal candidates, state

   candidates, political action committees and political parties. Upon information and

   belief, the Pain Care Forum and its members and the HDA devoted millions of

   dollars to its lobbying efforts in this jurisdiction between 2011 and 2016.

           353. The Opioid Diversion Enterprise functioned by selling prescription

   opioids. While there are some legitimate uses and/or needs for prescription opioids,

   the RICO Defendants, through their illegal enterprise, engaged in a pattern of

   racketeering activity that involves a fraudulent scheme to increase revenue by

   violating State and Federal laws requiring the maintenance of effective controls

   against diversion of prescription opioids and the identification, investigation and

   reporting of suspicious orders of prescription opioids destined for the illicit drug

   market. The goal of Defendants’ scheme was to increase profits from opioid sales.

   However, Defendants’ profits were limited by the production quotas set by the

   DEA, so the Defendants refused to identify, investigate and/or report suspicious

   orders of their prescription opioids being diverted into the illicit drug market. The

   end result of this strategy was to increase and maintain artificially high production




   slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
   d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
   DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
   https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
   slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
   Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
   http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

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   quotas of opioids so that there was a larger pool of opioids for Defendants to

   manufacture and distribute for public consumption.

         354. The Opioid Diversion Enterprise engaged in, and its activities affected,

   interstate and foreign commerce because the enterprise involved commercial

   activities across state lines, such as manufacture, sale, distribution and shipment of

   prescription opioids throughout the country and Plaintiff’s Community and the

   corresponding payment and/or receipt of money from the sale of the same.

         355. Within the Opioid Diversion Enterprise, there were interpersonal

   relationships and common communication by which the RICO Defendants shared

   information on a regular basis. These interpersonal relationships also formed the

   organization of the Opioid Diversion Enterprise. The Opioid Diversion Enterprise

   used their interpersonal relationships and communication network for the purpose

   of conducting the enterprise through a pattern of racketeering activity.

         356. Each of the RICO Defendants had a systematic link to each other

   through joint participation in lobbying groups, trade industry organizations,

   contractual relationships and continuing coordination of activities. The RICO

   Defendants participated in the operation and management of the Opioid Diversion

   Enterprise by directing its affairs, as described herein. While the RICO Defendants

   participated in and are members of the enterprise, they each have a separate

   existence from the enterprise, including distinct legal statuses, different offices and


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   roles, bank accounts, officers, directors, employees, individual personhood,

   reporting requirements and financial statements.

               357. The RICO Defendants exerted substantial control over the Opioid

   Diversion Enterprise by their membership in the Pain Care Forum and the HDA

   and through their contractual relationships.

               358. The Pain Care Forum (“PCF”) is a coalition of drug makers, trade

   groups and dozens of non-profit organizations supported by industry funding. The

   PCF recently became a national news story when reporters discovered that

   lobbyists for members of the PCF quietly shaped federal and state policies

   regarding the use of prescription opioids for more than a decade.

               359. The Center for Public Integrity and The Associated Press obtained

   “internal documents shed[ding] new light on how drug makers and their allies

   shaped the national response to the ongoing wave of prescription opioid abuse.”178

   Specifically, PCF members spent over $740 million lobbying in the nation’s

   capital and in all 50 statehouses on an array of issues, including opioid-related

   measures.179

               360. Not surprisingly, each of the RICO Defendants who stood to profit

   from lobbying in favor of prescription opioid use is a member of and/or participant

   178
       Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
   Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
   chamber-shaped-policy-amid-drug-epidemic (emphasis added).
   179
         Id.

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   in the PCF.180 In 2012, membership and participating organizations included the

   HDA (of which all RICO Defendants are members), Endo, Purdue, Johnson &

   Johnson (the parent company for Janssen Pharmaceuticals), Actavis (i.e., Allergan)

   and Teva (the parent company of Cephalon).181 Each of the Manufacturer

   Defendants worked together through the PCF to advance the interests of the

   enterprise. However, the Manufacturer Defendants were not alone. The Distributor

   Defendants actively participated and continue to participate in the PCF, at a

   minimum, through their trade organization, the HDA.182 Upon information and

   belief, the Distributor Defendants participated directly in the PCF as well.

              361. The 2012 Meeting Schedule for the Pain Care Forum is particularly

   revealing on the subject of the Defendants’ interpersonal relationships. The

   meeting schedule indicates that meetings were held in the D.C. office of Powers

   Pyles Sutter & Verville on a monthly basis, unless otherwise noted. Local

   members were “encouraged to attend in person” at the monthly meetings.

   Additionally, the meeting schedule indicates that the quarterly and year-end

   meetings included a “Guest Speaker.”


   180
      PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
   https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf.
   181
         Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.
   182
      Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
   Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
   Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
   Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/about/executive-committee.

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          362. The 2012 Pain Care Forum Meeting Schedule demonstrates that each

   of the Defendants participated in meetings on a monthly basis, either directly or

   through their trade organization, in a coalition of drug makers and their allies, sole

   purpose of which was to shape the national response to the ongoing prescription

   opioid epidemic, including the concerted lobbying efforts that the PCF undertook

   on behalf of its members.

          363. Second, the HDA – or Healthcare Distribution Alliance – led to the

   formation of interpersonal relationships and an organization between the RICO

   Defendants. Although the entire HDA membership directory is private, the HDA

   website confirms that each of the Distributor Defendants and the Manufacturer

   Defendants named in the Complaint, including Actavis (i.e., Allergan), Endo,

   Purdue, Mallinckrodt and Cephalon, were members of the HDA.183 Additionally,

   the HDA and each of the Distributor Defendants eagerly sought the active

   membership and participation of the Manufacturer Defendants by advocating that

   one of the benefits of membership included the ability to develop direct

   relationships between Manufacturers and Distributors at high executive levels.

          364. In fact, the HDA touted the benefits of membership to the

   Manufacturer Defendants, advocating that membership included the ability to,

   among other things, “network one on one with manufacturer executives at HDA’s

   183
        Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/about/membership/manufacturer.

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   members-only Business and Leadership Conference,” “networking with HDA

   wholesale distributor members,” “opportunities to host and sponsor HDA Board of

   Directors events,” “participate on HDA committees, task forces and working

   groups with peers and trading partners” and “make connections.”184 Clearly, the

   HDA and the Distributor Defendants believed that membership in the HDA was an

   opportunity to create interpersonal and ongoing organizational relationships

   between the Manufacturers and Defendants.

               365. The application for manufacturer membership in the HDA further

   indicates the level of connection that existed between the RICO Defendants.185 A

   “senior company executive” must sign the manufacturer membership application,

   and it requests that the manufacturer applicant identify a key contact and any

   additional contacts from within its company. The HDA application also requests

   that the manufacturer identify its current distribution information and its most

   recent year-end net sales through any HDA distributors, including, but not limited

   to, Defendants AmerisourceBergen, Cardinal Health and McKesson.186




   184
       Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
   185
       Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
   application.ashx?la=en.
   186
         Id.

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               366. After becoming members, the Distributors and Manufacturers were

   eligible to participate on councils, committees, task forces and working groups,

   including:

                    a. Industry Relations Council: “This council, composed of distributor

                       and manufacturer members, provides leadership on pharmaceutical

                       distribution and supply chain issues.”187

                    b. Business Technology Committee: “This committee provides

                       guidance to HDA and its members through the development of

                       collaborative e-commerce business solutions. The committee’s

                       major areas of focus within pharmaceutical distribution include

                       information systems, operational integration and the impact of e-

                       commerce.” Participation in this committee includes distributors

                       and manufacturer members.188

                    c. Health, Beauty and Wellness Committee: “This committee

                       conducts research, as well as creates and exchanges industry

                       knowledge to help shape the future of the distribution for health,

                       beauty and wellness/consumer products in the healthcare supply




   187
        Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/about/councils-and-committees.
   188
         Id.

                                                 171
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                  chain.” Participation in this committee includes distributor and

                  manufacturer members.189

               d. Logistics Operation Committee: “This committee initiates projects

                  designed to help members enhance the productivity, efficiency and

                  customer satisfaction within the healthcare supply chain. Its major

                  areas of focus include process automation, information systems,

                  operational   integration,    resource   management   and   quality

                  improvement.” Participation in this committee includes distributors

                  and manufacturer members.190

               e. Manufacturer Government Affairs Advisory Committee: “This

                  committee provides a forum for briefing HDA’s manufacturer

                  members on federal and state legislative and regulatory activity

                  affecting the pharmaceutical distribution channel. Topics discussed

                  include such issues as prescription drug traceability, distributor

                  licensing, FDA and DEA regulation of distribution, importation

                  and Medicaid/Medicare reimbursement.” Participation in this

                  committee includes manufacturer members. 191




   189
         Id.
   190
         Id.
   191
         Id.

                                          172
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                     f. Bar Code Task Force: Participation            includes Distributor,

                        Manufacturer and Service Provider Members.192

                     g. eCommerce Task Force: Participation includes Distributor,

                        Manufacturer and Service Provider Members.193

                     h. ASN    Working    Group:      Participation   includes        Distributor,

                        Manufacturer and Service Provider Members.194

                     i. Contracts and Chargebacks Working Group: “This working group

                        explores how the contract administration process can be

                        streamlined   through    process    improvements         or     technical

                        efficiencies. It also creates and exchanges industry knowledge of

                        interest to contract and chargeback professionals.” Participation

                        includes Distributor and Manufacturer Members.195

               367. The councils, committees, task forces and working groups provided the

   Manufacturer and Distributor Defendants with the opportunity to work closely

   together in shaping their common goals and forming the enterprise’s organization.

               368. The HDA also offers a multitude of conferences, including annual

   business and leadership conferences. The HDA and the Distributor Defendants


   192
         Id.
   193
         Id.
   194
         Id.
   195
         Id.

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   advertise these conferences to the Manufacturer Defendants as an opportunity to

   “bring together high-level executives, thought leaders and influential managers . . .

   to hold strategic business discussions on the most pressing industry issues.”196 The

   conferences also gave the Manufacturer and Distributor Defendants “unmatched

   opportunities to network with [their] peers and trading partners at all levels of the

   healthcare distribution industry.”197 The HDA and its conferences were significant

   opportunities for the Manufacturer and Distributor Defendants to interact at a high

   level of leadership. It is clear that the Manufacturer Defendants embraced this

   opportunity by attending and sponsoring these events.198

               369. Third,   the     RICO       Defendants         maintained        their    interpersonal

   relationships by working together, exchanging information and driving the

   unlawful sales of their opioids through their contractual relationships, including

   chargebacks and vault security programs.

               370. The Manufacturer Defendants engaged in an industry-wide practice of

   paying rebates and/or chargebacks to the Distributor Defendants for sales of

   prescription opioids.199 As reported in the Washington Post, identified by Senator


   196
       Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance,
   (accessed on September 14, 2017), https://www.healthcaredistribution.org/events/2015-business-and-leadership-
   conference/blc-for-manufacturers.
   197
         Id.
   198
      2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
   14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management-conference.
   199
     Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
   Washington   Post,    (April   2,    2017),   https://www.washingtonpost.com/graphics/investigations/dea-

                                                       174
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   McCaskill and acknowledged by the HDA, there is an industry-wide practice

   whereby the Manufacturers paid the Distributors rebates and/or chargebacks on

   their prescription opioid sales.200 On information and belief, these contracts were

   negotiated at the highest levels, demonstrating ongoing relationships between the

   Manufacturer and Distributor Defendants. In return for the rebates and

   chargebacks, the Distributor Defendants provided the Manufacturer Defendants

   with detailed information regarding their prescription opioid sales, including

   purchase        orders,     acknowledgements,             ship     notices,        and   invoices.201     The

   Manufacturer Defendants used this information to gather high-level data regarding

   overall distribution and direct the Distributor Defendants on how to most

   effectively sell the prescription opioids.

               371. The contractual relationships among the RICO Defendants also include

   vault security programs. The RICO Defendants are required to maintain certain

   security protocols and storage facilities for the manufacture and distribution of

   their opiates. Upon information and belief, the Manufacturers negotiated

   agreements whereby the Manufacturers installed security vaults for Distributors in

   mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
   https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
   Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
   investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
   https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
   September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
   200
         Id.
   201
      Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

                                                         175
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   exchange for agreements to maintain minimum sales performance thresholds.

   Upon information and belief, these agreements were used by the RICO Defendants

   as a tool to violate their reporting and diversion duties in order to reach the

   required sales requirements.

           372. Taken together, the interaction and length of the relationships between

   and among the Manufacturer and Distributor Defendants reflects a deep level of

   interaction and cooperation between two groups in a tightly knit industry. The

   Manufacturer and Distributor Defendants were not two separate groups operating

   in isolation or two groups forced to work together in a closed system. The RICO

   Defendants operated together as a united entity, working together on multiple

   fronts, to engage in the unlawful sale of prescription opioids. The HDA and the

   Pain Care Forum are but two examples of the overlapping relationships, and

   concerted joint efforts to accomplish common goals and demonstrates that the

   leaders of each of the RICO Defendants were in communication and cooperation.

           373. According to articles published by the Center for Public Integrity and

   The Associated Press, the Pain Care Forum – the members of which include the

   Manufacturers and the Distributors’ trade association – has been lobbying on

   behalf of the Manufacturers and Distributors for “more than a decade.”202


   202
       Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
   Integrity (accessed September 19, 2017), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
   chamber-shaped-policy-amid-drug-epidemic.

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   Additionally, from 2006 to 2016, the Distributors and Manufacturers worked

   together through the Pain Care Forum to spend over $740 million lobbying in the

   nation’s capital and in all 50 statehouses on issues including opioid-related

   measures.203 Similarly, the HDA has continued its work on behalf of Distributors

   and Manufacturers, without interruption, since at least 2000, if not longer.204

               374. As described above, the RICO Defendants began working together as

   early as 2006 through the Pain Care Forum and/or the HDA to promote the

   common purpose of their enterprise. Upon information and belief, the RICO

   Defendants worked together as an ongoing and continuous organization throughout

   the existence of their enterprise.

                        B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

               375. During the time period alleged in this Complaint, the RICO Defendants

   exerted control over, conducted and/or participated in the Opioid Diversion

   Enterprise by fraudulently failing to comply with their Federal and State

   obligations to identify, investigate and report suspicious orders of opioids in order

   to prevent diversion of those highly addictive substances into the illicit market and

   to halt such unlawful sales so as to increase production quotas and generate

   unlawful profits, as follows:


   203
         Id.
   204
      HDA History, Healthcare Distribution Alliance, (accessed on September 14, 2017),
   https://www.healthcaredistribution.org/about/hda-history.

                                                        177
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         376. Defendants disseminated false and misleading statements to the public

   claiming that they were complying with their obligations to maintain effective

   controls against diversion of their prescription opioids.

         377. Defendants disseminated false and misleading statements to the public

   claiming that they were complying with their obligations to design and operate a

   system to disclose to the registrant suspicious orders of their prescription opioids.

         378. Defendants disseminated false and misleading statements to the public

   claiming that they were complying with their obligation to notify the DEA of any

   suspicious orders or diversion of their prescription opioids.

         379. Defendants paid nearly $800 million dollars to influence local, state

   and federal governments through joint lobbying efforts as part of the Pain Care

   Forum. The RICO Defendants were all members of their Pain Care Forum either

   directly or indirectly through the HDA. The lobbying efforts of the Pain Care

   Forum and its members included efforts to pass legislation making it more difficult

   for the DEA to suspend and/or revoke the Manufacturers’ and Distributors’

   registrations for failure to report suspicious orders of opioids.

         380. The RICO Defendants exercised control and influence over the

   distribution industry by participating and maintaining membership in the HDA.

         381. The RICO Defendants applied political and other pressure on the DOJ

   and DEA to halt prosecutions for failure to report suspicious orders of prescription


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   opioids and lobbied Congress to strip the DEA of its ability to immediately

   suspend registrations pending investigation by passing the “Ensuring Patient

   Access and Effective Drug Enforcement Act.”205

           382. The RICO Defendants engaged in an industry-wide practice of paying

   rebates and chargebacks to incentivize unlawful opioid prescription sales. Upon

   information and belief, the Manufacturer Defendants used the chargeback program

   to acquire detailed, high-level data regarding sales of the opioids they

   manufactured. Additionally, upon information and belief, the Manufacturer

   Defendants used this high-level information to direct the Distributor Defendants’

   sales efforts to regions where prescription opioids were selling in larger volumes.

           383. The Manufacturer Defendants lobbied the DEA to increase Aggregate

   Production Quotas year after year by submitting net disposal information that the

   Manufacturer Defendants knew included sales that were suspicious and involved

   the diversion of opioids the RICO Defendants had not properly investigated or

   reported.



   205
       See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
   July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
   alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
   Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
   slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
   d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
   DEA       Enforcement    Slowdown      Amid      Opioid      Crisis,    Wash.       Post,    Mar.    6,   2017,
   https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
   slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
   Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
   http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

                                                        179
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           384. The Distributor Defendants developed “know your customer”

   questionnaires and files. This information, compiled pursuant to comments from

   the DEA in 2006 and 2007, was intended to help the RICO Defendants identify

   suspicious orders or customers who were likely to divert prescription opioids.206

   On information and belief, the “know your customer” questionnaires informed the

   RICO Defendants of the number of pills that the pharmacies sold, how many non-

   controlled substances they sold compared to controlled substances, whether the

   pharmacy buys from other distributors, and the types of medical providers in the

   area, including pain clinics, general practitioners, hospice facilities, cancer

   treatment facilities, among others, and these questionnaires put the recipients on

   notice of suspicious orders.

           385. The RICO Defendants refused to identify, investigate and report

   suspicious orders to the DEA when they became aware of the same despite their

   actual knowledge of drug diversion rings. The RICO Defendants refused to

   identify suspicious orders and diverted drugs despite the DEA issuing final

   decisions against the Distributor Defendants in 178 registrant actions between




   206
       Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
   Administration (available at
   https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard Widup, Jr.,
   Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and McQuite
   Woods LLC, (available at
   https://www.mcguirewoods.com/news-resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).

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   2008 and 2012207 and 117 recommended decisions in registrant actions from The

   Office of Administrative Law Judges. These numbers include seventy-six (76)

   actions involving orders to show cause and forty-one (41) actions involving

   immediate suspension orders – all for failure to report suspicious orders.208

               386. Defendants’ scheme had a decision-making structure driven by the

   Manufacturer Defendants and corroborated by the Distributor Defendants. The

   Manufacturer Defendants worked together to control the State and Federal

   Government’s response to the manufacture and distribution of prescription opioids

   by increasing production quotas through a systematic refusal to maintain effective

   controls against diversion and identify suspicious orders and report them to the

   DEA.

               387. The RICO Defendants worked together to control the flow of

   information and influence state and federal governments and political candidates to

   pass legislation that was pro-opioid. The Manufacturer and Distributor Defendants

   did this through their participation in the PCF and HDA.

               388. The RICO Defendants also worked together to ensure that the

   Aggregate Production Quotas, Individual Quotas and Procurement Quotas allowed

   by the DEA stayed high and ensured that suspicious orders were not reported to the


   207
     Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
   Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
   208
         Id.

                                                       181
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   DEA. By not reporting suspicious orders or diversion of prescription opioids, the

   RICO Defendants ensured that the DEA had no basis for refusing to increase or

   decrease the production quotas for prescription opioids due to diversion of

   suspicious orders. The RICO Defendants influenced the DEA production quotas in

   the following ways:

               a. The Distributor Defendants assisted the enterprise and the

                  Manufacturer Defendants in their lobbying efforts through the

                  PCF;

               b. The Distributor Defendants invited the participation, oversight and

                  control of the Manufacturer Defendants by including them in the

                  HDA, including on the councils, committees, task forces and

                  working groups;

               c. The Distributor Defendants provided sales information to the

                  Manufacturer Defendants regarding their prescription opioids,

                  including reports of all opioid prescriptions filled by the

                  Distributor Defendants;

               d. The Manufacturer Defendants used a chargeback program to

                  ensure delivery of the Distributor Defendants’ sales information;

               e. The Manufacturer Defendants obtained sales information from

                  QuintilesIMS (formerly IMS Health) that gave them a “stream of


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                        data showing how individual doctors across the nation were

                        prescribing opioids.”209

                    f. The Distributor Defendants accepted rebates and chargebacks for

                        orders of prescription opioids;

                    g. The Manufacturer Defendants used the Distributor Defendants’

                        sales information and the data from QuintilesIMS to instruct the

                        Distributor Defendants to focus their distribution efforts to specific

                        areas where the purchase of prescription opioids was most

                        frequent;

                    h. The RICO Defendants identified suspicious orders of prescription

                        opioids and then continued filling those unlawful orders, without

                        reporting them, knowing that they were suspicious and/or being

                        diverted into the illicit drug market;

                    i. The RICO Defendants refused to report suspicious orders of

                        prescription opioids despite repeated investigation and punishment

                        of the Distributor Defendants by the DEA for failure to report

                        suspicious orders; and

                    j. The RICO Defendants withheld information regarding suspicious

                        orders and illicit diversion from the DEA because it would have

   209
      Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
   the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.

                                                         183
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                   revealed that the “medical need” for and the net disposal of their

                   drugs did not justify the production quotas set by the DEA.

         389. The scheme the RICO Defendants devised and implemented amounted

   to a common course of conduct characterized by a refusal to maintain effective

   controls against diversion, and all designed and operated to ensure the continued

   unlawful sale of controlled substances.

                   C. PATTERN OF RACKETEERING ACTIVITY.

         390. The RICO Defendants conducted and participated in the conduct of the

   Opioid Diversion Enterprise through a pattern of racketeering activity as defined in

   18 U.S.C. § 1961(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18

   U.S.C. § 1343 and 18 U.S.C. § 1961(D)) by the felonious manufacture,

   importation, receiving, concealment, buying, selling or otherwise dealing in a

   controlled substance or listed chemical (as defined in section 102 of the Controlled

   Substance Act), punishable under any law of the United States.

                      1. The RICO Defendants Engaged in Mail and Wire Fraud.

         391. The RICO Defendants carried out, or attempted to carry out, a scheme

   to defraud federal and state regulators and the American public by knowingly

   conducting or participating in the conduct of the Opioid Diversion Enterprise

   through a pattern of racketeering activity within the meaning of 18 U.S.C. §




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   1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C.

   § 1341 (mail fraud) and § 1343 (wire fraud).

          392. The RICO Defendants committed, conspired to commit and/or aided

   and abetted in the commission of at least two predicate acts of racketeering activity

   (i.e., violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The

   multiple acts of racketeering activity that the RICO Defendants committed, or

   aided and abetted in the commission of, were related to each other, posed a threat

   of continued racketeering activity, and therefore constitute a “pattern of

   racketeering activity.” The racketeering activity was made possible by the RICO

   Defendants’ regular use of the facilities, services, distribution channels and

   employees of the Opioid Diversion Enterprise. The RICO Defendants participated

   in the scheme to defraud by using mail, telephone and the internet to transmit

   mailings and wires in interstate or foreign commerce.

          393. The RICO Defendants used, directed the use of and/or caused to be

   used thousands of interstate mail and wire communications in service of their

   scheme through virtually uniform misrepresentations, concealments and material

   omissions regarding their compliance with their mandatory reporting requirements

   and the actions necessary to carry out their unlawful goal of selling prescription

   opioids without reporting suspicious orders or the diversion of opioids into the

   illicit market.


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         394. In devising and executing the illegal scheme, the RICO Defendants

   devised and knowingly carried out a material scheme and/or artifice to defraud by

   means of materially false or fraudulent pretenses, representations, promises or

   omissions of material facts. For the purpose of executing the illegal scheme, the

   RICO Defendants committed these racketeering acts, which number in the

   thousands, intentionally and knowingly with the specific intent to advance the

   illegal scheme.

         395. The RICO Defendants’ predicate acts of racketeering (18 U.S.C. §

   1961(1)) include, but are not limited to:

                a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by

                     sending or receiving, or by causing to be sent and/or received,

                     materials via U.S. mail or commercial interstate carriers for the

                     purpose of executing the unlawful scheme to design, manufacture,

                     market and sell the prescription opioids by means of false

                     pretenses, misrepresentations, promises and omissions.

                b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by

                     transmitting and/or receiving, or by causing to be transmitted

                     and/or received, materials by wire for the purpose of executing the

                     unlawful scheme to design, manufacture, market and sell the




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                   prescription    opioids     by   means      of    false   pretenses,

                   misrepresentations, promises and omissions.

         396. The RICO Defendants’ use of the mail and wires includes, but is not

   limited to, Manufacturers, Distributors or third parties that were foreseeably caused

   to conduct the transmission, delivery or shipment of the following as a result of the

   RICO Defendants’ illegal scheme, including but not limited to:

                a. The prescription opioids themselves;

                b. Documents and communications that facilitated the manufacture,

                   purchase and unlawful sale of prescription opioids;

                c. Defendants’ DEA registrations;

                d. Documents and communications that supported and/or facilitated

                   Defendants’ DEA registrations;

                e. Documents and communications that supported and/or facilitated

                   the Defendants’ request for higher aggregate production quotas,

                   individual production quotas and procurement quotas;

                f. Defendants’ records and reports that 21 U.S.C. § 827 required

                   Defendants to submit to the DEA;

                g. Documents and communications related to the Defendant’s

                   mandatory DEA reports pursuant to 21 U.S.C. § 823 and 21 C.F.R.

                   § 1301.74;


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               h. Documents intended to facilitate the manufacture and distribution

                  of Defendants’ prescription opioids, including bills of lading,

                  invoices, shipping records, reports and correspondence;

               i. Documents for processing and receiving payment for prescription

                  opioids;

               j. Payments from the Distributors to the Manufacturers;

               k. Rebates and chargebacks from the Manufacturers to the

                  Distributors;

               l. Payments to Defendants’ lobbyists through the PCF;

               m. Payments to Defendants’ trade organizations, like the HDA, for

                  memberships and/or sponsorships;

               n. Deposits    of proceeds from Defendants’ manufacture and

                  distribution of prescription opioids; and

               o. Other documents and things, including electronic communications.

         397. On information and belief, the RICO Defendants (and/or their agents),

   for the purpose of executing the illegal scheme, sent and/or received (or caused to

   be sent and/or received) by mail or by private or interstate carrier, shipments of

   prescription opioids and related documents by mail or by private carrier affecting

   interstate commerce, including the following:




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               a. Purdue manufactures multiple forms of prescription opioids,

                  including,   but   not   limited   to:   OxyContin,   MS   Contin,

                  Dilaudid/Dilaudid HP, Butrans, Hysingla ER and Targiniq ER.

                  Purdue manufactured and shipped these prescription opioids to the

                  Distributor Defendants in this jurisdiction.

               b. The Distributor Defendants shipped Purdue’s prescription opioids

                  throughout this jurisdiction.

               c. Cephalon manufactures multiple forms of prescription opioids,

                  including, but not limited to: Actiq and Fentora. Cephalon

                  manufactured and shipped these prescription opioids to the

                  Distributor Defendants in this jurisdiction.

               d. The Distributor Defendants shipped Teva’s prescription opioids

                  throughout this jurisdiction.

               e. Janssen manufactures a prescription opioid known as Duragesic.

                  Janssen manufactured and shipped its prescription opioids to the

                  Distributor Defendants in this jurisdiction.

               f. The Distributor Defendants shipped Janssen’s prescription opioids

                  throughout this jurisdiction.

               g. Endo manufactures multiple forms of prescription opioids,

                  including, but not limited to: Opana/Opana ER, Percodan, Percocet


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                  and Zydone. Endo manufactured and shipped its prescription

                  opioids to the Distributor Defendants in the State.

               h. The Distributor Defendants shipped Janssen’s prescription opioids

                  throughout this jurisdiction.

               i. Actavis manufactures multiple forms of prescription opioids,

                  including, but not limited to: Kadian and Norco, as well as generic

                  versions of the drugs known as Kadian, Duragesic and Opana.

                  Actavis manufactured and shipped its prescription opioids to the

                  Distributor Defendants in this jurisdiction.

               j. The Distributor Defendants shipped Actavis’ prescription opioids

                  throughout this jurisdiction.

               k. Mallinckrodt manufactures multiple forms of prescription opioids,

                  including, but not limited to: Exalgo and Roxicodone.

               l. The Distributor Defendants shipped Mallinckrodt’s prescription

                  opioids throughout this jurisdiction.

         398. The RICO Defendants also used the internet and other electronic

   facilities to carry out their scheme and conceal the ongoing fraudulent activities.

   Specifically, the RICO Defendants made misrepresentations about their

   compliance with Federal and State laws requiring them to identify, investigate and




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   report suspicious orders of prescription opioids and/or diversion of the same into

   the illicit market.

          399. At the same time, the RICO Defendants misrepresented the superior

   safety features of their order monitoring programs, ability to detect suspicious

   orders, commitment to preventing diversion of prescription opioids and their

   compliance with all state and federal regulations regarding the identification and

   reporting of suspicious orders of prescription opioids.

          400. Upon information and belief, the RICO Defendants utilized the internet

   and other electronic resources to exchange communications, to exchange

   information regarding prescription opioid sales and to transmit payments and

   rebates / chargebacks.

          401. The RICO Defendants also communicated by U.S. Mail, by interstate

   facsimile and by interstate electronic mail with each other and with various other

   affiliates, regional offices, regulators, distributors and other third-party entities in

   furtherance of the scheme.

          402. The mail and wire transmissions described herein were made in

   furtherance of Defendants’ scheme and common course of conduct to deceive

   regulators and the public that Defendants were complying with their state and

   federal obligations to identify and report suspicious orders of prescription opioids,

   all while Defendants were knowingly allowing millions of doses of prescription


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   opioids to divert into the illicit drug market. The RICO Defendants’ scheme and

   common course of conduct was intended to increase or maintain high production

   quotas for their prescription opioids from which they could profit.

         403. Defendants have deliberately hidden many of the precise dates of the

   fraudulent uses of the U.S. mail and interstate wire facilities, and these cannot be

   alleged without access to Defendants’ books and records. However, Plaintiff has

   described the types of and, in some instances, occasions on which the predicate

   acts of mail and/or wire fraud occurred. They include thousands of

   communications to perpetuate and maintain the scheme, including the things and

   documents described in the preceding paragraphs.

         404. The RICO Defendants did not undertake the practices described herein

   in isolation, but as part of a common scheme. These actions violate 18 U.S.C. §

   1962(c). Various other persons, firms and corporations, including third-party

   entities and individuals not named as defendants in this Complaint, may have

   contributed to and/or participated in the scheme with the RICO Defendants in these

   offenses and have performed acts in furtherance of the scheme to increase

   revenues, increase market share and /or minimize the losses for the RICO

   Defendants.




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         405. The RICO Defendants aided and abetted others in the violations of the

   above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§

   1341 and 1343 offenses.

         406. The RICO Defendants hid from the general public and suppressed

   and/or ignored warnings from third parties, whistleblowers and governmental

   entities about the reality of the suspicious orders that the RICO Defendants were

   filling on a daily basis -- leading to the diversion of hundreds of millions of doses

   of prescription opioids into the illicit market.

         407. The RICO Defendants, with knowledge and intent, agreed to the

   overall objective of their fraudulent scheme and participated in the common course

   of conduct to commit acts of fraud and indecency in manufacturing and

   distributing prescription opioids.

         408. Indeed, for the Defendants’ fraudulent scheme to work, each of the

   Defendants had to agree to implement similar tactics regarding marketing

   prescription opioids and refusing to report suspicious orders.

         409. As described herein, the RICO Defendants engaged in a pattern of

   related and continuous predicate acts for years. The predicate acts constituted a

   variety of unlawful activities, each conducted with the common purpose of

   obtaining significant monies and revenue from the sale of their highly addictive

   and dangerous drugs. The predicate acts also had the same or similar results,


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   participants, victims and methods of commission. The predicate acts were related

   and not isolated events.

         410. The predicate acts all had the purpose of generating significant revenue

   and profits for the RICO Defendants, while Plaintiff was left with substantial

   injury to its business through the damage that the prescription opioid epidemic

   caused. The RICO Defendants committed or caused to be committed the predicate

   acts through their participation in the Opioid Diversion Enterprise and in

   furtherance of its fraudulent scheme.

         411. The pattern of racketeering activity alleged herein and the Opioid

   Diversion Enterprise are separate and distinct from each other. Likewise,

   Defendants are distinct from the enterprise.

         412. The pattern of racketeering activity alleged herein is continuing as of

   the date of this Complaint and, upon information and belief, will continue into the

   future unless enjoined by this Court.

         413. RICO Defendants have hidden many of the precise dates of the

   criminal actions at issue here, and these cannot be alleged without access to

   Defendants’ books and records. Indeed, an essential part of the successful

   operation of the Opioid Diversion Enterprise alleged herein depended upon

   secrecy.




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            414. Each instance of racketeering activity alleged herein was related, had

   similar purposes, involved the same or similar participants and methods of

   commission, and had similar results affecting similar victims, including Plaintiff

   and Plaintiff’s Community. Defendants calculated and intentionally crafted the

   Opioid Diversion Enterprise and their scheme to increase and maintain their

   increased profits, without regard to the effect such behavior would have on

   Plaintiff’s Community or the Plaintiff. In designing and implementing the scheme,

   at all times Defendants were cognizant of the fact that those in the manufacturing

   and distribution chain rely on the integrity of the pharmaceutical companies and

   ostensibly neutral third parties to provide objective and reliable information

   regarding Defendants’ products and their manufacture and distribution of those

   products. The Defendants were also aware that Plaintiff and the citizens of this

   jurisdiction rely on the Defendants to maintain a closed system and to protect

   against the non-medical diversion and use of their dangerously addictive opioid

   drugs.

            415. By intentionally refusing to report and halt suspicious orders of their

   prescription opioids, Defendants engaged in a fraudulent scheme and unlawful

   course of conduct constituting a pattern of racketeering activity.

            416. It was foreseeable to Defendants that refusing to report and halt

   suspicious orders, as required by the CSA and Code of Federal Regulations, would


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   harm Plaintiff by allowing the flow of prescription opioids from appropriate

   medical channels into the illicit drug market.

         417. The last racketeering incident occurred within five years of the

   commission of a prior incident of racketeering.

                      2. The RICO Defendants Manufactured, Sold and/or Dealt in
                      Controlled Substances, and Their Crimes Are Punishable as Felonies.

         418. The RICO Defendants conducted and participated in the conduct of the

   affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity

   as defined in 18 U.S.C. § 1961(1)(D) by the felonious manufacture, importation,

   receiving, concealment, buying, selling or otherwise dealing in a controlled

   substance or listed chemical (as defined in section 102 of the Controlled Substance

   Act), punishable under any law of the United States.

         419. The RICO Defendants committed crimes that are punishable as felonies

   under the laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it

   unlawful for any person to knowingly or intentionally furnish false or fraudulent

   information in, or omit any material information from, any application, report,

   record or other document required to be made, kept or filed under this subchapter.

   A violation of section 483(a)(4) is punishable by up to four years in jail, making it

   a felony. 21 U.S.C. § 483(d)(1).

         420. Each of the RICO Defendants qualifies as a registrant under the CSA.

   Their status as registrants under the CSA requires that they maintain effective

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   controls against diversion of controlled substances in schedule I or II, design and

   operate a system to disclose to the registrant suspicious orders of controlled

   substances and inform the DEA of suspicious orders when discovered by the

   registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

         421. The CSA and the Code of Federal Regulations required the RICO

   Defendants to make reports to the DEA of any suspicious orders identified through

   the design and operation of their system to disclose suspicious orders.

         422. The RICO Defendants knowingly and intentionally furnished false or

   fraudulent information in their reports to the DEA about suspicious orders and/or

   omitted material information from reports, records and other documents they were

   required to file with the DEA, including the Manufacturer Defendants’ applications

   for production quotas. Specifically, the RICO Defendants were aware of suspicious

   orders of prescription opioids and the diversion of their prescription opioids into

   the illicit market and failed to report this information to the DEA in their

   mandatory reports and their applications for production quotas.

         423. For example, the DEA and DOJ began investigating McKesson in 2013

   regarding its monitoring and reporting of suspicious controlled substances orders.

   On April 23, 2015, McKesson filed a Form 8-K announcing a settlement with the

   DEA and DOJ wherein it admitted to violating the CSA and agreed to pay $150




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   million and have some of its DEA registrations suspended on a staggered basis.

   The settlement was finalized on January 17, 2017.210

               424. Purdue’s experience in Los Angeles is another striking example of

   Defendants’ willful violation of the CSA and Code of Federal Regulations as they

   relate to reporting suspicious orders of prescription opioids. In 2016, the Los

   Angeles Times reported that Purdue was aware of a pill mill operating out of Los

   Angeles, yet failed to alert the DEA.211 The LA Times uncovered that Purdue

   began tracking a surge in prescriptions in Los Angeles, including one prescriber in

   particular. A Purdue sales manager spoke with company officials in 2009 about the

   prescriber, asking “Shouldn’t the DEA be contacted about this?” and adding that

   she felt “very certain this is an organized drug ring.”212 Despite knowledge of the

   staggering amount of pills being issued in Los Angeles, and internal discussion of

   the problem, “Purdue did not shut off the supply of highly addictive OxyContin

   and did not tell authorities what it knew about Lake Medical until several years

   later when the clinic was out of business and its leaders indicted. By that time, 1.1




   210
       McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
   Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017),
   http://www.mckesson.com/about-mckesson/newsroom/press-releases/2017/mckesson-finalizes-settlement-with-doj-
   and-dea-to-resolve-past-claims/.
   211
      Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
   the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
   212
         Id.

                                                         198
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   million pills had spilled into the hands of Armenian mobsters, the Crips gang and

   other criminals.”213

               425. Finally, Mallinckrodt was recently the subject of a DEA and Senate

   investigation for its opioid practices. Specifically, in 2011, the DEA targeted

   Mallinckrodt, arguing that it ignored its responsibility to report suspicious orders

   as 500 million of its pills ended up in Florida between 2008 and 2012.214 After six

   years of DEA investigation, Mallinckrodt agreed to a settlement involving a $35

   million fine. Federal prosecutors summarized the case by saying that

   Mallinckrodt’s response was that everyone knew what was going on in Florida, but

   they had no duty to report it.215

               426. Upon information and belief, the foregoing examples reflect the RICO

   Defendants’ pattern and practice of willfully and intentionally omitting information

   from their mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. The

   sheer volume of enforcement actions available in the public record against the

   Distributor Defendants supports this conclusion.216 For example:



   213
         Id.
   214
      Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
   Washington       Post,    (April 2,    2017),   https://www.washingtonpost.com/graphics/investigations/dea-
   mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of
   Florida during that time.
   215
         Id.
   216
     Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
   Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.

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               a. On April 24, 2007, the DEA issued an Order to Show Cause and

                  Immediate Suspension Order against the AmerisourceBergen

                  Orlando, Florida distribution center (“Orlando Facility”) alleging

                  failure to maintain effective controls against diversion of

                  controlled substances. On June 22, 2007, AmerisourceBergen

                  entered into a settlement that resulted in the suspension of its DEA

                  registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause

                  and Immediate Suspension Order against the Cardinal Health

                  Auburn, Washington Distribution Center (“Auburn Facility”) for

                  failure to maintain effective controls against diversion of

                  hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause

                  and Immediate Suspension Order against the Cardinal Health

                  Lakeland, Florida Distribution Center (“Lakeland Facility”) for

                  failure to maintain effective controls against diversion of

                  hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause

                  and Immediate Suspension Order against the Cardinal Health

                  Swedesboro, New Jersey Distribution Center (“Swedesboro


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                  Facility”) for failure to maintain effective controls against

                  diversion of hydrocodone;

               e. On January 30, 2008, the DEA issued an Order to Show Cause and

                  Immediate Suspension Order against the Cardinal Health Stafford,

                  Texas Distribution Center (“Stafford Facility”) for failure to

                  maintain effective controls against diversion of hydrocodone;

               f. On May 2, 2008, McKesson Corporation entered into an

                  Administrative Memorandum of Agreement (“2008 MOA”) with

                  the DEA, which provided that McKesson would “maintain a

                  compliance program designed to detect and prevent the diversion

                  of controlled substances, inform DEA of suspicious orders

                  required by 21 C.F.R. § 1301.74(b), and follow the procedures

                  established by its Controlled Substance Monitoring Program;”

               g. On September 30, 2008, Cardinal Health entered into a Settlement

                  and Release Agreement and Administrative Memorandum of

                  Agreement with the DEA related to its Auburn Facility, Lakeland

                  Facility, Swedesboro Facility and Stafford Facility. The document

                  also referenced allegations by the DEA that Cardinal failed to

                  maintain effective controls against the diversion of controlled

                  substances at its distribution facilities located in McDonough,


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                  Georgia (“McDonough Facility”); Valencia, California (“Valencia

                  Facility”); and Denver, Colorado (“Denver Facility”);

               h. On February 2, 2012, the DEA issued an Order to Show Cause and

                  Immediate Suspension Order against the Lakeland Facility for

                  failure to maintain effective controls against diversion of

                  oxycodone;

               i. On December 23, 2016, Cardinal Health agreed to pay a $44

                  million fine to the DEA to resolve the civil penalty portion of the

                  administrative action taken against its Lakeland Facility; and

               j. On January 5, 2017, McKesson Corporation entered into an

                  Administrative Memorandum Agreement with the DEA wherein it

                  agreed to pay a $150,000,000 civil penalty for violation of the

                  2008 MOA as well as failure to identify and report suspicious

                  orders at its facilities in in Aurora, Colorado; Aurora, Illinois;

                  Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida;

                  Landover, Maryland; La Vista, Nebraska; Livonia, Michigan;

                  Livonia, Michigan; Methuan, Massachusetts; Santa Fe Springs,

                  California; Washington Courthouse, Ohio; and West Sacramento,

                  California.




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         427. These actions against the Distributor Defendants confirm that the

   Distributor Defendants knew they had a duty to maintain effective controls against

   diversion, design and operate a system to disclose suspicious orders, and to report

   suspicious orders to the DEA. These actions also demonstrate, on information and

   belief, that the Manufacturer Defendants were aware of the enforcement against

   their Distributors and the diversion of the prescription opioids and a corresponding

   duty to report suspicious orders.

         428. The pattern of racketeering activity alleged herein is continuing as of

   the date of this Complaint and, upon information and belief, will continue into the

   future unless enjoined by this Court.

         429. Many of the precise dates of Defendants’ criminal actions at issue

   herein were hidden and cannot be alleged without access to Defendants’ books and

   records. Indeed, an essential part of the successful operation of the Opioid

   Diversion Enterprise depended upon the secrecy of the participants in that

   enterprise.

         430. Each instance of racketeering activity alleged herein was related, had

   similar purposes, involved the same or similar participants and methods of

   commission and had similar results affecting similar victims, including Plaintiff’s

   Community and the Plaintiff. Defendants calculated and intentionally crafted the

   diversion scheme to increase and maintain profits from unlawful sales of opioids,


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   without regard to the effect such behavior would have on this jurisdiction, its

   citizens or the Plaintiff. The Defendants were aware that Plaintiff and the citizens

   of this jurisdiction rely on the Defendants to maintain a closed system of

   manufacturing and distribution to protect against the non-medical diversion and

   use of their dangerously addictive opioid drugs.

         431. By intentionally refusing to report and halt suspicious orders of their

   prescription opioids, Defendants engaged in a fraudulent scheme and unlawful

   course of conduct constituting a pattern of racketeering activity.

         432. It was foreseeable to Defendants that refusing to report and halt

   suspicious orders, as required by the CSA and Code of Federal Regulations, would

   harm Plaintiff by allowing the flow of prescription opioids from appropriate

   medical channels into the illicit drug market.

         433. The last racketeering incident occurred within five years of the

   commission of a prior incident of racketeering.

                   D. DAMAGES

         434. The RICO Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff injury in its business

   and property because Plaintiff paid for costs associated with the opioid epidemic,

   as described above in allegations expressly incorporated herein by reference.




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          435. Defendants’ racketeering activities proximately caused Plaintiff’s

   injuries. But for the RICO Defendants’ conduct, Plaintiff would not have paid the

   health services and law enforcement services and expenditures required as a result

   of the plague of drug-addicted residents.

          436. The RICO Defendants’ racketeering activities directly caused

   Plaintiff’s injuries.

          437. Plaintiff was most directly harmed and there is no other Plaintiff better

   suited to seek a remedy for the economic harms at issue here.

          438. Plaintiff seeks all legal and equitable relief as allowed by law,

   including, inter alia, actual damages, treble damages, equitable relief, forfeiture as

   deemed proper by the Court, attorneys’ fees and all costs and expenses of suit, and

   pre- and post-judgment interest.

                            COUNT III
     RACKETEER-INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                      18 U.S.C. 1962(d), et seq.
                      (Against All Defendants)
          439. Plaintiff hereby incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

          440. Plaintiff brings this claim on its own behalf against all RICO

   Defendants. At all relevant times, the RICO Defendants were associated with the

   Opioid Diversion Enterprise and agreed and conspired to violate 18 U.S.C. §

   1962(c), that is, they agreed to conduct and participate, directly and indirectly, in


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   the conduct of the affairs of the Opioid Diversion Enterprise through a pattern of

   racketeering activity in violation of 18 U.S.C. § 1962(d). Under Section 1962(d), it

   is unlawful for “any person to conspire to violate” Section 1962(d), among other

   provisions. 18 U.S.C. § 1962(d).

         441. Defendants conspired to violate Section 1962(c), as alleged more fully

   above, by conducting the affairs of the Opioid Diversion Enterprise through a

   pattern of racketeering activity, as incorporated by reference below.

                      A. THE OPIOID DIVERSION ENTERPRISE.

         442. For efficiency and avoiding repetition, for purposes of this claim,

   Plaintiff incorporates by reference the paragraphs set out above concerning the

   “Opioid Diversion Enterprise.”

                      B. CONDUCT OF THE OPIOID DIVERSION
                         ENTERPRISE.

         443. For efficiency and avoiding repetition, for purposes of this claim,

   Plaintiff incorporates by reference the paragraphs set out above concerning the

   “Conduct of the Opioid Diversion Enterprise.”

                      C. PATTERN OF RACKETEERING ACTIVITY.

         444. For efficiency and avoiding repetition, for purposes of this claim,

   Plaintiff incorporates by reference the paragraphs set out above concerning the

   “Pattern of Racketeering Activity.”

                      D. DAMAGES.

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         445. The RICO Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff injury in its business

   and property because Plaintiff paid for costs associated with the opioid epidemic,

   as described above in allegations expressly incorporated herein by reference.

         446. The RICO Defendants’ racketeering activities proximately caused

   Plaintiff’s injuries and those of her citizens. But for the RICO Defendants’

   conduct, Plaintiff would not have paid the health services and law enforcement

   services and expenditures required as a result of the plague of drug-addicted

   residents.

         447. The RICO Defendants’ racketeering activities directly caused

   Plaintiff’s injuries and those of her citizens.

         448. Plaintiff was most directly harmed and there is no other Plaintiff better

   suited to seek a remedy for the economic harms at issue here.

         449. Plaintiff seeks all legal and equitable relief as allowed by law,

   including, inter alia, actual damages, treble damages, equitable relief, forfeiture as

   deemed proper by the Court, attorneys’ fees and all costs and expenses of suit and

   pre- and post-judgment interest.




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                              COUNT IV
           NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                        (Against All Defendants)

         450. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

         451. Plaintiff seeks economic damages that were the foreseeable result of

   Defendants’ intentional and/or unlawful actions and omissions.

         452. Under State law, to establish actionable negligence, one must show, in

   addition to the existence of a duty, a breach of that duty and injury resulting

   proximately therefrom and/or that was substantially caused thereby. All such

   essential elements exist here.

         453. Each Defendant owed a duty to the Plaintiff and to the public health

   and safety in the Plaintiff’s Community because the injury was foreseeable and, in

   fact, foreseen by the Defendants. If a course of action creates a foreseeable risk of

   injury, the individual engaged in that course of action has a duty to protect others

   from such injury. Each Defendant owed a duty to the Plaintiff and to the public in

   the Plaintiff’s Community, because the injury was foreseeable and, in fact,

   foreseen by the Defendants.

         454. Further, as Section 302B of the Restatement of Torts provides: “An act

   or an omission may be negligent if the actor realizes or should realize that it

   involves an unreasonable risk of harm to another through the conduct of the other


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   or a third person which is intended to cause harm, even though such conduct is

   criminal.”

         455. Each Defendant had an obligation to exercise reasonable care in

   manufacturing, marketing, selling and distributing highly dangerous opioid drugs

   to the State and Plaintiff’s Community.

         456. Each Defendant had an obligation to exercise due care in

   manufacturing, marketing, selling and distributing highly dangerous opioid drugs

   in the State and Plaintiff’s Community.

         457. Reasonably prudent manufacturers and distributors of prescription

   opioids would have anticipated that the scourge of opioid addiction would wreak

   havoc on communities and impose significant costs upon the governmental entities

   associated with those communities. The closed system of opioid distribution

   whereby wholesale distributors are the gatekeepers between manufacturers and

   pharmacies, and wherein all links in the chain have a duty to prevent diversion,

   exists for the purpose of controlling dangerous substances such as opioids and

   preventing diversion and abuse.

         458. Reasonably prudent manufacturers of pharmaceutical products would

   know that aggressively pushing highly addictive opioids for chronic pain would

   result in the severe harm of addiction, foreseeably causing patients to seek




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   increasing levels of opioids, frequently turning to the illegal drug market as a result

   of a drug addiction that was foreseeable to the Manufacturer Defendants.

         459. Moreover, law enforcement repeatedly warned Defendants of the

   unlawfulness and consequences of their actions and omissions.

         460. The escalating amounts of addictive drugs flowing through Defendants’

   businesses, and the sheer volume of these prescription opioids, further alerted

   Defendants that addiction was fueling increased consumption and that legitimate

   medical purposes were not being served.

         461. As described above in allegations expressly incorporated herein,

   Distributor Defendants breached their duties to exercise due care in the business of

   wholesale distribution of dangerous opioids, which are Schedule II Controlled

   Substances, by failing to monitor for, failing to report, and filling highly suspicious

   orders time and again. Because the very purpose of these duties was to prevent the

   resulting harm – diversion of highly addictive drugs for non-medical purposes –

   the causal connection between Defendants’ breach of duties and the ensuing harm

   was entirely foreseeable.

         462. As described elsewhere in the Complaint in allegations expressly

   incorporated herein, Distributor Defendants misrepresented their compliance with

   their duties under the law and concealed their noncompliance and shipments of

   suspicious orders of opioids to Plaintiff’s Community and destinations from which


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   they knew opioids were likely to be diverted into Plaintiff’s Community, in

   addition to other misrepresentations alleged and incorporated herein.

         463. As described elsewhere in the Complaint in allegations expressly

   incorporated herein, Manufacturer Defendants breached their duties to exercise due

   care in the business of pharmaceutical manufacturers of dangerous opioids, which

   are Schedule II Controlled Substances, by misrepresenting the nature of the drugs

   and aggressively promoting them for chronic pain for which they knew the drug

   were not safe or suitable.

         464. The Manufacturer Defendants misrepresented and concealed the

   addictive nature of prescription opioids and their lack of suitability for chronic

   pain, in addition to other misrepresentations alleged and incorporated herein.

         465. All Defendants breached their duties to prevent diversion and report

   and halt suspicious orders, and all Defendants misrepresented their compliance

   with their legal duties.

         466. Defendants’       breaches   were   intentional   and/or   unlawful,   and

   Defendants’ conduct was willful, wanton, malicious, reckless, oppressive and/or

   fraudulent.

         467. The causal connection between Defendants’ breaches of duties and

   misrepresentations and the ensuing harm was entirely foreseeable.




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         468. As described above in allegations expressly incorporated herein,

   Defendants’ breaches of duty and misrepresentations caused, bear a causal

   connection with and/or proximately resulted in the damages sought herein.

         469. Defendants were selling dangerous drugs statutorily categorized as

   posing a high potential for abuse and severe dependence. Defendants knowingly

   traded in drugs that presented a high degree of danger if prescribed incorrectly or

   diverted to other than medical, scientific or industrial channels. However,

   Defendants breached their duties to monitor for, report and halt suspicious orders;

   breached their duties to prevent diversion; and, further, misrepresented what their

   duties were and their compliance with their legal duties.

         470. The Defendants failed to disclose the material facts that, inter alia, they

   were not in compliance with laws and regulations requiring that they maintain a

   system to prevent diversion, protect against addiction and severe harm, and

   specifically monitor, investigate, report, and refuse suspicious orders. But for these

   material factual omissions, Defendants would not have been able to sell opioids.

         471. As    alleged   herein,   each   Manufacturer     Defendant    wrongfully

   represented that the opioid prescription medications they manufactured, marketed

   and sold had characteristics, uses or benefits that they do not have. The

   Manufacturer Defendants also wrongfully misrepresented that the opioids were




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   safe and effective when the Manufacturer Defendants knew, or should have

   known, such representations were untrue, false and misleading.

         472. Because of the dangerously addictive nature of these drugs, which the

   Manufacturer Defendants concealed and misrepresented, they lacked medical value

   and in fact caused addiction and overdose deaths.

         473. The Manufacturer Defendants made deceptive representations about the

   use of opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also

   omitted or concealed material facts and failed to correct prior misrepresentations

   and omissions about the risks and benefits of opioids. Each Defendant’s omissions

   rendered even their seemingly truthful statements about opioids deceptive.

         474. Defendants’ unlawful and/or intentional actions create a rebuttable

   presumption of negligence under State law.

         475. Plaintiff seeks economic losses (direct, incidental or consequential

   pecuniary losses) resulting from Defendants’ actions and omissions.

         476. Plaintiff seeks all legal and equitable relief as allowed by law, other

   than such damages disavowed herein, including, inter alia, injunctive relief,

   restitution, disgorgement of profits, compensatory and punitive damages, and all

   damages allowed by law to be paid by the Defendants, attorneys’ fees and costs,

   and pre- and post-judgment interest.




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                                       COUNT V
                                 NEGLIGENCE PER SE
                                 (Against All Defendants)

         477. Plaintiff incorporates by reference all other paragraphs of this

    Complaint as if fully set forth herein, and further alleges as follows.

         478. The statutes cited herein are public safety laws. Each Defendant had a

    duty under, inter alia, these laws maintain effective controls against diversion of

    prescription opioids and to guard against, prevent, and report suspicious orders of

    opioids.

         479. Defendants’ actions and omissions in violation of the law constitute

    negligence per se.

         480. Defendants’ actions and omissions were intentional and/or unlawful,

    and Defendants acted with actual malice.

         481. It was foreseeable that the breach of duty described herein would result

    in the economic damages for which Plaintiff seeks recovery.

         482. As described above in language expressly incorporated herein,

    Defendants breached their duties to maintain effective controls against diversion

    of dangerously addictive opioids, including violating public safety statutes

    requiring that as wholesale drug distributors, Defendants could only distribute

    these dangerous drugs under a closed system – a system Defendants were

    responsible for guarding.


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          483. As described above in language expressly incorporated herein,

    Defendants’ breach of statutory and regulatory duties caused, bears a causal

    connection with, and proximately resulted in, harm and damages sought by the

    Plaintiff.

          484. Plaintiff seeks economic losses (direct, incidental, or consequential

    pecuniary losses) resulting from Defendants’ negligence per se. Plaintiff does not

    seek damages for the wrongful death, physical personal injury, serious emotional

    distress, or any physical damage to property caused by Defendants’ actions.

          485. Plaintiff seeks all legal and equitable relief as allowed by law, except as

    expressly disavowed herein, including inter alia injunctive relief, restitution,

    disgorgement of profits, compensatory and punitive damages, and all damages

    allowed by law to be paid by the Defendants, attorney fees and costs, and pre- and

    post-judgment interest.

                                       COUNT VI
                                  CIVIL CONSPIRACY
                                 (Against All Defendants)

          486. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

          487. As set forth herein, Defendants engaged in a civil conspiracy to create a

   public nuisance in conjunction with their unlawful marketing, sale, distribution

   and/or diversion of opioids into the State and Plaintiff’s Community.


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         488. As set forth herein, Defendants engaged in a civil conspiracy to commit

   negligent acts, fraudulent acts and omissions, and misrepresentations in

   conjunction with their unlawful distribution and diversion of opioids into the State

   and Plaintiff’s Community.

         489. As set forth herein, Defendants engaged in a civil conspiracy to

   unlawfully divert opioids and create opioid dependence and abuse in the State and

   Plaintiff’s Community.

         490. Distributor and Manufacturer Defendants unlawfully failed to act to

   prevent diversion and failed to monitor for, report and prevent suspicious orders of

   opioids.

         491. The Manufacturer Defendants further unlawfully marketed opioids in

   the State and Plaintiff’s Community in furtherance of that conspiracy.

         492. Defendants acted tortiously in concert with each other and/or in pursuit

   of a common design, and/or Defendants knew each other’s conduct constituted a

   breach of their legal duties and provided substantial assistance and/or

   encouragement in the conduct.

         493. Defendants’ conspiracy is a continuing conspiracy, and the overt acts

   performed in compliance with the conspiracy’s objective(s) are ongoing and/or

   have occurred within the last year.




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         494. Plaintiff alleges Defendants’ conspiracy and acts in furtherance in

   greater detail earlier in the Complaint, including, without limitation, in Plaintiff’s

   racketeering allegations. Such allegations are incorporated herein.

         495. Defendants acted with a common understanding or design to commit

   unlawful acts, as alleged herein, and acted purposely, without a reasonable or

   lawful excuse, to create the injuries alleged herein.

         496. Defendants acted with malice, purposely, intentionally, unlawfully and

   without a reasonable or lawful excuse.

         497. Defendants’ conspiracy and Defendants’ actions and omissions in

   furtherance thereof proximately caused and/or substantially contributed to the

   direct and foreseeable losses alleged herein.

         498. Plaintiff seeks economic losses (direct, incidental or consequential

   pecuniary losses) resulting from Defendants’ civil conspiracy.

         499. Plaintiff seeks all legal and equitable relief as allowed by law, except as

   expressly disavowed herein, including, inter alia, injunctive relief, restitution,

   disgorgement of profits, compensatory and punitive damages, and all damages

   allowed by law to be paid by the Defendants, attorneys’ fees and costs, and pre-

   and post-judgment interest.




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                                  COUNT VII
              FRAUD AND FRAUDULENT MISREPRESENTATION
                  Florida Statutes § 817.41 and Common Law
                            (Against All Defendants)

         500. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

         501. Defendants violated their general duty not to actively deceive, have

   made knowingly false statements and have omitted and/or concealed information

   that made statements Defendants did make knowingly false. Defendants acted

   intentionally and/or unlawfully.

         502. Florida Statutes § 817.41 provides that it is “unlawful for any person to

   make or disseminate or cause to be made or disseminated before the general public

   of the state, or any portion thereof, any misleading advertisement. Such making or

   dissemination of misleading advertising shall constitute and is hereby declared to

   be fraudulent and unlawful, designed and intended for obtaining money or property

   under false pretenses.”

         503. As alleged herein, Defendants made false statements as to their

   compliance with state and federal law regarding their duties to prevent diversion

   and their duties to monitor, report and halt suspicious orders and/or concealed their

   noncompliance with these requirements.




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         504. As alleged herein, the Manufacturer Defendants engaged in false

   representations and concealments of material fact regarding the use of opioids to

   treat chronic, non-cancer pain.

         505. As alleged herein, Defendants knowingly and/or intentionally made

   representations that were false. Defendants had a duty to disclose material facts

   and concealed them. These false representations and concealed facts were material

   to the conduct and actions at issue. Defendants made these false representations

   and concealed facts with knowledge of the falsity of their representations, and did

   so with the intent of misleading Plaintiff, Plaintiff’s Community, the public and

   persons on whom Plaintiff relied.

         506. These false representations and concealments were reasonably

   calculated to deceive Plaintiff, Plaintiff’s Community and the physicians who

   prescribed opioids for persons in Plaintiff’s Community; were made with the intent

   to deceive; and did in fact deceive these persons, Plaintiff and Plaintiff’s

   Community.

         507. Plaintiff, Plaintiff’s Community and the physicians who prescribed

   opioids reasonably relied on these false representations and concealments of

   material fact.




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          508. Plaintiff justifiably relied on Defendants’ representations and/or

   concealments, both directly and indirectly. This reliance proximately caused

   Plaintiff’s injuries.

          509. Defendants’ fraudulent conduct was a direct and proximate cause of the

   injuries Plaintiff alleges herein.

          510. Plaintiff seeks economic losses (direct, incidental or consequential

   pecuniary losses) resulting from Defendants’ fraudulent activity, including

   fraudulent misrepresentations and fraudulent concealment.

          511. Plaintiff seeks all legal and equitable relief as allowed by law, except as

   expressly disavowed herein, including, inter alia, injunctive relief, restitution,

   disgorgement of profits, compensatory and punitive damages, and all damages

   allowed by law to be paid by the Defendants, attorneys’ fees and costs, and pre-

   and post-judgment interest.

                                      COUNT VIII
                                 UNJUST ENRICHMENT
                                 (Against All Defendants)

          512. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth here, and further alleges as follows.

          513. Under the doctrine of unjust enrichment, a party who receives a benefit

   must return the benefit if retention would be inequitable. Unjust enrichment is

   established where: (a) the plaintiff conferred a benefit upon the defendant; (b) the


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   defendant has knowledge of the benefit; (c) the defendant accepted or retained the

   benefit conferred; and (d) the circumstances are such that it would be inequitable

   for the defendant to retain the benefit without paying the plaintiff for its fair value.

         514. Plaintiff conferred a benefit on each Manufacturer Defendant.              By

   paying for law enforcement, treatment, and emergency services, Plaintiff has

   assumed the financial burden of paying for services and goods that allow

   defendants to continue their scheme, including treatment and emergency services,

   which benefit was known to and accepted by each Manufacturing Defendant,

   which inured to the profits of each Manufacturing Defendant, and for which

   retention of such benefit is inequitable based on the Manufacturing Defendants’

   false and misleading marketing and omissions of and failure to state material facts

   in connection with marketing opioids, and by failing to prevent diversion by

   reporting and preventing suspicious orders of opioids in violation of their legal

   duties, as set forth herein. The Manufacturing Defendants have thus been unjustly

   enriched by deceptive marketing, contributing to Plaintiff’s current opioid

   epidemic.

         515. Plaintiff conferred a benefit on each Distributor Defendant. By paying

   for law enforcement, treatment, and emergency services, Plaintiff has assumed the

   financial burden of paying for services and goods that allow defendants to continue

   their scheme, including treatment and emergency services, which benefit was


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   known to and accepted by each Distributor Defendant, which inured to the profits

   of each Distributor Defendant, and for which retention of such benefit is

   inequitable based on the Distributor Defendants’ intentional and unlawful actions

   and omissions, as set forth herein. The Distributor Defendants have thus been

   unjustly enriched by neglecting their duty to distribute prescription opioids only for

   proper medical purposes, and by failing to prevent diversion by reporting and

   preventing suspicious orders of opioids in violation of their legal duties,

   contributing to Plaintiff’s current opioid epidemic.

         516. Plaintiff’s opioid addiction and overdose epidemic has cost it millions

   of dollars including inter alia: (1) costs for providing medical care, additional

   therapeutic and prescription drug purchases, and other treatments for patients

   suffering from opioid-related addiction or disease, including overdoses and deaths;

   (2) costs for providing treatment, counseling and rehabilitation services; (3) costs

   for providing treatment of infants born with opioid-related medical conditions; (4)

   costs associated with law enforcement and public safety relating to the opioid

   epidemic; and (5) costs associated with providing care for children whose parents

   suffer from opioid-related disability or incapacitation.

         517. The unjust enrichment of the Manufacturer and Distributor Defendants

   is directly related to the damage, loss, and detriment to Plaintiff caused by

   Defendants’ false marketing and failure to report and/or prevent suspicious sales.


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   It would be inequitable under these circumstances for the Defendants to retain this

   benefit without compensating Plaintiff for its value. Plaintiff seeks recovery of the

   amounts by which the Defendants were enriched as a result of their inequitable

   conduct.

                                 PUNITIVE DAMAGES

         518. Plaintiff incorporates by reference all other paragraphs of this

   Complaint as if fully set forth herein, and further alleges as follows.

         519. By engaging in the above-described intentional and/or unlawful acts or

   practices, Defendants acted with actual malice, wantonly and oppressively.

   Defendants acted with conscious disregard for the rights of others and/or in a

   reckless, wanton, willful or grossly negligent manner. Defendants acted with a

   prolonged indifference to the adverse consequences of their actions and/or

   omissions. Defendants acted with a conscious disregard for the rights and safety of

   others in a manner that had a great probability of causing substantial harm.

   Defendants acted toward the Plaintiff with fraud, oppression and/or malice and/or

   were grossly negligent in failing to perform the duties and obligations imposed

   upon them under applicable federal and state statutes and common law.

         520. Defendants were selling and/or manufacturing dangerous drugs

   statutorily categorized as posing a high potential for abuse and severe dependence.

   Thus, Defendants knowingly traded in drugs that presented a high degree of danger


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   if prescribed incorrectly or diverted to other than legitimate medical, scientific or

   industrial channels. Because of the severe level of danger posed by, and indeed

   visited upon the State and Plaintiff’s Community by, these dangerous drugs,

   Defendants owed a high duty of care to ensure that these drugs were only used for

   proper medical purposes. Defendants chose profit over prudence and the safety of

   the community, and an award of punitive damages is appropriate as punishment

   and a deterrence.

         521. By engaging in the above-described wrongful conduct, Defendants also

   engaged in willful misconduct and gross negligence and exhibited an entire want

   of care that would raise the presumption of a conscious indifference to

   consequences.

                                        RELIEF

         WHEREFORE, the Plaintiff respectfully prays that this Court grant the

   following relief:

         522. Enter a Judgment in favor of the Plaintiff in a final order against each

   of the Defendants;

         523. Enjoin the Defendants and their employees, officers, directors, agents,

   successors, assignees, merged or acquired predecessors, parent or controlling

   entities, subsidiaries and all other persons acting in concert or participation with




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   them from engaging in unfair or deceptive practices in violation of law and

   ordering temporary, preliminary or permanent injunction;

         524. Order that Defendants compensate the Plaintiff for past and future costs

   to abate the ongoing public nuisance caused by the opioid epidemic;

         525. Order Defendants to fund an “abatement fund” for the purposes of

   abating the opioid nuisance;

         526. Award actual damages, treble damages, injunctive and equitable relief,

   forfeiture as deemed proper by the Court, and attorneys’ fees and all costs and

   expenses of suit pursuant to Plaintiff’s racketeering claims;

         527. Award damages, costs, and fees pursuant to Plaintiff’s deceptive trade

   practices claims;

         528. Award the Plaintiff the damages caused by the opioid epidemic,

   including (A) costs for providing medical care, additional therapeutic and

   prescription drug purchase, and other treatments for patients suffering from opioid-

   related addiction or disease, including overdoses and deaths; (B) costs for

   providing treatment, counseling, and rehabilitation services; (C) costs for providing

   treatment of infants born with opioid-related medical conditions; (D) costs for

   providing care for children whose parents suffer from opioid-related disability or

   incapacitation; and (E) costs associated with law enforcement and public safety

   relating to the opioid epidemic.


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         529. Enter a judgment against the Defendants requiring Defendants to pay

   punitive damages;

         530. Grant the Plaintiff

               a. The costs of investigation, reasonable attorneys’ fees, and all other

                  costs and expenses;

               b. Pre-judgment and post-judgment interest; and

               c. All other relief as provided by law and/or as the Court deems

                  appropriate and just.



   Dated: June 1, 2018                          Respectfully Submitted,

                                                The CITY OF MIAMI GARDENS, FLORIDA,


                                                 /s/Peter J. Mougey
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